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Case 1:20-cv-20385-CMA Document 7 Entered on FLSD Docket 03/02/2020 Page 12 of 196
                                                         Executive Office for United States Attorneys


Freedom of Information and Privacy Staff                 Suite 7300, Bicentennial Building       (202) 252-6020
                                                         600 E Street, NW                    FAX (202) 252-6047
                                                         Washington, DC 20530


                                                                                             Mayl7,2017

Roy Belfast, Jr.
#76556-004
USP, P.O. Box 1000
Lewisburg, Pennsylvania 1783 7

Re: Request Number: FOIA-2016-02166 Date of Receipt: April 5. 2016
Subject of Request: Self /Specific Records - USAO Southern District of Florida


Dear Mr. Belfast, Jr.:

        Your request for records under the Freedom ofinformation Act/Privacy Act has been
processed. This letter constitutes a reply from the Executive Office for United States Attorneys,
the official record-keeper for all records located in this office and the various United States
Attorneys' Office. To provide you with the greatest degree of access authorized by the Freedom
of Information Act and the Privacy Act, we have considered your request in light of the
provisions of both statutes.

         All of the records you seek are being made available to you. We have processed your
request under the Freedom of Information Act and are making all records required to be released,
or considered appropriate for release as a matter of discretion, available to you. This letter is a
full release of 168 pages responsive to your request. No other responsive records were located.

         [ ]        A review of the material revealed:

        [ J Our office located records that originated with another government component.
        These records were found in the U.S. Attorney's Office files. Once we have received
        the above payment, these records will be referred to the following component( s) listed for
        review and direct response to you:

        [ ]     There are public records which may be obtained from the clerk of the court or this
        office, upon specific request. If you wish to obtain a copy of these records, you must
        submit a new request. These records will be provided to you subject to copying fees.

        [ ]    Please note that your original letter was split into separate files ("requ~sts"), for
        processing purposes, based on the nature of what you sought. Each file was given a
        separate Request Number (listed below), for which you will receive a separate response:
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response to this request, you may administratively appeal by writing to the Director, Office of
Information Policy (OIP), United States Department of Justice, Suite 11050, 1425 New York
Avenue, NW, Washington, DC 20530-0001, or you may submit an appeal through OIP's
FOIAonline portal by creating an account on the following website:
https://foiaonline.regulations. gov/foia/action/public/home. Your appeal must be postmarked or
electronically transmitted within ninety (90) days of the date of my response to your request If
you submit your appeal by mail, both the letter and the envelope should be clearly marked
"Freedom of Information Act Appeal."

        You may contact our FOIA Public Liaison at the telephone number listed above for any
further assistance and to discuss any aspect of your request. Additionally, you may contact the
Office of Government Information Services (OGIS) at the National Archives and Records
Administration to inqurre about the FOIA mediation services they offer. The contact information
for OGIS is as follows: Office of Government Information Services, National Archives and
Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001; e-mail
at o£is@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-
741-5769.

                                                                                                                                                                                    Sincerely,
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                                                                                                                                                                                   Kevin Krebs
                                                                                                                                                                                   Assistant Director

Enclosure(s)




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           Part B- RESPONSE
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                                                                                                                                                 WAROEN OR REGIONAL DIRECTOR
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        If di5,rntirfied with this response, you may appeal to the Regional Directm·. four appeal 11111st hR rec,,fred i11 tht RPgimznl Office witliin 20 calendar days t\f' the dare of this re,p,m.H'.

            ORIGINAL: RETURN TO IN:\1ATE                                                                                                           CASE Nt.:MBER: ____________

                                                                                                                                                   CASE NUMBt:R: _ _ _ _ _ _ __
          Part C-- RECEIPT
        Return to:
                                          LAST NAME. FIRST. MIDDLE l~ITIAL                                            REG ~0.                                 !JNIT                                         INSTfTl!TlO.'\

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  Case 1:20-cv-20385-CMA Document 7 Entered on FLSD Docket 03/02/2020 Page 45 of 196
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Case 1:06-cr-{?O.~ij~CMAf\Document 665 Entered on FLSD Docket 04/04/2016 Page 31 of 136

                                           t::.S. Department of Justice
                                           Federal Bureau of Prisons

                                           Designation and Sentence Computation Center


                                            U.S. Armed Forces Reserw Complex
                                            346 Marine Forces Drive
                                            Grand Prairie. Texas 7505 i

                                            May 28, 2014




   Roy M. Belfast, Jr.
   Reg. No. 76556-004
   United States Penitentiary - Big Sandy
   P.O. Box 2068
   Inez, Kentucky 41224

   Dear Mr. Belfast:

         Your letter to Eric Holder, U.S. Attorney General, has been
   forwarded to me for response. You state the Presentence
   Investigation Report (PSR) respective to your criminal case does not
   reflect the information detailed in the Criminal Indictmer,t which
   led to your conviction and sentencing. Furthermore, you al:ege the
   PSR renders the Judgment respective to your criminal case unlawful,
   and the Bureau of Prisons (Bureau) does not have the legal authority
   to confine you. You also allege the Bureau's inmate classification
   process results in an improper increased security level assignment.

        A review of your record revealed you were sentenced in the
   Southern District of Florida on January 9, 2009, to a 1,164-month
   term of imprisonment for Conspiracy to Commit Torture; Conspiracy
   to Use,· Carry, and Possess Firearms During and in Relation to a Crime
   of Violence; Torture; and Using, carrying, and Possessing a Firearm
   During and in Relation to a Crime of Violence. While in the process
   of determining the sentence to be imposed, the court adopted the PSR
   to establish your Sentencing Guidelines range. You were
   subsequently committed 1:0 Bureau custody on March 18, 2009, and
   currently scheduled to satisfy your federal sentence on December 8                1

   2091. Absent a court o~der, the Bureau does not have the legal
   authority to release you from confinement prior to the expiration
   of your federal sentence.




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          The Bureau classifies and designates inmates in accordance with
    Program Statement 5100.08, Inmate security Designation and Custody
    Classification. You are properly classified as a high security
    level offender, and currently confined at a facility commensurate
    with your security and programming needs, as well as the population
    management needs of the Bureau.

          I trust this response has addressed your concerns.

                                            Sincerely,




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                    L.X\1dJl \ t:




    Sent Via Certified Mail Number. 7012 1640 0001 8200 1102



    LETTER WRITTEN: JUNE 14TH 2014




    From     Roy M Belfast Jr Reg No. 76556-004

             U.S.P Big Sandy ?.0. Box 2068

             Inez Ky 41224



    To: Mr Santana Chief Of DSCC U.S. Armed                          Forces

    Reserve Complex 346 Marine Forces                 Drive Grand Prairie,

    Texas 75051




   RE: Response to Letter Dated May 28th, 2014 . . Request Fer

    investigation based upon re-clarification of the claims raised

    in previous letters and filings to the Bureau Of Prisons.



     Dear   Mr Santana



        This letter is in response to your letter dated May 28th,

   2014. I hope this letter meets you well and in the best of

   health and strength. Sir let me first say thank you for taking

   the time out to respond to this very important matter.                 I would

   :ike to clarify a few things regarding the issue presently

   before the B.O.P . The crux of the claim petitioners has

   asserted relates to the transfer of custody process from the

   courts to the B.O.P .. There are two very important documents,
                                                                                  A0091980_33-000000
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    that come from the sentencing Court that are at issues



                       1.)      P. S. I. - Which is governed by the Federal
   Criminal Rules of Procedure, Rule 32



                       2. ) Judgment and Corr.mi tment- Which is governed by

   the Federal Criminal Rules Of Procedure, Rule 32


                       Rule (c) states:       (1)   required investigation.
                       {A)      In general. The probation officer must conduct a

   presentence investigation and submit a report to the court
   before it imposes sentence unless : (i) 18 U.S.C. sub section
   3593       (c) or another statute requires otherwise : or-
                       (ii) the court finds that the information in the
   record enables it to meaningf~lly exercise i~'s sentencing
   authority under 18 u.s.c. sub section 3553, and the court
   explains it          I
                            s   findings on the record. [END OF RULE 32]


          The most relevant a.spect of rule                32   is ( c) ( a) .   As   you

   rightly pointed out in your letter the "court adopted the
   P. S. I.   0
                  ,   making it the sole basis upon which it's sentencing
  1ies.


          The P.S.I. clearly brings life and authority to the
  judgment and commitment, Rule 32 (k) states : In the judgment.

  of conviction, the court mus~ set forth the plea, the jury
  verdict or the Courts findings, the adjudication, sentence. If

  the defendant is found not guilty or otherwise entitled to be
  discharged, the court must so order. The judge must sign the
                                                                                            A0091980_34-000000
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    judgment and the clerk cnust enter it. [END OF STATUTE]



          The P.S.I. must contain accurate facts, to provide the
    statutory and constitutional authority to the courts during

    the sentencing /penalty phase of the proceedings. In United
    States v Roberts P. Griffiths, 504 Fed

    Appx. 122; 2012 U.S. App Lexis 23852 the U.S. Court of Appeals

    for the Third Circuit found that : "The United States Supreme

    Court held that selecting a sentence based upon clearly
   erroneous facts, cons ti ':utes a significant procedural error.        A

   sentence can not be predicated of false information. Moreover,
   Due Process may require •resentencing when the informatio~ on
   which the sentencing court may have relied in the Presentence
   Investigation Report id mistaken or unreliable'' ( In
   petitioners instance the information is jurisdictionally void
   which has even greater implications).


         The Supreme Court ha.s held: "Selecting a sentence based
   upon clearly erroneous facts constitutes a significant

   procedural error" Gall v United States 552 U.S 38, 51 128
   S.CT 586, 169 L. Ed. 2d 445.


         The First Circuit Court of Appeals in, United States v

   Curran, 926 f.2d 59 : 1991 U.S. App Lexis 2253, stated: "It

   is well settled, however that a defendant has due process

   right to be sentenced upon information which is not false or

   materially incorrect".



         Townsend v Burke, 3 34 U.S. 7 3 6, 92 L. ED. 1690, 68 S. Ct       A00        _ _
                                                                                 91980 35 000000
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    1252 (1984);

           United States          V   Tu-:::ke:-, 404 U.S. App 446;

           United States          V   Espinoza, 481, F.2d553              1       555     (5th cir
    1978);

           United States          V   Harris   1   558 F.2d336        (       7th cir. 1977);

           United States          V   Malcolm, 432 F. 2d 809              ( 7th          cir 1970) .




          Supreme Court furtner st.ates : " A sentence ba.se upon
   misinformation of a constitutional magnitude                               1   untrue

   assumptions of fact may violate due process"( United States v

   Tucker, 404 U.S. 443. 437 30 L.ed 2d 592, 92

   S . Ct 5 8 9   ( 19 7 2 ) .




          Now based upon the P.S.I. jurisdictionally lacking

   judicial facts this automatically voids the judgment.                                             11




   Moreover [a]         judgment is void ... only if the court that

   rendered it lacked jurisdiction of the subject,                                      o~~    of the

   parties, or if it acted in a manner inconsistent with due

   process of law           II
                                 Union switch       &   Signal Div America Standard

   Inc. v United Elec./ Radio and Mach. Workers of America, local

   610,   900 F. 2d 608,          612 :n.1 ( 3rd cir.           1990) (citat:i.ons

   omitted).       "Thus we have indicated that a judgment will be

   rendered void for lack of subject matter jurisdiction on::_y

   where there is a total want of jurisdiction or in rare

   instance of a clear usurpa~ion of power 11                     •   id.;see also--

           United student Aid Funds, inc., 130 S.Ct at 1377

  noting that courts generally find a                      11
                                                                judgment            1s        void

  because of jurisdictional defect ... only for the exceptional
                                                                                                          A0091980_36-000000
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   case in which the Court that rendered the judgment lacked even

   an arguable basis for jurisdiction" ( citing Nemaizer v Baker,

   793 F.2d 58, 65 ( 2d cir. 1986)            i   see also--

              United States v Tittjung, 235 F.3d 330, 335 (7th

   cir.200) (" Only when thE~            jurisdictional error is egregious

   will courts treat the jud•::i-ments void".)




             Petitioner asserts the controversy rests with Count 1
   within the judgment and c~mmitrnent and P.S.I . At present the

   P.S.I. fails to contain the jurisdictional requirement under
   18 u.s.c. 2340A(b)     1   that petitioner violated 2340A(c), which
   requires that petitioner conspire with U.S. Nationals or those
   that satisfy Due Process requirements. Personal Jurisdiction
   raises different concerns from subject matter jurisdictioE. It
   is rooted in the Due Process clause of the United states
   constitution. A defendants due Process rights would be
   violated if a court were to hear a case                in which the court
   did not possess personal jurisdiction over the defe~dant or

   his unindicted co-conspirators.




             No passage of time can transmute a nullity j_nto a

  binding judgment, all have ad duty to act within there legal
  capacity to act when a violation of a citizens ri~rhts has and

  is presently taking place. The breach of public trust is a
  "miscarriage of justice        1
                                     •




        11
             Under the law of false arrest and imprisonment,
                                                                               A0091980_37-000000
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   indictments are categorized as void and voidable. The void

   class includes those setting forth facts which in no

   conceivable form can constitute a criminal offense, or if they

   might constitute an offense, the court issuing the process had

   no jurisdiction over such events or the person charged with

   the offense" ( Allen Frif~d:nan v United States of America,

   United states Court Of i\ppeals for the Sixth circuit 927 F. 2d

   259; 1991 U.S. App Lexis 3464; 19 fed R. Serv. 3d (Callaghan)

   64 No. 90-3337




         There are no judicial facts contained in the trial record

   to support any aspect of the Rule 32 F.C.R.P. in regards to

   Count 1 Conspiracy to Com~it Torture, which mea~s there is

   non-compliance with Congresses intent regarding 18 U.S.C.

   2340A(b), and the sentencing courts authority u:i.der Rule 32

   F.C.R.P as it relates to 2ount 1 of the indictment, P.S.I.,

   and judgment and commitment. This also means the Court Lacked

  Ar~icle III, Section 2, Clause 1.




         No fraudulent judgment can be used as evidence to meet

  statutory requirements un::ier 18 u.s.c. 3621(c), putting the

  sentence, and present confinement in violation of 18 u.s.c.

  400l(a); 18 u.s.c. 4042, as well as petitioners civil and

  constitutional rights. The D.O.J.        (i.e. B.O.P.) and courts

  must take cognizance of void judgment when it occurs,

  especially when it uses the judgment to conduct administrative

  functions,   essential transactions, and enter it into the
                                                                          A0091980_38-000000
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   federal records system, as be1ng a true and correct/accurate

   according to Federal guidelines, Regulation, and statute. Fore

   it is fraud to procure monies from congress which defrauds the

   American Taxpayers    &   Go•,ernment. If a Court rendered a

   judgment, and lacked jurisdiction of the subject reatter or

   person/persons and entered ir-to decree a Court order that was

   not within it's power to grant: , this substantially effects,

   out rightly waives and possibility that the B.O.P is enforcing
   a valid judgment. The fraud/ jurisdictional defect is-born

   from the Court, and for2ed the B.0.P. to rely upon

   documents/records that have been used to procure funds, carry

  out essential transactior..s from Congress illegally, for the
   last 7 yrs and 9 mths plus, of petitioners incarceration.




        Sir, I seek to dri VEi this very critical point home; The

  judgment and commitment i.s provided authority from rule 32
  F.C.R.P . . If the sentencing Court lacked the authority to
  sentence petitioner under Rule 32 F.C.R.P. , then the court

  order covered under the same rule is void, errone:ms, invalid,

  false, mistaken,fraudulent via mis- representation. This

  raises the error to a constitutional magnitude and denies the
  Court of, statutory, or constitutional authority to issue a

  valid judgment, this also denies the B.O.P. the ability to

  enforce a valid judgment,, because there is no valid judgment

  to enforce, it simply can not be used as evidence when it is

  contrary to 18 u.s.c. 400l(a).


        The Supreme court comments on this         " we ca.nnot exercise
                                                                        A0091980_39-000000
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    hypothetical jurisdiction, any more then we can issue a
   hypothetical judgment. Federal Courts are of limited
    jurisdiction they possess only the power aut~orized by the

   constitution and statute, Which is not to be expanded by

   judicial decree 11     •    Kokken v Guardian Life Ins. co of Am. 511

   U.S.   375,    377,   114 S.Ct 1673, 1675, 128 L.Ed 2d 391       (1994).



          At present based upon the lack of judicial facts to
   support 18 u.s.c. 2340A(b), regarding 18 u.s.c. 2340A(c), the
   DSCC/Big Sandy/B.O.P. is operating off of and is maintaining a
   fraudulent, unreliable, hypothetical judgment.




          The P.   s. R. and Jud~Jment should be mutually support or.e
   another to show that the transfer of custody process from the
   Courts to the Bureau Of Prisons is in accordance with 18
   u.s.c.   400l(a);      18   u.s.c. 4042; 18 us.c. 3621(c).


          Now based upon program statement 5800 .15        11
                                                                Corrections
   Systems Manuel ", chapter 5 ( Review of the initial

   ~esignation Packet).
                  501 states: Dscc staff must thoroughly review

   includes, but is not limited to, jail credit, over served
   time, separetee, medicai, P.S.I. and J&C information.



  NOTE**         501   clearly states the P.S.I. is part of the review

   with the J&C


                 502(c) states        J&C order. prior to calculating an
                                                                              A0091980_40-000000
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    inmates sentence, DSCC staff will carefully analyze the J&C to

    insure it is in accordance wi::h applicable, caselaw, and the

    sentencing guidelines.

               502(h) states      source Docurrents and legal reference

    material. designation and sentence corrputation .:.nvolves using

    complied data to produce a reasonable and logical

    interpretation of the sentencing courts mandate. Designat:ion

   Source Documents are identified in the Security ar:.d Custody

   classification Manuel. The complied data for calc1.:.lating a

   sentence comes from source documents which will be reviewed in

   the following order and include, but are not limited to:

               * Court Orders
               * J&C's

               * Statement     of reasons
               * Individual custody and Detention Reports (usm-129)

   for each geographical a:::-ea the inmate was in custody.

               * Correspondence relating to sentence.
               * Jail credit

               * Fines
               * Presentence Investigation Report

               * USPC Notice Of Action ( N.0.A's)
               * Notice Of Escaped Federal Prisoners
               * Unescorted Transfer and commitment Cards, and

   Sentry Data.



         In addition to source documents, the DSCC must have

   access to current editions of the following legal reference

   material

              * Federal Rules of criminal Procedure, Title 18,
                                                                          A0091980_41-000000
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    Title 21 Chapter 13, Title 28 Chapter 175 and Title 46 Chapter

    38   (paperback, non annotated west Publishing)

                * Title 28, Code Of federal regulations       ( Government

    Printing Office)

               * Title 8 u.s.c. for      I.C.E and Pretrial Detainees

    (annotated - West Publishi~g)

               * Title 22 and Title 24 D.C.      Code

               * All program statements in the 1000 and 5000-7000

    series that pertain to the DSCC procedures and functions will

    accessible to all department staff.




          Petitioner asserts the following



               1.)   The jurisdictional void/ void P. s. I. meets the

   standing of constitutional magnitude, lack of statutory

   adherence/conformity to congressional intent and of a civil
   rights magnitude as well .;;1.nd warrants the attention of the

   courts, Attorney general, Director of the B.O.P . . My P.S.I.
   pages 1-19 fail to contain the jurisdictional requirements

   under 18 u.s.c. 2340A(b) denying DSCC from having produced and

   logical interpretation of the sentencing Courts mandated, when

   it lacked a mandate under Rule 32 F.C.R.P . . The main source

   documents relevant to petitioners claim, must contain facls

   that provide the Courts S'.:atutory standing under Rule        32

   F.C.R.P., which at present is lacking. Had there been a

   thorough review of the petitioners designation packet by

   trained DSCC staff the fatal flaw would have been discovered,

   and certification would have been denied or delayed until the
                                         .,,.                              A0091980_42-000000
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    jurisdictional defect was cured/ addressed or at minimum noted

   within DSCC records.



                 2) Based upon the reading in program statement

   5800.15 Chapter 501 and 502 et seq.; DSCC possess all the

   requisite materials needed, as to avoid such a "material

   error 11



                 3.) The initial certification of the         11
                                                                   :::nitial

   Designation Packet 11   ,   is fraud via misrepresentation based upon

   the absence of judicial facts in the P.S.I.             to show that 18

   u.s.c. 2340A(b} was satisfied to confirm that petitioner was

   and is being confined pursuant to an "Act Of Congress". As a

   result not only is the :jud~Jment and P.S.I. from Judge Cecilia.

   Altonaga of the southern District of Florida under Criminal

   case no. 06:20758-Cr-alt fraudulent and in violation of 18

   u.s.c.     400l(a) i 18 u.s.c. ,1Q42; 18 u.s.c. 3621(c}, but the

  B.O.P.      as well for accepting and presently enforcing a ~llegal

   judgment. At present the inception of this lack statutory

  enforcement authority was derived from the Courts. The B.O.P

  bears liability based upon it 1 s failure to conduct a thorough

  review/analysis of source documents and other complied data

  against the back drop of the legal reference mate;~ial readily

  available to DSCC, prior to Designation and Computation of

  Petitioner to a U.S.P. in the Federal Burea~ of Prisons.



               4.) Any request for appropriated funds based upon the

  incarceration of prisoners, on behalf of petitioner

  confinement,      treatment, discipline,         is illegal and fraudulent
                                                                               A0091980_43-000000
                                           •   1
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   via misrepresentation. The B.O.P. has a duty to ~nsure the

   records used to conduct financial transactions and confinement

   of an American citizen an:! accurate, factual and without

   error, especially when it affects the civil and constitutional

   rights of a an individual and the financial legal rights of

   the government.



               5.) Petitioner ~elieves at minimum a review of

   designation packet. should have taken place and discovered,

   this serious constitutional and procedural due process

   violation, and title 18 violations, and at minimum delayed

   acceptance of custody from the Courts until the Courts

   addressed the Due process issue. This is cornected to a larger

   substantive Due Process, as there are no judicial facts t::,

   support a amended P.S.I .. This is also linked to the failure

   to the proper administration of justice in violation of 28

   u.s.c.   351 which states:   (a) A.~y person alleging that a judge

   has engaged in conduct prejudicial to effective and

   expeditious administration of the business of the Courts, or

   alleging that such judge :Ls unable to discharge all duties of

   office by reason of mental or physical disability, may file

   with the clerk of the courts of appeals for the circuit a

  written complaint containing a brief statement of the facts

  constituting such conduct.



             6.) Issue was raised prior to the notification to the

  Attorney General. petitioner fled a BP-8 on 1/2/14 based upon

  program statement, 1330.18 requesting a DSCC and Big Sandy

  Investigation due to the ~ack of statutory enforcement
                                                                          A0091980_44-000000
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    authority, in violation cf 18 u.s.c. 400l(a). Big sandy staff

    claimed that your staff during the initial BP-8 request

    refused to respond to the issues raised in the claim, even

    after the BP-8 was faxe::i to them,    (Grand Prairie) (See BP-8,

    1/2/14). Petitioner then filed a BP-8 on 1/24/14 requesting

    for criminal refferal based upon illegal certification by DSCC

    of   Initial Designation packet (See BP-8 1/24/14) both BF-8 s      1




    went unanswered, which has resulted in a criminal complaint on

   the actions of Big Sandy staff involved (See BP-11's filed to
   Central Office)



                On 2/3/14 petitioner filed a BP-9, which again
   requested for an investigation by DSCC into the above

   mentioned issues (See BP-9       Id No. 768383), and upon receiving
   a response, I was told DSCC responded by email and I could not

   receive a copy, which was then memorialized on paper with his
   signature.    (SEE BP-9 response w/ A.W. memorialization)



   NOTE***[ The response claimed to have come from DSCC amo~nts

   to an obstruction to petitioner obtaining relief~



         Even after being given all of the supporting evidence

   DSCC chose to produce a fraudulent, IT)isleading response. As

   result of the BP-9 response petitioner filed a BP-10

   underscoring the failure and erroneous response by DSCC (See

   BP-10 Remedy Id No. 768383-Rl and response).



         It is impossible for corr,putation to come before the

   review of the designation packet, this is to insure that it is
                                                                            A0091980_45-000000
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    in line with 18 u.s.c. 400l(a), insuring that all Americans

   a:::-e confined pursuant to an "Act of Congress" ( Keep in mind

   Statute trumps/overrideG agency Policy, the B.O.P. must insure

   it's operations , are in line with Congress at all times, i.e.

   Title 18 u.s.c. , sub sections 400l(a), 4042, Title 31 u.s.c.

   sub sections 3512(b), 3802 etc). This makes the BP-10 moot, if

   not outright fraudulent for the misrepresentation of the ::;laim
   raised. 1330.18 is an established right given force under 28

   C.F.R. 542.10 et seq., which becomes a "Administrative
   Proceeding 0      ,   that is legis:;.atively required not a

   discretionary function.




   *RELIEF SOUGHT BY YOUR OFF~CE CHIEF SP..NTANA*




          Petitioner requests a investigation, and recc,rds
   management study of petitioners file, based upon the
   inaccuracy of files maintained by the B.O.P. for functions,

   policies, decisions, procedures, and essential transactions of
   the Bureau Of Prisons. Based upon violations of Title 44

   u.s.c., sub-sections, 2901; 3101. The inaccuracies within the
   federal records system of the executive branch of government

  and the reliance of said fraudulent documents triggers
  violations of Title 31 u.s.c., sub-sections 3528; 3802; Title

  18 u . s . c . ,   sub-sections , 1 OO1   i   1 OO2 ; 4 OO1 (a) ; 4 0 4 2 ; 3 71 ; 2 41 ;

  3621(c); Title 5 u.s.c., subsections, 702; 704. Upon
  confirmation that the Federal Records possessed on petitioner
  are fraudulent and are misrepresented, and a.t present are
                                                                                              A0091980_46-000000
                                                   14
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    being used for essential transaction as it relates to

   petitioners confinement, on behalf of the Bureau Of Prisons,

    Petitioner requests the following steps be taken

               (A) Interagency cross notification, of report a~d

    findings to all federal Executive agencies who are in

   possession of fraudulent records and who used suer, records at

   any time to conduct fin::tncial transactions make policy
   decisions, initiate department functions and procedures, as
   well as cause initial arrest/ confinement and or were
   associated with permenant detention of petitioner.

               (B) Removal o such records from the B.O.P records

   system and request for     3.   correction and or deletion of any
   such records held by any other federal executive agency.
               (C) A investigation of persons associated with the
   certification, and creation of fraudulent records and a
   criminal referral made tc Office of Internal Affairs, office
   of the Inspector General, Attorney General, Office of

   Management and Budget, 3eneral Accountability Office, as
   petitioners case is but c,ne example of Significant Material

   Weakness, within Bureau Of Prisons Operations, that has
   National Implications (See Research Paper attached to this

   letter)
               (D) Notification to the judicial branch of

   government, via complaint (i.e. Chief Judge to the 11th
   circuit regarding the violation of 28 us.c. 351), regarding

   the actions of Judge Cecilia Altonaga of the Southern District

   of Florida, in criminal case no. 06:20758-Cr-Alt, for the
   production of a frauduler.t judgement and commitment, which the

   Bureau Of Prisons has relied upon for the last seven yea~s and
                                                                          A0091980_47-000000
                                          ' ".,
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    nine months. Notification to Judge Altonaga on the void nature

    of the P.S.I., Judgment and Commitment/Source Documents, and

    request for investigation by :.he United states Probation
   Office, based upon fraud via misrepresectation.

               (E) Notify the Attorney Generals Office; the
   Director of F.B.O.P Charles Samuel, as well as the deputy
   Attorney General James Cole, of the actions needed to address
   this very sensitive matter.

               (F) Provide petitioner with a copy of the findings
   of Investigation, and Records Management Study, as well as
   letters associated with corrective actions recommended and or
   actions taken, by any and all Federal Executive A9encies.
               (G)   A   press release based upon the corrective
   actions taken on findings :rom investigation and Federal
   Record Management Study.
               (H) Submit report to the Senate Judiciary Committee,
   0MB, Based upon investigation and findings, as well as aq,
   corrective actions taken on behalf of petitioners records held
   by all agencies with the federal executive. Due to this case
   being a reflection of a larger material weakness ~n the
   Bureau's operations.




         In the air of transparency petitioner will forward a
  copy to the Attorney general's Office, and Office of Inspector
  General, as well as the Judiciary Committee in the Senate, and
  specific members of Congress that petitioner deems
  appropriate. petitioner prays that this clarification assists
  in providing some deep insight into the potential damage
                                                                          A0091980_48-000000
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    already caused, and the ramifications of the continuation of

    the above mentioned, which continues to adversely affect
    petitioner civilly and constitutionally. Mr Santana I hope

    your moved to action on behalf of petitioners                  presentation, but
    more importantly based upon the integrity, oath taken,

    fiduciary duties, public t:cusc, and cons ti tut ion cf the United
   States     that you swore to up told.


               Thank you    for youy time and attention Sir




                             RESPECTFULLY SUBMITTED




                                            /DATE   _j,-t-.t4tl-
                              76556 - 004

         U.S.P. BIG SANDY P.O. BOX 2068

            INEZ KY 41224




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       U.S. Department of Justice
       Federal Bureau of Prisons                                            Inmate Request to Staff Member Response




       BELFAST, Roy M. Jr.
       Reg. No. 76556-004
· :    USP Big Sandy
       Unit B


       This is in response to your correspondence :eceived on June 30, 2014. I have received all 80 pages of your
       document and the basis of your request indicates the transfer of custody process from the Courts to the Bureau of
       Prisons (BOP) and inaccurate information contained in your Pre-sentence Investigation (PSI).

       Program Statement 5800.12, Receiving and Discharge Manual, indicates the commitment paperwork that is
 i
 I
       needed to commitment prisoners to BOP facilities. The Judgment and Commitment Order issued by a federal
       court on a sentenced inmate and prescribes the specific sentencing provisions of the Court. Further, Title 18,
       U.S.C. 3621, states that the BOP is requi,ed to provide the custody and to determine the place of imprisonment
       for all sentenced federal prisoners.

       A review of your case indicates you were sentenced in the Southern District of Florida on December 7, 2006, to
       11 months. Further, on January 9, 2009, you were sentenced in the Southern District of Florida to 1164 months.

      Further review of Program Statement 5800. 11, states in part, "An inmate may challenge the accuracy of the
      information in his or her Inmate Central File and the unit team staff shall take reasonable steps to ensure the
      accuracy of challenged information, particularly when that information is capable of being verified. The inmate is
      required to provide staff with sufficient information in support of a challenge (names of persons to contact,
      government agency, etc ... )." Once this information is given to the Unit Team, staff will forward the inforination
      to the appropriate agency responsible for arL.ending the challenged information.

      I trust I have addressed your concerns.
                                    Digitally ,1gned by ANGELA SCOTT
                                    ON: c=US, o~U.S. Gov-emment, ou=Of'pt

            r,lj,_   c/4.   0:. ,
                                .   of Justice. ou:OOP, cn~NGELA scan,
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                                    3087
                                            •
                                    Date: 201 ,07 0814:55:33-0S'oo·                         July 8, 2014
      Angela N. Scott, Operations Manager, Team Lima
      DSCC, Designation & Sentence Computation Center
      U.S. Armed Forces Reserve Complex
      346 Marine Forces Drive
      Grand Prairie, TX, 75051




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                                                U.S. Department of Justice

                                                Federal Bureau of Prisons

                                                United States Penitentiary, Big Sandy


                                                P 0. Box 2067
                                                ["ez, Ken lucky 412 24

    February 25, 2014


   Orlando Burgos, Supervisory
   United States Probation Officer

   United States Probation Office
   Wilkie D. Ferguson, Jr,
   United States Courthouse
   400 North Miami Avenue, 9th Floor South
   Miami, FL 33128

   RE:           BELFAST JR., Roy M.
                 Reg. No, 76556-004
                 Case No. 06-20758-CR-ALTONGA


   Dear Mr. Burgos:

   First, I would just like to thank you for the timely response in regard to our
   previous request regarding Roy M. Belfast Jr.

   However, Inmate Belfast has indicated that the response is incomplete and does not
   address all of the statutes set forth in a Sellers Request. Therefore, I have
   attached documentation provided by inmate Belfast stating his claims for your
   review.

   Could you please research this rnatt~r and respond back to me so I can forward it
   on to inmate Belfast.

   If you have any questions or concerns, please feel free to contact me at
   (606)433-2400, Ext . . . . . .




   Sincerely,




  H. Chance
  Unit Manager




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                      REQUEST FOR ADMINISTRATIVE REMEDY
                              PART B - RESPONSE


   Remedy No. 770428-Fl


   This is in response to your Request for Administrative Remedy
   receipted March 6, 2014, wherein you indicated staff failed to
   address inaccuracies in your Presentence Investigation Report.

  In accordance with Program Statement 5800.11, Inmate Central
  File, Privacy Folder and Parole Mini~Files, if an inmate
  challenges information in the Presentence Investigation Report,
  staff should inform the appropriate U. S. Probation Office (USPO)
  in writing of the disputed information, and request that a
  written response also be provided. On November 12, 2013, staff
  submitted a letter to the United States Probation Office in
  Miami, FL, requesting a review of your Presentence Investigation
  Report. On February 11, 2014, the USPO responded that your
  Presentence Investigation Report is accurate.

  After you indicated that the letter sent to the USPO did not
  address all the iriaccuracies in your Presentence Investigation
  Report, staff has drafted another letter to ~he USPO with
  attachments that you pr6vided. This letter was ~ailed to the
  USPO on February 26, 2014.

  Based on these findings, your Request for Administrative Remedy
  is neither granted nor denied, but for informational purpcses
  only.

  If you are dissatisfied with this response, you may appeal to the
  Regional Director, Bureau of Prisons, Mid-Atlantic Region, 302
  Sentinel Drive, Suite 200, Annapolis, Maryland 20701, within 20
  calendar days from the date of this response.




                     , Warden




                                                                         A0091980_51-000000
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                   .. 'X'fi;!Jlr   '




    SENT VIA CERTIFIED MAIL NO. 7012 1640 0001 8200 1126



    LETTER WRITTEN: JUNE 14th, 2014



    From: Roy M Belfast Jr ~eg No. 76556-004

          U.S.P. Big Sandy P.O. Box 2068

          Inez, Ky 41224



   To: Attorney General Eric Holder Of the United               States

   Justice Department,

       950 Pennsylvania Avenue, N.W. Washington, DC             20530-

   0001




   Re: Up Date Regarding Letter Sent by                        Designation

   Sentence and Computation                  Ce~ter Chief Santana.




     Attorney General Holder,



               Let me first thank you and your staff fer directing

   the courtesy copy of letter I have sent to the PRD-SDAD Ms.

   Sa~ah Revell,        to the DSCC Chief, for him to address. I

   received a letter from the Chief on may 28th, which I promptly

   responded to in letter dated, June 14TH, 2014,         in it I

   correct      his misapprehension about the iss~es raised, as

   well as send him copies of the administrative remedies

   regarding the request for investigation and crimir.al referral A00 91980_ 53 _000000
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    on DSCC staff for there fraudulent ce::::-tification, regarding

    the initial designation packet in violation of 18 u.s.c.

    400l(a), which has caused         the Bureau to rely on fraudulent

    documents to conduct it's essential financial transactions to

    request for monies from Congress via the 0MB, essentially

    defrauding the American Government, Congress, and American

    Tax-Payer, based upon there usage of such documents.



         Sir from the entire remedy process, petitioner has faced

    obstruction, misdirection, false statements, regarding B.O.P

    staff regarding claims made, there seems to be a blatant

    disrespect for law's and procedures by B.O.P. staff here at

    the Institution, Region, Central Office and from what I

    suspect DSCC (See all Administrative filings and responses

    under Attachment B.O.P. filings, but this is not the main

    reason why petitioner writes you. The present issue with the

   B.O.P. and the illegal certification, and fraud on the U.S.

   Government,    stems from the illegal actions of prosecuto~s

   lacking "Probable Cause".      "Due Process" and "Fraud" runs

   through the entire procEis::i based upon the following reasons:



               A.)   False statements in violation of 18 u.s.c. 1001,

   Fraud via misrepresentation, and or omission were used tc

   obtain the approval of the Superseding and Second Superseding

   Indictment, by Justice Department Prosecutors. Which means

   they knowingly, willingly,      intentionally, crafted the

   indictment to misrepresent, influence, corrupt, and obstruct

   the proper Administration of ,Justice in a Court of law, and

   before a American jury in criminal case number 06: 20758-Cr-Al'A0091980_54-000000
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    [ Due Process/Lack of Probable Cause Violation]



                  B.) Prosecutors went before a Grand Jury securing

    :::wo indictments (superseding and second superseding), knowing

    they lacked probable Ca'._lSe, which means they knowingly,

    willingly, intentionally, committed false scate~ents, as well

    as fraud via misrepresentation, and or omission before a Grand

    Jury.    [ Continued    11
                                 Due Process" Violation J



                 C.) Prosecutors fraudulently used funds from a

    Federal program,       to investigate and prosecute, a case that

    lacked "Probable Cause 11        •   Initiating a trial proceeding, with

    the intent to manipulate, evidence, seeking erroneous rulings

    1n motions during pretrial,            and trial to cover the lack of

   evidence that was lacking fron the inception of the trial

   proceedings.



             Essentially for a certain time committing fraud during

   the proper administration of justice in a court of law, as it

   relates to the expenditure of time resources of federally

   appropriated tax dollars allocated for trial.



            Then finally conspiring to violate my Civil Rights with

   J~dge Cecilia Altonaga, regarding jury instructions that was

   put before the fact f inc.er, which was clearly crafted outside

   the Drafters/Congresses intent as it related to ~he

   jurisdictional section of 18 u.s.c. 2340A(b), concerning count

   one 18 u.s.c. 2340A(c) Conspiracy to commit torture ( while

   superior knowledge that unindicted co-conspirators did not,                 A0091980_55-000000
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    and do not meet the criteria under 18 u.s.c. 2340A(b), while

    at the same time violating clearly established judicial

    doctrine [Act of State ~octrine, Direct Effect, Protective

    principals of jurisdiction, Charming Betsy Principle, Minimum

    Contact, Restrictive Theory of Immunity], and Congressional

    statute the Foreign Sovereign Immunity Act of 197E), or any

    other "Due Process" requirements under the Constitution of the

    United States. Fraudulently procuring a verdict from the Jury

    (Advisory/Hypothetical ,Ju::lgment).     [Continued "Due Process''
    violation)



                 D.) The prosecutors and judge cognizably knew that
    the P.S.I lacked the judicial facts. No such facts could exist
    since they lacked probable cause from the inception, prior to
   a Grand Jury proceeding t~at petitioner violated 18 u.s.c.

    2340A(c), under the jurisdictional standard 18 u.s.c 2340A(B1,
   yet chose to proceed with the sentencing phase /penalty phase
   of the proceeding I when i ·: violated Rule 32 under Federal

   Rules Of Criminal Proceeding, making the sentencing phase
    il2.egal and the judgment .Lssued by th courts "Voidn on it's

   face/ "Fraudulent 11 by construction.      [Substantive "Due Process",

   and procedural "Due Process II violation] .




         Sir it is based upon this blatant, disrespect for Justice
   Department policy, ethical standards, Title 18 &, 31 United

   States Code Service (Legislated by Congress), Oaths, Fiduciary
   Duties, Bonds which cover there practice of law, American                A0091980_56-000000
                                        tJ
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    jurisprudence that i wrote and continue to write.A.Git has

    been widely publicized that you will be leaving office this

    fall, which is even more of a. reason for the peti~ioner to

    continue to press and lobby for a major investigat:ion to be

    launched as I believe that your successor will have to go

    through a :ong period of settling in to address petitioner

    issue.



         Sir it is based upor:. the substantive                &   prccedural   11
                                                                                     d·.1e

   process 11 violation that this fraudulent judgment, can not be

   used a evidence by the B.O.P., or any other Federal Agency, or

   placed in the Federal Records System for any official use be

   it for, procedures,                 functions, policies, or essential

   transactions in violation 18 u.s.c. 362l(c). Petitioner raised

   all of the Administrative Remedy Procedures, legislated by 28

   C.F.R 542.10 et seq., based upon this clear reality.



         As a result of the lack of proper response from the

   B.0.P, petitioner along with fellow researcher Frankie

   Gonzalez Reg No.           19765-:JSO        (who has a congressional inquiry

   into his case presently. We both have essential the same issue

   except information in the judgment clearly shows that the

   judgment is     11
                        Void 11   •    Whe::1 ic1 my instance you need to go back to

   che Presentence Report to prove                   that the judgment is

   "Fraudulent" / 11 Void 11          ),   produced a research paper for the

   B.O.P., to fully grasp the issues having been and being

   leveled against them.



         A copy was sent to your office, via certified mail no.
                                                                                             A0091980_57-000000
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          As result of the letter sent to the Congresswoman that

    essentially was intendej to mislead the Congresswomans Office.

    Petitioner deemed it aViH"opriate to draft a letter addressed

    tc the Director of the     B.O.U . .S.A   asking specific questions, on
    behalf of the truth for my family, my self, and tie Honorable

    Congresswoman who has served the U.S. House of Representatives

    with distinction since 1993. Questions I asked the Honorable
    Congresswoman adopt, so that Mr Monty Wilkinson can be

   officially be placed on the record. Removing all               doubt as to
   what he is informing the ::ionorable Congresswoman c,n, based
   upon his professional opi::1ion,      in his Official Capacity as a
   Justice Department Officia.1 ( SEE LETTER          DF.AFTED   TO   MR   MONTY
   WILKINSON,   DATED JUNE 13th, 2014) .


         Sir it's the type of response by Mr Monty Wilkinson and
   the past actions of Justice Department Officials, that I wrote
   your office and seek a Congressional inquiry into my case,
   adding a additional layer- of oversight into the process. The
   fact remains my indictment passed through the National
   Security Division, a very sensitive area of the Justice
   Department, which clearly had superior knowledge of the lack
   of probable cause that exj_sted. In fact one of the Prosecuting
   Attorneys Christopher Graveline came from the National
   Security Division. Based upon the nature of the charges, ~he
   level of attention it generated in the press at that time ( my
   arrival into the United States), the number of groups that
   lobbied the Justice Department to pursue me by all means, the
   case being one of first instance, also having Foreign Policy

   implications, at that ti.ne the case had to have been approved                  A00        _ _
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    by the Deputy Attorney General.



            What is even more disturbing, a:l the reports gathered

    by Human Rights groups :::m petitioners alleged acL.vities. The

    J~stice Department had ample time to chose what they believed

    would be the best possible chance for them to pursue criminal

    charges against me. Having up to nine months before proceeding

    with the initial indictment and more than a year plus before

    trial, possessing a unlimited budget to execute the

    investigation and gathered evidence on. Yet could not

    produce tangible evidence to bring before a Grand Jury, and

    American Jury but rather still choosing to proceed with False

    Statements, and Fraud via misrepresentation, and or omission,

   before a Grand jury, fact finder.

         From my perspective this has far reaching implications as

    to how this system can fail to work, ~ot just for the First

    torture prosecution in the Justice Departments history and why

    there would be so much collusion and conspiring tc violate my

   civil and constitutional rights (in violation of 18 u.s.c.

   241), but as to why so much money, manpower, and other

   resources,     from the E.O.U.S.A./Justice Department, F.B.I.,

   Home Land Security, : . C. E . , w::mld be expe:ided. When it col~ld

   have been directed towards prevention of crime or dedicated to

   the actual solid leads that Federal Officials possessed

   regarding the violations of the Laws of the United States. In

   essence things questions linger that only a investigation can

   answer, why was this case politicized?; Who al:i. in Justice

   gave the orders to disrega.rd       my civil and constitutional

   rights   ?;   Who all in Justice (:rave tne orders to violate
                                                                            A0091980_59-000000
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    clearly established Justice Departmenc: policy?; Who all .in

    Justice gave the instructions to multiple federal officials,

    who held superior knowlec.ge to commit fraud before a American

    Grand Jury, while providing them the political and

    administrative cover they needed to commit such acts?

          Where there Foreign policy concerns, or economic issues
    that related to this pr~secucion ?; Did the Head of Stace for

    ~he Republic of Liberia ask for this prosecution to take place

    at all costs?;      Did he British request the same, based upon
    there interests in Sierra Leone.        (This would essentially mean

    that the case was influenced by a Foreign Power, and or
    Foreign Powers, that could possibly implicate the State

    Department, and or White House at that time); Did the orders
    come directly from the White House?; How many tax dollars

   were misappropriated by multiple federal officials, regarding
    this scheme to defraud the U.S. Government. How many Officials

   violated 18 u.s.c sub section 4, and or 28 u.s.c. 535(b),
   which states:     (b) Any information, allegation, matter, or

    complaint witnessed, discovered, or received in a department

   of agency of the executive branch of the government relat~ng

   to violations of Federa: criminal law involving Government

   officers and employees sha.11 expeditiously reported to the

   Attorney General by the head of the department or agency, or

   ·,,itness,   discoverer,or recipient, as appropriate, unless--·

    (l)the responsibility to perform an investigation with respect

   thereto is specifically assigned otherwise by another
   provision of law; or 92) as to any department or agency of the

   government, the Attorney 9eneral directs otherwise with

   respect to a specified class of information, allegation,. or
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    co:nplaint.



           How many violated 18 u.s.c. 4 [Misprision of Felony)         ?,

    which states: Whoever, ·'.laving knowledge of t:he actual

    commission of felony cognizable by a court of the United

    States, conceals and does not as soon as possible make known

    the same to some judge or other person in civil or military

    authority under the Uni:.ed states, shall fined under this

    title or imprisoned not more than three years or both.



         It's these questions and more that petitioner at some

   stage in the future would like answers to, and the only way to

   get those types of answers would be under a Congressional

   invest:igation or appointment by your office of a special

   prosecutor. The one of the only ways for me to be made w~ole

   again, and reclaim what is left of my shattered life as a

   result of this persecution again is, to get this ~llegal ·

   conviction, and unlawfu:_ incarceration overturned. Hold all

   participants involved civilly and criminally liable for there

   actions, to the fullest extent of the law possible.




         In addition to all that has been stated oetitioner

   further requests. Amendment/ correction of agency records

   containing, inaccurate facts. Under Privacy Act 5 u .. c. sub

   section 552a(d) (2) (b) (i), and pursuant to Records Management

   by agency 44 u.s.c.     sub section 3101. Based upon protection of

   legal and financial rights of government and of persons

   directly affected by agency activities.
                                                                             A0091980_61-000000
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         Pursuant to    5   u .. c.   552a.(d) (2) (b) (i)   which states; each

    agency the maintains a sys:em of records shall-- (d) (2) permit

    the individual to request amendment of a record pertaining to

    him and,   (b) ( i) make any correction of any portion thereof

    which the individual believes is not accurate, relevant,

    timely, or complete. Pursuant to 44 u.s.c 3101 which states:

    the Head of each federal agency shall make and preserve
   records containing adequate a.nd proper documentation oft.he

   organization, functions, decisions, procedures, and essential

   transactions of the agency and designed to furnish the

    information necessary to protect the legal and financial

   rights of government and persons directly affected by the

   agencies activities.




          Petitionec   seeks the Amendment, and or removal of Justice

   Department documents, which were used to assess, review,

   analyze, determine Justice Department functions and

   procedures, decisions, and essential financial transactions.

   Which contain factual errors pertaining to Petitioner Roy M

   Belfast united states marshal number 76556-004, who was and is

   still being adversely affi~cted, by these factual errors. After

   t.he completion, usage and application towards petitioner prior

   to Grand Jury proceedinqs regarding Second superseding

   Indictment 06:20758-cr-Alt. Specifically but not confined to

   the case initiation report, prosecution merr.orandurr,, supporting

   affidavits, and any other relevant documents used to determin°
                                                                                  A0091980_62-000000
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    Justice Department action against petitioner prior to any

    g~and jury proceedings. Justice Department documents contain

    fraudulent information ·:hat petitioner met or meets the

    criteria for preliminary detention, grand jury proceedings,

   and or any other judicial proceedings under 18 u.s.c.
   2340A(c),     Which permitted the allocation of federal funds to
   be expended for the eventual investigation, and prosecution of
   petitioner in violation of 18 u.s.c. 666, when no such proof

   existed prior to the judicial proceedings or after the
   judicial proceedings. All federal records that contain any
   information or suggest that petitioner violated 18 u.s.c.

   2340A(c) are factually, inaccurate, and misrepresent the
   truth. Had prosecutors involved in the prosecution of criminal
   case 06:20758-cr-Alt, presented the proper facts within the
   federal records system, petitioner would not be adversely
   affected today. as a result of the, case initiation report,
   prosecution memorandum. A grand jury proceeding was advanced
   against petitioner, as well as trial, and sentencing. All in
   violation of peti tionern due process and civil rights. tl::_s
   factual inaccuracy did violated 18 u.s.c 400l(a) as petitioner
   was not and is not being ::1eld pllrsuant to an act           congress,

   due to petitioner being i::J.ace::I in pretrial detainment.




        Said documents constitute final agency action and create
   a legal wrong under the A?A 5 u.s.c. 701 et seq. failure to

   correct factual and historica: errors would constitute a
  violation of the governments legal and financial rights as
                                                                             A0091980_63-000000
                                       _...,
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    they would be maintaining fraudulent records and would be

    concealing clear crimes by federal execu::.ive employees. this

    also produces a lack of accountability of justice Department

    documentation of it's o::-:-ganization, functions ,policies,

    decisions, procedures, and essential transactions and permits

    fraud,   abuse, prosecutorial misconduct, malicio~s

    prosecution, mismanagement, causing civil liability to the

   Justice Department. In addition it would continue to adversely

   affect the rights of petitioner civilly and constitutionally.

   petitioner has a right to seek the correction of preserved

   records within the federal records system of decisions,

   procedures, and essential transactions, etc, due to the

   ?iolation of legal and financial rights of the government and

   petitioner. Petitioner requests a investigation, Records

   management study, of all Justice Department Records and

   interagency file sharing system, to correct or remove the

   factual    inaccuracie~ presently being maintained against

   petitioner, regarding false information that petitioner

   allegedly violated 18 u.s.c. 2340A(c). The a~tions of those

   involved in the fraudulent: placement of records into the

   federal records system, was and is a clear breach of the

   public trust,     fiduciary duties, oaths, and clear operation of

   '' :bad faith",   as well as violation of title 18 statutes.




         Petitioner further requests based upon S u.s.c.         sub

   section 552a et seq., that any denial be fully stated as to

   why the factual inaccuracies/ fraudulent information would not

   be corrected, which is mandated by law, so that petitioner can
                                                                           A0091980_64-000000
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    seek relief from the courts in the event of a dispute.

    petitioner further requests criminal probe, upon confirmation

    of the above stated is true, and correct.




          Petitioner prays ti1at you     a   moved by my diligence a.nd

    persistence, to investigate this matter, launching a cri~inal

    probe into the actions by federal officials in criminal case

    no.   06:20758-Cr-Alt.



      May god continue to move your heart, and to provide you with

   the wisdom you deserve. Also sir I commend you for attem~ting

   to address the imbalance in the justice system, one can only

   wonder if that is something your predecessor will continue to

   do as vigoursly and seriously as you. Although known of the
   rr.easures apply to me, any correction is a start in the right

   direction. I hope that the research paper provided in this

   package, helps to expose a.dditional flaws that need to be

   addressed. No matter what the position taken by analysts,

   whether, it's the courts responsibility to correct such an

   issue, or many agree with the premise of the research paper,

   that it is within the federal executives responsibil~ty to

   detect and address such an issue when it relates to civil and

   constitutional rights being violated 18 u.s.c. 4001(a)           , or

   the fact that the reliance of fraudulent documents for

   financial transactions,      ii3   fraudulent and criminal. Regardless

   of questions should the B.O.P         have or start to begin Denying

   "certification" of the initial designation packet, and or
                                                                           A0091980_65-000000
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    begin, or have been giving notification to the courts prior to

    acceptance of custody, into the Federal Bureau of Prisons and

    entering Fraudulent documents into the Federal Records System.

    The key to me is that there is recognition of a problem, that

    the system is not functioning properly and that through

    successive administrations fraud and collusion has taken
    place. This is yet another way to correct a some what broken

    system. I believe that hundreds, if not two or th:::::-ee thousand
    could be affected by a potential J&C/P.S.I/B.O.P. J&C fi:e
    National review, due to this practice over the last twenty of
    thirty years. Billions :nave been improperly expended and
    Billions will be save upon it's correction


          I look forward to a.ny response from yoi..:r office regarding
    my complaint, concerninq the wrong doing in my case. I to Mr
    Holder seek to make History in my life, but not branded as a
    torturer and murderer, I truly hope my secor.d chance at life
   begins with my recent e~fo=ts to high:ight the wrong.




                         Respectfully Submitted




                  ~~1- -~--__ -· ___ --1_~~N- _____ _
         1s 1 - - -

              ROY M BELFAST JR 76556-004       DATE

         U.S.P. BIG SANDY P.O. BOX 2068

         INEZ KY 41224


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     From:   Roy M Belfast Jr 75556-004
             U.S.!'. Big Sandy P.O. Box 2068
             Inez, Ky 41224

    To: Civil Rights Divison of ThE= Justice Department
        RFK: Robert F. Kennedy Building, 950 Pennsylvania Avenue,N.W.
        Washington, D.C. 20530-0001



    RE: Violation Of Pettioners Civil and Constitutional Rights In Criminal
        Case No. 06:20758-CR-CMA


           Petitioner seeks a civil rights investigation based upon the unlawful cus-
     tody and false imprisonment p::e32ntly l::eirg enforcs::J cy the BJrEau. Of Pds::ns in vialad.cri
     18 u.s.c 400l(a), and 18 u.s.c. 241. The documents used to justify
     statutory enforcement authority by the Bureau Of Prisons,(i.e. Source
     Documents) the P.S.I. and J&C are both "void", as result of this fact.
     Not only is petitioner fraudulently held/falaley imprisoned, any and
     all essential financial transactions and reporting related to pet~
     itioners confinement is fraudulent via representation, thereby defraud~
    i.rq the American Government and Tax-payers in ivolation of 31 u.s.c
     3512(b) and 31 u.s.c. 3802. Petitioners P.S.I., pages one thru nine-
     teen fails to contain fl.AY .judicial facts, that petitioner '7iolated 18 U.S.C.
    2340A(c) Conspiracy to Corrnnit Torture,· according to the jurisdicitonal section
    18 u.s.c. 2340A(b), or any II Due Process" standard required ·Jnder the Constitution
    of The United States.

        The Bureau has been notified of this civil and constitutional rights vio-
   lations, yet has obstructed and denied petitoner any relief in violation of
   violation 18 U.S.C. 400l(a) (SE'.E ADMINISTRATIVE REMEDY 753919-Fl-Rl-J'.\2 Respect-
   ively), as a result violating 18 u.s.c. §1505. The P.S.I. and Judgment must mu-
   tually support each other, as the P.S.R./P.S.I. determines the rights and oblig-
   ations of the pettioner going forward, the report has a dfirect impact on con-
   finement, length of sentence, it also affects the classification and place of
   incarceration. The lack of jurisdic:itonal facts/inaccuracy, :is of a Constitutional
   magnitude, violating" Due Process", manifesting false imprisonment, arbitl'."ary
   arrest, and cruel and unusual punishment.

         The Supreme Court has helo: "Selecting a sentence based on clearly erroneous
    facts constitutes a significant procedural error"

        Petitioners established rights under the Constitution and Congressional
   mandated statutes have been clearly violated, by Depa:ctment Of justice Officials
   who, knowingly, willingly, and intentional acted, with malice, as these rights
   have long since been upheld in American Law for Citizens of the United states
   and those within it's territories.

      Petitioner• requests based upon the false imprisonment, violation of the Bth
   Amendment, arbitrary arrest, that a civil rights investigation be launched again-
   st Big Sandy, Designation Sentence Computation Center, Mid Atalntic Regional
   Office, Central Office of General Counsel, for the refusal to take corrective


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    action via launching a investigation based upon cdmes mentioned and the cont-
    inued enforcement of a "illegal'' and "fraudulent judgment,

         reti ti oner further requee,ts any notification or action taken by the civil
    Rights Divison, that petitione·r be notified, and full authorization is given to
    the Civil rights divison to disclose any information relatea to this civil rights
    complaint to Congressional Aide to 5th District of the United States Representative
    Ms. Corrine Brown, Mr Chest Glover.

         I look forward to any action taken by the Civil rights Divison, as it relates
    to the present crimes being committed by the Department Of Justice Employees




                               Respectfully Submitted




                                                 56-004
                                                   Box 2068




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                                       DECLARATION OF FACTUAL AVERMEN'IS


                                )
                                                                                                      ·--··---   ---
                           ) SS: AFFIDAVIT OF ROY M. BELFAST, JR.
       COUNTY OF INEZ -. . ) --·---··



       KNoW ALL PERSONS BY THESE FACTS


            I Roy M. Eelfast Jr., ::i.eg, No. 76556-004, D.O.B. 2/1:2/77, incarcera-ted
       in U.S.P. Big Sandy, presEmtly appearin.q before Notary Pu'.,lic, hereby s~,;ear,
       declar'7.~ und:~r. ~enalty of ·'..)·3.r·jur.1, 2/1   u.s.. c.   §1746, th7.:! follot•Jj_ng:

       1.    I am over th;e legal age of 21, and the facts herein are true and correct
       to t-1e best of my knowleclqe, donC:! by me knmiingly, intell.i.gentlv, under my own
       free will , with no. threats or promises •.

      2.   My current confinement is based upon a judgment that was imposed in viola-
      tion of eonst.i tutional Il.aw.s , ~tatutes, of the United .StatE,s anci Int' 1 'l'reatv
      Convention Against Torture; Constitutional violairions are: Fourteenth Amendment's
      due Process, fifth Amendment's deprivation of Liber.ty, Eigllh Amendments cruel
      and 1m11s·1::ial punishment, due to wi:-onqful incarceration. Statutory violations
      of, 18 u.s.c.s. 400l(a) which states: "No citizen shall be imprisoned, or
      otherwise detained by the United States except pursuant to an. act of Congress.
      Congress has forbidden -Non-•Statutory confinem~nt i.n federal Prison. (See,
      Lono v. Fenton, 581 F.2d 645 (7th Cir. June 7, 1978) Petitioner Roy M.
      Eelfast, Jr. Born 2/12/77 RE:g. No. 76556-004, is a citizen of the United St2tes
      and meets th,3 standinq requirement tmder 18 u.s.c.s. 400l(a). StabJe 5 U.S.C.
      §702 Administrative Procedures .Act, by the legal wrong having been committed
      and/or continuation of legal wrong against -petitioner. Legal wrong, for p
      purposes of 5 u.s.c.s. §i02, means invasion of legally protected right.
      Penns¥lvania R. Co. v. Dilli9!!_ £1964 App. D.C. 257• as •..;ell as Stattue 42
      u.s.c. $1983.
           Purther confinement would be in violation of 18 u.s.c. $241 conspiracy
     to -<ziolate my civil rights, regarding all relevant narties have been given
      notice of said Constitutional, Statutory and Civil Rights violations, and
      failure in their official capacity to act as deem2d by Congress.

      3.   Justice Department, Bur2au of Prisons are in violation of 18 u.s.c. $
      §400l(a}, 5U.S.C.   §'702 Ad:ninistrative Procedures Act, 14.th fu"t>endment, 5th
       Amendment, 8th Amendment. Petitioner's P.S.R. relating to the facts of con-
       viction ( pages 1-19) is void of and fails to state that petitioner conspir,~d
       with U. s. Nationals or those found in 'the United States as require6 by Stature
       Jurisdictional Section as =n-~cted by Congress (See Attachment) §2340A(b). The
      ·B~·o-;p .·, Justice-··Department~ -lack tne··-statotory-authority,·enforce:nerrt-anthor:i:ty;
       to continue execution of sentence: and oresent custody over the oetitioner based
       upon: Statutory Standing, Statutory violations, Constitutional violations,
       factual innocence, and legal innocence.



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           4.    Indictment fails to state that i:>etitioner conspired 1.1ith U.S. Nation,3ls or
j          "Persons II based uoon the r'ourteent:. Amendment I s due process analysis. The. indictment
                                         e,-
) · _· - ·r8mes · Jb&~cnitJ1rnidfs · •g-, ·®'J ,:+ie·~@ati ·n· s- -· w Mtil'\llij--- Wtilti?AHemSi' M1-&-ti@ .• ..,- --· •... ;; . . _ ... ····- ..
           "minimum contact" with the United States, or w-:10 1 s alleged actton had a "direct·----
j
           effect" uoon the United States of Amer.lea, who at the time ',vere all Liberian officials
f          twno-were)-·:tl1st.ruments of the Stat2; ·                                       -------- - --         . . - ---·-·- ----··--

             Co-conspirator B -E€njamin Yeatin at the time of the indictment was head of the
        Si)ecial Security Services resoonsible for protecting Liberia's dully· elected P!:esic1ent.

               Co:;cqns9irator C -E'rmr President Charles Taylor (Petitioner's Father) at th::::
        ti,ile of indictment, was Consti tutionall.y Mandatc.d, Democratically elected Preside.'1t
        of Lil:::eria.

             Co-consDira.tor D -David Comoare, at the time of the indic:trc(mt w&.s Officer of
        the A. T ..U. t ~i'1ich \ 1a.s tasked \'1i th protectin1 t11,2 :11.1lly i:?,l•=cted. P;~esident.
                                   4




             Sa.id allegations in indictment (See: D,E. 257, 11/7/07) an~ in clear violation
       of the Foreign Sovereign Immunity A.ct of 1976.    "Sole basis .for ob.taining jurisdic-
       tion over foreign state in co1Jrts of United States is provided by F. S. I. A. of 19 76
       (28 u.s.c.s. § 1330, § 1602 et seq.) ou:::-suant to F'oretgn Soverei9n Immunity Act.
       Foreign State is presur.1tively immune from jurisdiction of U.S. courts; unless
       specific exception applies, E'ederal Court tasks subject matter jurisdiction over
      CL'lirn against Foreign .State. Saudi Arabia v. Nelson, (1993 U.S.} 123 L.Ed.2d 47,
      113 S.Ct. 1471. Under Section28U.S.C.S. § 1330(a}, th':! jurisdictional statute
      corresponding to the F.S.I.A., Federal District Court's are vesb?d with st:bje::::t
      matter jurisdiction if a Forei.gn State i.s "not entitled to immunity, either under
      Sections 1605-1607 of F.S.I.A. or under any applicable international agreement."
      28 u.s.c.s. §1330~a). Conversely, if none of the excer;,tions to Sovereil?!l Immunity
      set forth in the E' .s. I. A. applies, the district court lac,~s statutory s1.io~ect rnatter-
      jurisdiction, 4 Verlinden, 103 s.ct. at 1969; see also: Amerada Hess, 109 s.ct. at
      692. A "Foreign State" ... includes a political subdivision of a foreign state or an
      agency or instrumentality of a. fo-reign state as defined in subsection (b). A foreign
      state or it's instrumentality; is not a "i;i'3rson" for the purposes of a constitutional
      due process analysis, (See: Weltover, 504 U.S. at 619, 112 S.ct. 2160)("<'lssuminq,
      without deciding, that a foreign state is a ''person" for r::>urposes of the due procesa
      clause" but citing South Garol,.ina v.Katzenback, 383                           u.s.   301, 323-324,          86   s.ct.   803,
      15 L.Ed.2d 769 (finding states ofthe Union are not "persons" for the puroose of the
      due process clause.).




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                    To determine whether the exercise of in oersonam jurisdiciton is consistant
             vii th due process, the defendant normally must have "certain minimum contact" with
 :l           [ the forum] such that the main tai'1.ance of the suit does not of fond tradi donal
   L: ·· ··· ;,~;g ur·F&~t_;egri-~~~li~:!Miiiid;Jt-1 ····· ·· lritkl#&hea Oi:iat· · WMairlgtb':J.,,.....==-,-""·---""-""'-;;,,-;,.,.
             326 u.s. 310, 316, 66 s.ct. 15'4, I9TI L:re:-9s (1945). Wfien the court's                           --···---
              j~risdiction rests on the presence of the foreign sovereign, however, the court
 {· --
  ;          rna-y--add°re"S"s~ i·ssue ·-independently;-- See:- -Ver-1:±nden-·B.V·.-v. ·· centra:l:··Banlt· or ·
             Nigeria, 461 u.s. 480, 493 n.20, 103 s.ct. 1962, 1971 no. 20, 76 L.Ed.2d 81 (1983).
             See also: Coleman v. Alcolac, Inc., 888 F. Supp 1388, 1400 (S.D.TX. 1995). "The
             district court must address the issue of sovereign immunity, even if ••• the foreign
             state has not even entered an aooearar.ce to asser-t the immunity defense". As the
             Supreme Court has explained 11 the subject-matter-jurisdiction of the lower feder2l
            ccurt is det8rminea \)y Conaress in the e:<act degrees and character which to
            congress may seem proper for the 9ublic good, see: Argentine Republic v. Amerad~
            Hess Shipping Corp., 488 u.s. 428-433, 102 L.Ed.2d 81B, 109 s.ct. 683. F.S.I.A.
 r
            gra.nts   immun.i. ty to foreign sovereigns from criminal pros·ecution, absent an Int' 1
 I          a1reement stating otherwise (See: Keller v. Central aank of Nigeria, 277 F.3d 811
         (6th Cir. Jan 16, 2002).

         5.   §2340A(c) was misapplied against petitioner, and in violation of the Int'l
         agreement convention Against Torture. The Statute ,~as intended to meet America'~
         treaty obligation, each state has to 2.nforce agreement within it's sovereign borders
         and it's citizens of that State, not against Foreign Officials against acts, that
         were alleged in it's own territorial jurisdiction. The indictment state.s all
         all,~ations tal(.e place in Liberia a sovereign state.

               Tne Gov I t attrial provided no evic.ence that oetitioner cons0ired wi.th U.s.
         r-Iationals or "Persons," that meet the due process clause analysis. Government
         provided at trial, that Liberian Government wa.s fighting for its existence; As
         such the victims detention alleged in the indictment was predicated on the arrest
         of persons, whom the Gov't believed posed a threat to the security of the Nation,
         making all action under the indictment governmental, in violation of "Act Of State
        Doctrine.    11




                   The "Act Of State Doctrine," which was developed by the Supreme Court on its
             o,m authority, as a principle of judicial restraint, essentially to avoid disrespect
             for foreign states, "to permit the validity of the acts of one sovereign state to
             be re-examined, and perhaps. condemned by the courts of another would very certainly
             11
                imperil the amicable relation.<: between governments and vex the peace of nation.s. ''
             (See: Detjen v. Central Leather co., 246 U.S. 297, 304, 38 s.ct. 309, 311, 62
             L.F,d. 726 (1918). ('thus the doctrine is related in spirit to the rules of Int'l law
             that accord to foreign sovereigns large immunity from adjudication in domestic
            courts, absebt statutory except.icns, by the legislative branch. In Sabbatino, th~
            court said: "That the '~ct Of State Doctrine I is comoelled neither by int 1 1 law not
            by Constitution but that it has •constitutional underpinnings,' 376 U.S. at 423,
            84 S.Ct. at 937. 'The court said: that ''The act of state doctrine, addressing an
             'issue concerned with a basic chcice regarding the competence "'.nci function of the
            judiciary, and the National Executive in ordering our relationships with other
, ......... rne~~rc:i.2f... ~h-~ ~..!..'..l Community mu.st be treated exclusively as an aspect of federal
.           La;,,," 376 U.S. at 425~-srs:c"t:: at "9]8~ '"I! L~re:·2a:·at 822 •. The-1mrnunity··of·· a - ..
            state from the jurisdiction of the courts of another state is an undisputed principle
            of customary Int'l Law. in the Schooner Exchange, Chief Justice Marshall said that
            imuni ty was rooted in the "perfect eEJUali ty and ab.solute independence of sovereign"
            (See: '!be Schooner Exchange II U.S. (7 cranch) 116, 137, 3 L.F.d. 287 (1812).

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J ................
               . . .. ·•
                                                                                       --
                                                                                        CERTIFICATE OF NOTARY·
                           .........,,.._ •• ~········.. ···•·> ._.,.,._ • .,

                       I, Roy M. Belfast, Jr., Reg. N-:: 76556-004,
                                                                                .......... -~,;.:..:;;; ......... ,.,--. •· . .

                                                                                                                                   ·~;~s~~~~;;;r;;,:-s:12:-~:.,··"-·"' ."-.. ·_·•·___
J---·-~JarARY ..EUBLIC" _hereby state.<. declare_ and_ sw~ar                                                                       ~~-~~--~~~- f_a~t1.~~~ ..~:'-~_rrnents in
              the foregoing affidavit are tnie 2.nd correct to the best of my knowledge, and
              that I, Roy M. Belfast, Jr. , am indeed the signee of this document.                                                                                All done,
              stated, declared and sworn under penalty of perjt1ry, 28                                                                        u.s.c.    §1746 •


                                                                                                                           .Respectfully submitted,


                                                                                                                     /sf          g1 &f:;!4
                                                                                                                  BY: ROY ~- BELPiST,    JR,
                                                                                                                                                                   ..   I    l,




                                                                                                                            REG, NO, 76556-004
                                                                                                                            U,S.P. BIG SANDY
                                                                                                                            P.O.BOX 2068
                                                                                                                            INEZ, KY 41224
                                                                                                                            AFfIANT, PRO-SE




                                                                                                                             N RY SIGNATURE                                 /Da
              NOTARY SEAL
                                                                                                                             ~ C.C'ltr11->- ~
                                                                                                                                                               7~9 //7




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     'J:t'.!e I indictment and testimony durbg trial, establishes clear uncontrovertible
 facts: 1) Liberia is a Republic and not a territory or annexation of the United
                                        .   ~--   "   ... •:
 ttie--courts and Iu t 1 Co:11111rn1i L~· • h'hici I means, the action.~
                          1

 mentalitiesWJof the State, and citinzenry only fall under the purview and
.jurisdiction of the __ sovru:.eign.....s.:tat.e.a_cot.1rt: Ab.$_~DL any _exceptions met \..~~c!~s__~§. -· .... -······-·•--· -··
 "Act Of State Doctrine and F.S.I.i\.," the district court lacks statutory. standing
 a:,d B.O.P., as well as Justi~e Department lacks statutory authority to enforce,
 (in violation of 18 u.s.c. §4001(a)).                 2) Thrm1gh testimony at trial i-: was ,
 established that the constitutionally mandated Government at the time of indictment
 President Charles Taylor ha.cl cl•~arly established diplomatic relations wi t'1 the
U.S. Govemmen t. 3) As proven b'( the Government , the liber;ucm Government,
disoat.thed government forces to Lofa County in Libaria, as stat,~d in the trial,
to r-esoond to an "act of war" by a group of rebels, against its government and
people. Throtigh the charging instrument handed down by the grand jury, and
testimony at trial establishes, 'the nroof of 11 act of state doctrine" is clearly
Proven, which dictates, a showL1g be made that "A constit1.1tional Amendment, Statute,
Decree, and Proclamations, and in certain circl1mstances to ohysical acts, SllCh as
occupation of an estate 'oY th? St;ate's Armed Forces in ai;,pltc;ation of state policy.
Also, an official pronouncement by a foreign government describing a certain act
as governmental is ordinarily conclusive evidence of its official character. :r:t
is established fact by the indictment and test:brnony at trial that co-consr,irators
B, C, D, were all government officials and instn,mental.ities of the State, operating
in official capacity.

6. The jury instructions in pethioner's trial, failed to put :or.th for jury
deterwination on whether co-conspirators B, C, D, were U.S. Nationals or were
founc in the U.S.P,., based upon §2340ll(b) j1.1risdictional section. The jury
instructions contained the term "Persons" (See: page 4, 5 of jury instn1ction,
10/30/2008, D.E. 580), which re•,pxLres persons be citizens and resident aliens, for
certa1n d1.1e "9rocess analysis having certain minimum contacts. I\JOTICE LS HEREBY
GIVEN to all relevant Justice Dem1.rtment Officials (i.e., Attorney general Eric
Holder) failure to controvert all factpal averment.s stated in paragraphs one
through six, with sworn affidavit or documentary evidence from the record, will be
accepted by said parties above to admittance to said averments.

ALL OONE, DECLARED, AND EXECUTED THIS q   DAY OF fvll\11::-~1          , 2014
UNDER PENALTY OF PERJURY 28 U.S.C. §17W.--      _ _.........___~------


                                                                    Respectfully Submitted,



                                                               /s/Roy¾.           ~1
                                                                    Reg. No. 76556-004
                                                                    U.S.P. Big Sandy
                                                                    P.O.P.OX 2068
                                                                           ·~-41-"4- ...
                                        ....... ··-- ---·-· ·- -··-·-±Fl-&'a-;-
                                                                    AFFIANT, Pro-Se



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                                                      DECLARATION Of FACI'UAL AVERMENTS
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  t::tt;-...;.




 1
·•
                                               ~   SS: AFFIDAVIT OF ROY M. BELFAST, JR.
                       COUNT'{ OF INEZ·-----)      ------ -     ---------------------   --- -- ----- ··---- -


· r


                       KNOW ALL PERSONS BY THESE FACTS


                             I Roy M. Belfast Jr,, Reg. No. 76555-004, D.O.B. 2/12/77, incarcer-ated
                       .in U.S.P. Big Sandy, presently appearing bef::ir.e Not.:,ry Pt1:)lic, hereby sw-2ar,
                       declar"" i..:nC'.")T. oenalty of 1:n,~jur.y, 2!3      u.s.c.      §1746, the follcwir.q:

                       L     I am over th'i'! legal age of 21, and the facts herein are true and correct
                       to foe be.st of ,:is, knowlcdqe, :3one by me knowingly, intelligently, under my own.
                       fr.Ee will, with no threats or- promises •.

                       2.   My current confinement is based upon a judgment that was impos,~ in vtola-
                       tion of '.:'.ontti tutional !Laws,. Statutes, of the Uni t,~d Stab,~s and Int' 1 Treaty
                       Convention Against Torture; Constitutional violaHons are: Fourteenth Arnen1ment's
                       due Process, E'ifth Amendment• s deprivation of Liberty, Eigl11,"1 Amendments cruel
                       and unus-qal punishment, due to wrongful incarceration. Statutory violations
                       of, 18 u ..s.c.s. 400l(a) which .states: "No citizen shall be imprisoned, or
                       otherwiss detained by the United States except pursuant to an act of Congress,
                       Congress has forbidden -Non--Statuto.ry confinement j_n Federa.l Prison. (See,
                       Lono v. Fenton, 581 E-'.2d 645 (7th Cir. June 7, 1978) Petitioner Roy M.
                       Belfast, Jr. Born 2/12/77 Reg. No. 76556-004, is a citizen of the United States
                       and meets the standing requirement Wlder 18 U.s.c.s. 400l(a). Statue 5 u.s.c.
                       §702 Administrative Procedures Act, by the legal wrong having been committed
                       and/or continuation of legal wrong against petitioner. Legal wrong, for')
                       purooses of 5 u.s.c.s. §702, neans invasion of leqally protected right.
                       Pennsylvania R. Co. v. Dillion £1964 App. D.C. 257• as well as Stattue 42
                       u.s.c.   $1983.

                            furth~r confinement would be in violation of 18 u.s.c. $241 conspiracy
                     to ~iolate my civil rights , regarding all relevant narties have been given
                       notice of said Constitutional, Statutory and Civil Rights violations, and
                       failure in th(eir official capacity to act as deem,:d by Congress •

                      .:;.   Justice Department, Bur:::au of Prisons are in violation of 18 u.s.c ..$
                      §400l(a), su.s.c.         §702 Administrative Procedures Act, 14th 8;}endment, 5th
                      Amendment, 8th 1'111endment. P~titioner's P.S.R. relc:ting to the fa-:::ts of con-
                      viction (pages 1-19) is void of and fails to state that petitioner conspir;:id
                      with U.s. Nationals or tho,se found in the United States as required by Statu-:e
                      Jurisdictional Section as ,:::nacte6 by Congress (See Attachment) §231:0A(b). The
                      B.o~-~~-;- .Justice ·Elepartment~-·-t-ack·th:e·statutory-authority1 -enforcemerrt-authortty;
                      to continue execution of sentence and !')resent custody over the petitioner based
                      upon: Statutory Standing, Statutory violations, Constitutional violations,
                      factual innoc.ence, and legal innocence.




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        4.    Indict;nent fails to state that ~titiorier conspired 1,1ith U.S. Nationals or
        "Persons II based upon the fourteenth Amendment's due process ar1alysis. ·rhe indict.merit
                       •            I                                           .
                                                                                   - ...... ~, _,......... ' . -. ---- ....-.... ,- -- ..
                                                                                                                 ~            '                     .
                                                                                                                                            .,. ,.,., ,.   ',-- ...... -

        "minimum contact" with the United Sta.tes, or w:--io's alleged acnon had a " : ' l ~
I       effect" upon the United States of America, who at the time we-re all Liberian officials
f-   · -- (who·,;;;rere-i-··!1'1struments-··of··the· State;···                       ···--- --·------·- ·                  . --·--·---

              Co-conspfr2tor B -Eenja.min Yeatin at the t.imf1 of the indictment was head of the
        St;ecial Security Services res?<)nsible for orotecting Libecia I s dully" elected P~::esiclent.

            Co.:;co_nsoirator C -Frmr !?resident Charles Taylor (Petitioner's Father) at th3
       time of indictment, was Constitutionally Mandated, Dernocr3ticall'.I electec PresidE!nt
       of Liberia.

             Co-conspirator D -David Compare, .=:,t the time of t'.1e indictrn,:mt wa.s Officer o:.:
       the JI.. T .u. , which was tasked with protectinr; t\Y; :h;ll y el-::cted ?resident.

              Said allegations in indictment (See: D.E. 257, 11/7/07) are in clear v.iolatio1.1
       of the ·Foreign Sovereign Immunity Act of 1976. "Sole basis for obtaining jurisd:.c-
       tion over foreiqn state in courts of United States is provided by P.S.I.A. of 1q'i6
       (28 u.s.c.s. § 1330, § 1602 et seq.) pu:c:suant to Foreign Sovereiqn Immunity Act.
      Fot8ign State is presumtively immune from jurtsdiction of U.S. courts; unless
      specific exception appUes, Federal Cou"!:'t tasks subject matter jurisdiction over
      claim against Fo-ceign State. Saudi Arabia v. Nelson, (1993 U.S.) 123 L.Ed.2d 47.,
      113 s.ct. 1471. Under Section 2su:s.c.s. § 1330(a), the jurisaictional statute
      corresponding to the F.S.I.A., Federal District Cou.rt's are vested with subject
      matter jurisdiction if a Foreign State is "not en.titled to immunity, either unde1~
      Sections 1605-1607 of P.S.I.A. or 11nder any applicable international agreement."
      28 O.s.c.s. §1330fo). Conversely, if none of the exceptions to Sovereign Irnrnunity
      s~t forth in the P. S. I..~. applies, the district court lacks statutory subject rnattei~
      j1.1r.i.sdiction, 4 Verlinden, 103 s.ct. at 1969; see also; Amerada Hess, 109 s.ct. at
      692. A "Foreign State" ••• includes a political subdivision.of a foreign state or an
      agency or instrumentality of <:!. foreign state as defined in s:Jbsection (bl. ."A. foreign
      state or it 1 s instrumentality; is not a "n~rson" for the pt;rposes of a constitut:Lonai
      due process analysis, (See: Weltover, 504 U.S. at 619, 112 S.Ct. 2160)("assuming,
      without deciding, that a foreign state is a "person" for purposes of the due process
      clause" but citing south Carolin~ v. Katzenback, 383 u~s. 301, 323-324, 86 s.ct. 803,
      15 L.Fd..2d 769 (fif'\ding states of the Union are not "p€rsons" for the purnose of the
      due process clause.).




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       To determine whether the exercise of in oorsonam jurisdiciton is consistant
  with due process, the defendant normally must have "certain minimum contact" with
  [the forum] such that the maintainance of the suit does not offend traditional
 .~~~~:e;~~~1J:aJ~r:·J:~·:·~~•i•:s~;~·J {-~9tr J;·•:w:~ -: : ;:r:~r,z§rj~=:=:-                   T-==
   jurisdiction rests on the presence of the foreign sovereign, however, the court
  mayaad:ress--tt'i~-· ts-sue ·trr~pendently.--See-: Verlinden-B.V.-v-.- Central- Bank -0£
  Nigeria, 461 u.s. 480, 493 n.20, 103 s.ct. 1962, 1971 no. 20, 76 L.Ed.2d 81 (1983).
  See also: Coleman v. Alcolac, Inc:., 888 F. Supp 1388, 1400 (S.D.TX, 1995). "The
  district court must address the issue of sovereign immunity, even if ... th•s foreign
  state lias not even entered an a'.)o;~arance to assert the immunity defense". As the
  Supreme Court has explained "th,~ subject-matt:er-jurisdiction of the lowe:- federal
  court is detf.:!rminea by Congress in the e:<ac:t degrees and character whic:h to
  conaress may seem proper for th:? public good, see: Argentine Republic v. Amer.ada
  Hess Shipping Corp., 488 u.s. 428.-433, 102 L.Ed.2d 818, 109 s.ct. 683. F.S.I.A.
  grants immunity to foreign sovereigns from criminal prosecution, absent an Int'l
  agreement stating otherwise (See: Keller v. Central B.ank of Nigem, 277 F.3d 811
  (6th Cir. Jan 16, 2002).

 5.   §2340A(c) was misapplied against petiti0ner, and- in violation of the Int'l
 agreement Convention Against Torture. The Statute was intended to meet llmerica's
 treaty obligation, each state h3,s to enforce agreement within it's sovereign borders
 and it 1 s ed. tizens of that State, not against Foreign Officials against acts, that
 were alleged in it's own territor:Lal jurisdiction. The indictment states all
 alleqations take place in Liberia a sovereign state.

       The Gov't at trial providei3 no evidence that petitioner conspired with U.S.
 11ationals or "Persons," that meet the due process clause analysis. Government
 provided at trial, th3t Liberian Government was fighting for its existence; As
 such the victims detention alleged in          theindictment was predicated on the arrest
 of persons, •.~ihom the Gov 1 t believi:!d. posed a threat to the security of the Nation,
 mal<ing all action under the indic-::ment governmental, in violation of "Act Of State
 Doctrine."

       The ''Act Of State Doctrine," which was developed by the Supreme Court on its
 own authodty, as a principle of :judicial restraint, essentially to avoid disrespect
 for foreign states, 11 to permit th!~ validity of the acts of one sovereign state to
 be re-examined, and perh~ps condemned by the courts of another would very certainly
 11
    imperil the amicable relations between governments and vex the peace of nations."
 {See: Detjen v. Central Leather co., 246 u.s. 297, 304, 38 s.ct. 309, 311, 62
 L.Fd. 726 (1918). (Thus the doctr:Lne is related in spirit to the rules of Int 1 l law
 that accord to foreign sovereigns large immunity from adjudication in domestic
 courts, absebt statutory exceptions, by the legislative 'oranch. In Sabbatino, th~
 court said: 11 That the 'act Of Sta-ce Doctrine• is compelled neither by int'l law nor
 by Constitution but that it has I constitutional underr;iinnings, ' 376 U.s. at· 423 1
 84 s.ct. at 937. The court said: that '''I'he act of state doctrine, fl,ddre.ssing an
 'issue concerned with a basic choice regarding the co.np~tence a:,d function of the
 judiciai:-y, and the National Executive in orderinq our relationships with other
members of the Int'l Community must be treated exclusively as an aspect of federal
--La;,~;; 375-u.s.· at--425,-----84 s.ct:-·at
                                     9JB;- ·rr·L.ra:1a•at·822·;· ·"Tne-i'miiiunity.. or·~r--·
state from the jurisdiction of the courts of another state is an undisouted principle
of customary Int 1 l Law. in the Schooner Exchange, Chief Justice Marshall said that
immunity was rooted in the "perfect e~ali ty and absolute independence of soven~ign '
(See: the Schoonet' Exchange II U.S. (7 eranch} 116, 137, 3 L.Ed. 287 (1812).


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             TI:!e: indictment and testimony during trial, establishes clear uncontrovertible
         facts: 1) Liberia is a Republic and not a territory or annexation of the United

-----me courts and Iu t 11 eo111111u1ri ly, -which means, the e:ctionei of ---i-ts---1                                   --·-------
       mentalitiesll('.'of the State, and citinzenry only fall under the purview and
     .. ~ur:isdiction ...of ... the . .smzei::e.ign_ .st.ates court: ____ Absent _2.ny e){Ceoti.9nsi__ met .. under_ .the __
J       "Act Of State Doctrine and F.S.I.i\.," the district court lacks statutory. standing·
       a'1d B.O.P., as well as J1..1sthze Department lacks statutory authority to enforce,
        (i.r; violation of 18 U.S.C. §400l(a)).                  2) Through testimonv at trial i':: was "
       established that the constitutionally mandated Government at tht:) time of indictment
       President Charles Taylor has clearly established diolomatic relations with the
      U.S. Government. 3) As proven by the Government, the liber;tan Government,
      disoakhed government forces to Lofa County in Liberia, as stated in the trial,
       to r:-esoond to an "act of war 11 by a grct1i;, of rebels, against its government and
      people. Tnrough the charging ins-c:rument handed down by the grand jury, and
      testimony at trial establishes, '-;:he proof of ~act of state doctrine" is ::learly
      proven, which dictates, a showing be made that ''A constitutional Amendme:-it, Statute,,
      Decree, and Proclamations, and in certain circumstances to ohys1.cal acts, svch as
     occt1pation of an esta,te by the ,5tate 's Ar~d Forces in ap!'.)ltcation of state policy.
      Also, an official 9ronouncernent b'.? a foreign government describing a certain act
     as governmental is ordinarily concl1.1sive evidence of its official character. H
     is established fact by the indictment and test~mony at trial that co-conspirators
     B, C, D, were all government officials and instn.1mentali tie.-=, of the State, ooera.ting
     in official capacity.

       6. The jury instructions in petitioner's trial, failed -:o put forth for jury
       determin3tion on whether co-conspirators B, C, D, were U.S. Nationals or were
       found in the U.S.~.. , based upon §2340A(bl jurisdictional section. The jt1ry
       instructions contained the term "Persons" (See: page 4, 5 of jury instruction,
       10/30/2008, D.E. 580), which re~uires persons be citizens and resident aliens, for
       certain d\.le orocess analysis ha-,,rinq certain minimum cont::icts. l'-KYI'ICE IS HEREBY
       GIVEN to all relevant Justice Department Officials (i.e., Attorney general Eric
       Holder) failure to controvert all factaal averments stated in paragn,ohs one
       through six, with sworn affidavit or documentary evidence from the record, will be
       acce~ted by said parties above to admittance to said averments.

       ALL OONE, DECLARED, /\ND EXECUTED 'I'HIS           _j__DAY            OF    {"[1,1,·c-k         , 2014
       lJNl)ER PENALTY OF PERJURY 28 U.S.C. §1746.


                                                                    Respectfully Submitted,


                                                              /s/Roy¾.        ~~
                                                                    Reg, No, 76556-004
                                                                    u.s.P. Big sandy
                                                                    P,O.EOX 2068
                                                      •· •·-· -·- ------Ine-a-,--IQ{--41-k24-
                                                                    AFrIANT, Pro-Se


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                                                           CE~TIFICATE OF NOTARY
                                                                                .
>···-•M••·"•' ~:     ~~~' -~~~: ~~i~ast~       ~;re.   I   Reg .~-46556-004,           pres~~~i;~~~n;rtZf:ZI:"·- -~---- -- =.......... ,
J____
_;
         --'.:NarARY. EUBLK'! _b,~reby state, declare ,:md swear that the factt1al averments in
                                                . --------·----·--------· ·----······ .... ····---···· ....• ·····-·-·-••--·--·-·-········"' ··-·-
          the foregoing affidavit are tnie: ,md correct to the best of my knowledge, and
          that I, Roy M. eel fast, Jr., am indeed the signee of thi.s document.                                           All done,
          stated, declared and sworn under penalty of perjury, 28                                   u.s.c.      §1746.

                                                                                Respectfully Submitted,

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 I                                                                         /sf
                                                                          BY: ROY.
                                                                                         &fd-4
                                                                                     got BEL~T,           JR.
                                                                                 REG, NO. 76556-004
                                                                                 o.s.P. BIG S.?,,NDY
                                                                                 P.o.rox 2068
                                                                                 INEZ, KY 41224
                                                                                 P.FF!Am', PRO-SE




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         ~---------------
          NCYI'ARY SEAL                                                          N     RY SIGNATURE
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   Roy M. Belfast, Jr.
   Reg. No. 76556-004
   U.S.P. Big Sandy
   P.O.BOX 2068
   Inez, KY 41224


  ATI'N: Wilfredo Ferrer, U.S. Attorney
  Southern District of Florida




  RE:   USA V. ROY BELFAST, JR
        CRIM. CASE NO. 1-: 06-cr-207:58-CM.A-l


  Dear Mr. Ferrer:

       My name is Roy M. Belfast, Jr., the Defendant in the above referenced
  cause. I was prosecuted in the Southern District of Florida back in 2008,
  my case is one of first instance, w1der Title 18 u.s.c. §§2340(A) (C), 2340(A),
  carried out under your predessessor Frmr. U.S.A. Alex Acosta executed under
  the following atton1eys: Christopher Graveline Formerly of the National
  Security Division, A.U.S.A.'s of the Southern District of Florida Karen Rochlin,
  and Caroline Heckmiller.

       I write you based upon two facts 1) You are the Lead Authority of all
  cases with the Southern District of Florida, with two of the Lawyers falling
  under your supervisory authority, 2) Your inherent authority to review,
  investigate, (as well° as other powers afforded by the Justice Department
  and Congress) regarding case's within your District, inconjunction with your
  Statutory Fudiciaryduties, not to mention moral obligation to report crimes
  once discovered to be true and correct.

       At present my conviction is in violation of Title 5 u.s.c. §702, and Title
  18 §§ 400l(A), 4042, at minimum:: Petitioner asserts far worse has taken place!,
  violations of Title 18 u.s.c. §§§ 241, 1001, 1623, fraud by ommission and/or
  misrepresentation in Agency documents (i.e. Prosecution Memorandum, Case
  Initiation Report, Supporting Affidavits) and/or Grand Jury.

      Sir, your prosecutors along with other co-conspirators charged me under
 a criminal statute, that they knew prior to a grand jury indictment,
 lacked "Statutory Standing." 'Iheir superior knowledge of the facts or the
 case, before the case initiation underscores, intent, their prior knowledge
 of the Constitution, Laws, and 'lreatises of the U.S.A., provide them the unique
 ability to mask their crimes, thru-out critical stages of the criminal proceedings.
 The collusion and criminal action is far reaching, but clearly evident, the
 District Court of Cecilia Altonaga, intelligibly knew the indictment upon it's
 face deprived her Courtrrom of ARTICLE III, SECTION 2, CLAUSE 1 (Subject-Matter-
 Jurisdiction) •




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        The facts proving prosecutors lacked statutroy standing is contained in
   Affidavit/Factual Averments. Mr. Ferrer, I officially request that upon
   confirmation of this NOTICE/LETI'ER, and review of case, all crimes be rer;:,orted
   based upon your moral and ethical duties, but more importantly, according
   to Statute 28 u.s.c. § 535(b), failure to do so would be a violation of 18
   v.s.c. §§ 2 and 4.
        This letter will be presented in any future investigation to any oversight
   body in the Executive Branch, and/or Congressional Judiciary Committee in House
   and Senate or Sub-Committee's, as well as any investigative News Agencies.
   Petitioner further requests acknowledgement of said letter and course of
   action your office will take based upon the information, and allegations
   contained in letter, within thirty (30) days of receipt. Petitioner further
   requests that nay mail be sent via official legal mail process [Labeled
   Legal-confidential Mial Open In '!he Presence Of Inmate], and which requires
   inmate's signature upon receipt of letter from the Government.
        Thank you for your attention into this ve,ry important matter.


                                                Sincerely Yours,




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                                        169 LED2D 445, GALL v UNITED STATES

                                                BRIAN MICHAEL GALL, Petitioner
                                                             vs.
                                                       UNITED ST ATES

                552 US 38, 128 S Ct 586., 169 L Ed 2d 445, 2007 US LEXIS 13083

                                                                     [No. 06-7949]

                                                           Argued October 2, 2007.

                                                        Decided December 10, 2007.


                                                                      DECISION

       f e<lcral Courts of Appeals held required to review all federal criminal sentences-whether
   inside, just outside, or significantly outside Federal Sentencing Guidelines (18 U.S.C.S. Appx.)
   range-under deferential abuse-of-discretion standard.

        Prior histmy: 446 F.3d 884, 2006 U.S. App. LEXIS 11758

                                                                     SU:WMARY




       Procedural posture: Petitioner, an individual who pied guilty to conspiracy to distribute a
   mixture and substance containing methylenedioxymcthamphetaminc (ecstasy), sought certiorari
   review of a judgment from the United States Court of Appeals for the Eighth Circuit, which
   reversed and remanded the district court's decision to sentence petitioner to probation for a term
   of36 months rather than imprisonment.

       Overview: Petitioner joined an ongoing enterprise distributing ecstasy while in college, but he
   \Vithdrew from the conspiracy after seven months and ceased all drug activity. Three and one-half
   years after withdrawing from the conspiracy, petitioner pied guilty to his participation. The court
   of appeals characterized the diftcrcnce between the sentence of probation and the bottom of
   petitioner's advisory Guidelines range of 30 months as "extraordinary," and it held that the

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   variance was not supported by extraordinary circumstances. Although the Court agreed that tlw
   court of appeals could take the degree of variance into account and consider the extent of a
   dc:viation from the Guidelines, the Comt held that the court of appeals erred in requiring
   ''extraordinary" circumstances. The court of appeals' rule requiring "proportional" justifications
   for departures was not consistent with Booker. Under the deferential abuse-of-discretion
   standard that applied to review of sent•~ncing decisions, the Court found that the court of appeals
   failed to give due deference to the district court's reasoned and reasonable decision that the 18
   U.S.C.S. § 3553(a) factors justified the sentence of probation.<'"pg. 446>

      Outcome: The Court reversed the judgment of the court of appeals. 7-2 decision; 2
   concurrences; 2 dissents.

                                                        RESEARCH REFERENCES

        18 U.S.C.S. Appx., Sentencing Guidelines for the United States Courts

        26 Moore's federal Practice§§ 632.20, 632.40 (Matthew Bender 3d ed.)

        L Ed Digest, Appeal § 1379

        L Ed Index, Sentencing Guidelines

                                                     ANN OTA TrON REFERENCES

      Rule of Apprendi v. New Jersey (2000) 530 U.S. 466, 147 L. Ed. 2d 435, 120 S. Ct. 2348,
  an<l its progeny, as to proof of facts necessary to support criminal sentence-Supreme Court cases.
  160 L Ed. 2d 1163.

                                                                    HEAD NOTES
                                 Classified to U.S. Supreme Court Digest, Lawyers' Edition

  Sentence - review - abuse of discretion
                                                      L Ed Digest: Appeal§ 1379

      l. \Vhile the extent of the difference between a particular sentence and the recommended
  Guidelines range is surely relevant, appellate courts must review all sentences-whether inside, just
  outside, or significantly outside the Guidelines range-under a deferential abuse-of-discretion
  standard. (Stevens, J., joined by Roberts, Ch. J., and Scalia, Kennedy, Souter, Ginsburg, and
  Breyer, JJ.)

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   Federal Sentencing Guidelines - advisory nature - review - abuse of discretion

                                    L Ed Digest: Appeal§ 1379; Criminal Law§ 69

      2. In Booker, the United States Supreme Court invalidates both the statutory provision, 18
  U.S.C.S. § 3553(h)(l), which made the Sentencing Guidelines mandatory, and 18 U.S.C.S. §
  3742(c), which directed appellate courts to apply a de novo standard ofreview to departures from
  the Guidelines. As a result of the Supreme Court's decision, the Guidelines are now advisory, and
  appellate review of sentencing decisions is limited to determining whether they are "reasonable."
  The Supreme Court's explanation of "reasonableness" review in the Booker opinion makes it
  pcllucidly clear that the familiar abuse-of-discretion standard of review now applies to appellate
  review of sentencing decisions. It is also clear that a district judge must give serious
  consideration to the extent of any departure from the Guidelines and must explain his conclusion
  that an unusually lenient or an unusually harsh sentence is appropriate in a particular case with
  sufficient justifications. For even though the Guidelines arc advisory rather than mandatory, they
  are, as the Supreme Court pointed out in Rita, the product of careful study hased on extensive
  empirical evidence derived from the review of thousands of individual sentencing dccismns.
  (Stevens, J., joined by Roberts, Ch. J., and Scalia, Kennedy, Souter, Ginsburg, and Breyer, JJ.)

   Reasonableness of sentence - appellate review

                                                      L Ed Digest: Appeal § 1379

      3. In reviewing the reasonableness of a sentence outside the Guidelines range, appellate courts
  may take the degree of variance into account and consider the extent of a deviation from the
  Guidelines. The United States Suprcm~ Court rejects, however, an appellate rule that requires
  "extraordinary" circumstances to justify a sentence outside the Guidelines range. The Supreme
  Court also rejects the use of a rigid mathematical formula that uses the percentage of a departure
  as the standard for detennining the strength of the justifications required for a specific sentence.
  The rejected approaches come too close to creating an impermissible presumption of
  unreasonableness for sentences outside the Guidelines range. The mathematical approach also
  suffers from infirmities of application. (Stevens, J., joined by Roberts, <*pg. 447> Ch. J., and
  Scalia, Kennedy, Souter, Ginsburg, and Breyer, JJ.)

  Probation - conditions

                                                   L Ed Digest: Criminal Law§ 97




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        4. While custodial sentences are qualitatively more severe than probationary sentences of
   equivalent terms, offenders on probation are nonetheless subject to sewral ~tandard conditions
   that substantially restrict their liberty. Probationers may not leave the judicial district, move, or
   change jobs without notifying, and in some cases receiving permission from, their probation
   officer or the court. They must report regularly to their probation officer, permit unannounced
   visits to their homes, refrain from associating with any person convicted of a felony, and refrain
   from excessive drinking. U.S. Sentencing Guidelines Manual§ 5B 1.3. Most probationers are
   also subject to individual "special conditions" imposed by the court. (Stevens, J., joined by
   Roberts, Ch. J., and Scalia, Kennedy, Souter, Ginsburg, and Breyer, JJ.)

   Sentence - review - abuse of discretion

                                                      L Ed Digest: Appeal § 1379

      5. Both the exceptional circumstances requirement for justifying a sentence outside the
  Guidelines range and the rigid mathematical formulation that uses the percentage of a departure as
  the standard for determining the strength of the justifications required for a specific sentence
  reflect a practice-common among courts that have adopted "proportional review"-of applying a
  heightened standard of review to sentences outside the Guidelines range. This is inconsistent with
  the rnle that the abuse-of-discretion standard of review applies to appellate review of all
  sentencing decisions-whether inside or outside the Guidelint!s range. (Stevens, J., joined by
  Roberts, Ch. J., and Scalia, Kennedy, Souter, Ginsburg, and Breyer, JJ.)

   Federal sentencing - proceedings - factors

                                                   L Ed Digest: Criminal Law§ 69

      6. As the United States Supreme Court explained in Rita, a district court should begin all
  sentencing proceedings by correctly calculating the applicable Guidelines range. As a matter of
  administration and to secure nationwide consistency, the Guidelines should be the starting point
  and the initial benchmark. The Guidelines are not the only consideration, however. Accordingly,
  after giving both parties an opportunity to argue for whatever sentence they deem appropriate, the
  district judge should then consider all of the 18 U.S.C.S. § 3553(a) factors to determine whether
  they suppoti the sentence requested by a party. In so doing, the district judge may not presume
  that the Guidelines range is reasonable. He must make an individualized assessment based on the
  facts presented. If he decides that an outside-Guidelines sentence is warranted, he must consider
  the extent of the deviation and ensure that the justification is sufliciently compelling to support the
  degree of the variance. The Supreme Court finds it uncontroversial that a major departure should


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   he supported by a more significant justification than a minor one. After settling on the
   appropriate sentence, the district judge must adequately explain the chosen sentence to allow tor
   meaningful appellate review and to promote the perception of fair sentencing. (Stevens, J., joined
   hy Roberts, Ch. J., and Scalia, Kennedy, Souter, Ginsburg, and Breyo;:r, JJ.)<*pg. 448>

   Federal sentencing - factors

                                                  L Ed Digest: Criminal Law§ 69

       7. 18 U.S.C. S. § 3553(a) lists seven factors that a sentencing court must consider. The first
   factor is a broad command to consider the nature and circumstances of the offense and the history
   and characteristics of the defendant. 18 U.S.C.S. § 3553(a)(l). The second factor requires the
   consideration of the general purposes of sentencing, including the need for the sentence imposed:
   (A) to reflect the seriousness of the offense, to promote respect for the law, and to provide just
   punishment for the offense; (B) to afford adequate deterrence to criminal conduct; (C) to protect
   the public from further crimes of the defendant: and (D) to provide the defendant with needed
   educational or vocational training, medical care, or other correctional treatment in the most
   effective manner. l 8 U.S.C.S. § 3553(a)(2). (Stevens, L joined by Roberts, Ch. J., and Scalia,
   Kennedy, Souter, Ginsburg, and Breyer, .IJ.)

   Federal sentencing - factors

                                                  L Ed Digest: Criminal Law§ 69

      8. 18 U.S.C.S. § 3553(a) lists seven factors that a sentencing court must consider. The third
  factor pertains to the kinds of sentences available, 18 U.S.C.S. § 3553(a)(3), the fourth to the
  Sentencing Guidelines, the fifth to any relevant policy statement issued by the Sentencing
  Commission, the sixth to the need to avoid unwarranted sentence disparities, 18 U.S.C.S. §
  3553(a)(6), and the seventh to the need to provide restitution to any victim, 18 U.S.C.S §
  3553(a)(7). Preceding this list is a general directive to impose a sentence sufficient, but not
  greater than necessary, to comply with the purposes of sentencing described in the second factor.
  18 V.S.C.S. § 3553(a). The fact that 18 U.S.C.S. § 3553(a) explicitly directs sentencing courts to
  consider the Guidelines supports the premise that district courts must begin their analysis with the
  Guidelines and remain cognizant of them throughout the sentencing process. (Stevens, J., joined
  by Roberts, Ch. J., and Scalia, Kennedy, Souter, Ginsburg, and Breyer, JJ.)

   Federal sentence - review - abuse of discretion

                                                     L Ed Digest: Appeal § 1379


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       9. Regardless of whether a sentence imposed is inside or outside the Guidelines range, an       ·,,,
   appellate court must review the sentence under an abusc-of:.discretion standard. It must first           .
   ensure that the district court committed no significant procedural enor, such as failing to calculate i
   (or improperly calculating) the Guidelines range, treating the Guidelines as mandatory, failing to /·
   consider the 18 U.S.C.S. § 3553(a) factors, selecting a sentence base~learl~ ~-~~~~.!a._c~s, \
   or failing to adequately explain the chosen scntence-includmg an explanation for any deviation                                                          .
   from the Guidelines range. (Stevens, J., joined by Roberts, Ch. J., and Scalia, Kennedy, Souter,                                                        1
   Ginsburg, and Breyer, JJ.)                                                        ·

   Federal sentence - review - abuse of discretion - presumptions

                                                L Ed Digest: Appeal§ 1289, 1379

       IO. Assuming that a district court's sentencing decision is procedurally sound, an appellate
  court should then consider the substantive n:asonableness of the sentence imposed under an
  ahuse-of-discretion standard. When conducting this review, the appellate court will take into
  account the totality of the circumstances, including the extent of any variance from the Guidelines
  range. If the sentence <*pg. 449> is within the Guidelines range, the appellate court may, but is
  not required to, apply a presumption of reasonableness. But if the sentence is outside the
  Guidelines range, the appellate court may not: apply a presumption of unreasonableness. It may
  consider the extent of the deviation, but must give due deference to the district court's decision
  that the 18 U.S.C.S. § 3553(a) factors, on a whole, justify the extent of the variance. The fact
  that the appellate court might reasonably have concluded that a difforent sentence was appropriate
  is insufficient to justify reversal of the district court. (Stevens, J., joined by Roberts, Ch. J., and
  Scalia, Ke1medy, Souter, Ginsburg, and Breyer, JJ.)

  Federal sentence - review - abuse of discretion

                                                     L Ed Digest: Appeal § 1379

       11. It has been uniform and constant in the federal judicial tradition for a sentencing judge to
  consider every convicted person as an tndividual and every case as a unique study in the human
  failings that sometimes mitigate, sometimes magnify, the crime and the punishment to ensue. The
  uniqueness of the individual case, however, does not change the deferential abuse-of-discretion
  standard of review that applies to all sentencing decisions. (Stevens, J., joined by Roberts, Ch. J.,
  and Scalia, Kennedy, Souter, Ginsburg, and Breyer, JJ.)

                                                                    SYLLABUS


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       Petitioner Gall joined an ongomg enterprise distributing the controlled substance "ecstasy"
   while in college, but withdrew from the conspiracy after seven months, has sold no illegal drugs
   since, and has used no illegal <*pg. 450> drugs and worked steadily since graduation. Three and
   half years after withdrawing from the conspiracy, Gall pleaded guilty to his participation. A
   presentence report recommended a sentence of 30 to 37 months in prison, but the District Court
   sentenced Gall to 36 months' probation, finding that probation reflected the seriousness of his
   oftense and that imprisonment was unnecessary because his voluntary withdrawal from the
   conspiracy and postotfonse conduct showed that he would not return to criminal behavior and
   was not a danger to society. The Eighth Circuit reversed on the ground that a sentence outside
   the Federal Sentencing Guidelines range must be-and was not in this case-supported by
   extraordinary circumstances.

   Held:

   I . While the extent of the diflerence between a particular sentence and the recommended
   Guidelines range is relevant, courts of appeals must review all sentences-whether inside, just
   outside, or significantly outside the Guidelines range-under a deferential abuse-of-discretion
   standard.


  (a) Because the Guidelines arc now advisory, appellate review of sentencing decisions is limited to
  determining whether they are "reasonable," United States v. Booker, 543 U.S. 220, 125 S. Ct.
  738, 160 L. Ed. 2d 621, and an abuse-of-discretion standard applies to appellate review of
  sentencing decisions. A district judge must consider the extent of any departure from the
  Guidelines and must explain the appropriateness of an unusually lenient or harsh sentence with
  sufficient justifications. An appellate court may take the degree of variance into account and
  consider the extent of a deviation from the Guidelines, but it may not requin: "extraordinary"
  circumstances or employ a rigid mathematical formula using a departure's percentage as the
  standard for detennining the strength of the justification required for a specific sentence. Such
  approaches come too close to creating an impermissible unreasonableness presumption for
  sentences outside the Guidelines range. The mathematical approach also suffers from infirmities
  of application. And both approaches reflect a practice of applying a heightened standard of
  review to sentences outside the Guidelines range, which is inconsistent with the rule that the
  abuse-of-discretion standard applies to appellate review of all sentencing decisions-whether inside
  or outside that range.


  (b) A district court should begin by correctly calculating the applicable Guidelines range. The
  Guidelines are the starting point and initial benchmark but are not the only consideration. After
  permitting both parties to argue for a particular sentence, the judge should consider all of 18

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   U.S.C. § 3353(a)'s factors to deterrnim: whether they support either party's proposal. Ht! may not
   presume that the Guidelines range is reasonable but must make an individualized assessment based
   on the facts presented. If he decides on an outside-the-Guidelines sentence, he must consider the
   extent of the deviation and ensure that the justification is sufticiently compe1ling to support the
   degree of variation. He must adequatdy explain the chosen sentence to allow for meaningfi1l
   appellate review and to promote the perception of fair sentencing. In reviewing the sentence, the
   appellate court must first ensure that the district court made no significant procedural errors and
   then consider the sentence's substantive <*pg. 451> reasonableness under an abuse-of-discretion
   standard, taking into account the totality of the circumstances, including the extent of a variance
   from the Guidelines range, but must give due deference to the district court's decision that the §
   3553(a) factors justify the variance. That the appellate court might have reasonably reached a
   diflerent conclusion does not justify reversal.

   2. On abuse-ot:discretion review, the Eighth Circuit failed to give due deference to the District
   Court's reasoned and reasonable sentencing decision. Since the District Court committed no
   procedural error, the only question for the Circuit was whether the sentence was reasonable, i.e.,,
   whether the District Judge abused lus discretion in determining that the§ 3553(a) factors
   supported the sentence and justified a substantial deviation from the Guidelines range. The
   Circuit gave virtually no deference to the District Court's Jecision that the variance was justified.
   The Circuit ckarly disagreed with the District Court's decision, but it was not for the Circuit to
   decide de novo whether the justification for a variance is sufficient or the sentence reasonable.

        446 F.3d 884, reversed.

     Stevens, J., delivered the opinion of the Court, in which Roberts, C. L and Scalia, Kennedy,
  Souter, Ginsburg, and Brt..:yer, JJ., joined. Scalia, J., and Souter, J., filed concuning opinions.
  Thomas, J., and Alito, J., filed dissenting opinions.

                                   APPEARANCES OF COUNSEL ARGUING CASE

  Jeffrey T. Green argued the cause for petitioner.

  J1ichael R. Dreeben argued the cause for respondent.

                                                                     OPINIO.'.'J



  Justice Stevens delivered the opinion of the Court.


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       In two cases argued on the same day last Tenn we considered the standard that courts of
   appeals should apply when reviewing the reasonableness of sentences imposed by district judges.
   The first, Rita v. United States, 551 U.S. 338, 127 S. Ct. 2456, 168 L. Ed. 2d 203 (2007),
   involved a sentence within the range recommended by the Federal Sentencing Guidelines; we held
   that when a district judge's discretionary decision in a particular case accords with the sentence
   the United States Sentencing Commission deems appropriate "in the mine run of cases," the court
   of appeals may presume that the sentence is reasonable. ld., at_, 127 S. Ct. 2456, 168 L. Ed. 2d
   203.

       The second case, Claiborne v. United States, involved a sentence below the range
   recommended by the Guidelines. and raised the converse question whether a court of appeals may
  apply a "proportionality test," and require that a sentence that constitutes a substantial variance
  from the Guidelines be justified by extraordinary circumstances. See Claiborne v. United States,
  549 U.S. 1016, 127 S. Ct. 551, 166 L. Ed. 2d 406 (2006). We did not have the opportunity to
  answer this question because the case was mooted by Claiborne's untimely death. Claiborne v.
  United States, 551 U.S. 87, 127 S. Ct. 2245, 167 L. Ed. 2d 1080 t2007) (per curiam). We
  granted certiorari in the case before us today in order to reach that question, left unanswered last
  Term. 551 U.S. 1113, 127 S. Ct. 2933, 168 L. Ed. 2d 261 (2007). We now hold that, [l} while
  the extent of the difference between a particular sentence and the recommended Guidelines range
  is surely relevant, courts of appeals must review all sentences-whether inside, just outside, or
  significantly <''<pg. 452> outside the Guidelines range-under a deferential abuse-of-discretion
  standard. We also hold that the sentence imposed by the experienced DistTict Judge in this case
  was reasonable.

                                                                                   I

      In February or March 2000, pettt1oner Brian GaH, a second-year college student at the
  University of Iowa, was invited by Luke Rinderknecht to join an ongoing enterprise distributing a
  controlled substance popularly known as "ecstasy. "l      Gall-who was then a user of ecstasy,
  cocaine, and marijuana-accepted the ir:vitation. During the ensuing seven months, Gall delivered
  ecstasy pills, which he received from Rinderknecht, to other conspirators, who then sold them to
  consumers. He netted over $30,000.

      A month or two after joining the conspiracy, Gall stopped using ecstasy. A few months after
  that, in September 2000, he advised Rinderknecht and other co-conspirators that he was
  withdrawing from the conspiracy. He has not sold illegal drugs of any kind since. He has, in the
  words of the District Court, "self-rehabilitated." App. 75. He graduated from the University of
  lowa in 2002, and moved first to Arizona, where he obtained a job in the construction industry,


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   and later to Colorado, where he earned $ I 8 per hour as a master carpenter. He has not used any
   illegal drugs since graduating from college.

       After Gall moved to Arizona, he was approached by federal law enforcement agents who
   questioned him about his involvement in the ecstasy distribution conspiracy. Gall admitted his
   limited participation in the distribution of ecstasy, and the agents took no further action at that
   time. On April 28, 2004-approximatcly a year and a half after this initial interview, and three and
   a half years after Gall withdrew frcm the conspiracy-an indictment was returned in the Southern
   District of Iowa charging him and seven other defendants with participating in a conspiracy to
   distribute ecstasy, cocaine, and marijuana, that began in or about May 1996 and continued
   through October 30, 2002. The Government has never questioned the truthfolness of any of
   Gall's earlier statements or contended that he played any role in, or had any knowledge ot: other
   aspects of the conspiracy described in the indictment. When he received notice of the indictment,
   Gall moved back to lowa and sun-endered to the authorities. While free on his own recognizance,
   Gall started his own business in the construction industry, primarily engaged in subcontracting for
   the installation of windows and doors. In his first year, his profits were over $2,000 per month.

       Gall entered into a plea agreement with the Government, stipulating that he was "responsible
   for, but did not necessarily distribute himseli~ at least 2,500 grams of [ecstasy], or the equivalent
   of at least 87. 5 kilograms of marijuana." Id., at 25. In the agreement, the Government
   acknowledged that by "on or about September of 2000," Gall had communicated his intent to stop
   distributing ecstasy to Rinderknecht and other members of the conspiracy. Ibid. The agreement
   further provided that recent changes in the Guidelines that enhanced the <*pg. 453>
   recommended punishment for distributing ecstasy were not applicable to Gall because he had
   withdrawn from the conspiracy prior to the effective date of those changes.

       in her presentence report, the probation officer concluded that Gall had no significant ctiminal
   history; that he was not an organizer, leader, or manager; and that his offense did not involve the
   use of any weapons. The report stated that Gall had truthfully provided the Government with all
   of the evidence he had concerning the alleged offenses, but that his evidence was not useful
   because he provided no new infomiation to the agents. The report also described Gall's
   substantial use of drugs prior to his oftcnse and the absence of any such use in recent years. The
   report recommended a sentencing rang'.: of30 to 37 months of imprisonment.

        The record of the sentencing hearing held on May 27, 2005, includes a "small flood" of letters
   from Gall's parents and other relatives, his fiance, neighbors, and representatives of firms doing
   business with him, uniformly praising his character and work ethic. The transcript includes the
   testimony of several witnesses and the District Judge's colloquy with the Assistant United States
   Attorney (AUSA) and with Gall. The AUSA did not contest any of the evidence concerning


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   Gall's law-abiding lite during the preceding five years, but urged that "the Guidelines are
   appropriate and should be followed,'' and requested that the court impose a prison sentence within
   the Guidelines range. Id., at 93. He mentioned that two of Gall's co-conspirators had been
   sentenced to 30 and 35 months, respectively, but upon further questioning by the District Court,
   he acknowledged that neither of them had voluntarily withdrawn from the conspiracy.

       The District Judge sentenced Gall to probation for a term of 36 months. In addition to
   making a lengthy statement on the record, the judge filed a detailed sentencing memorandum
   explaining his decision, and provided the following statement of reasons in his written judgment:

       "The Court determined that, considering all the factors under l8 U.S.C. 3553(a), the
   Defendant's explicit withdrawal from the conspiracy almost four years before the filing of the
   Indictment, the Defendant's post-otknse conduct, especially obtaining a college degree and the
   start of his own successful business, the support of family and friends, lack of criminal history, and
   his age at the time of the offense conduct, all waJTant the sentence imposed, which was suflicient,
   but not greater than necessary to serve the purposes of sentencing." Id., at t 17.

       At the end of both the sentencing hearing and the sentencing memorandum, the District Judge
   reminded Gall that probation, rather than "an act of k.:nicncy," is a ''substantial restriction of
   freedom." Id., at 99, 125. In the memorandum, he emphasized:

       ''[Gall] will have to comply with strict reporting conditions along with a three-year regime oi
  alcohol and drug testing. He will not be able to change or make decisions about significant
  circumstances in his life, such as where to live or work, which arc prized liberty interests, without
  first seeking authorization from his Probation Officer or, perhaps, even the Court. Of course, the
  Defendant always faces the harsh consequences that await<*pg. 454> if he violates the
  conditions of his probationary term." Id., at [25.

      Finally, the District Judge explained why he had concluded that the sentence of probation
  reflected the seriousness of Gall's offense and that no term of imprisonment was necessary:

      "Any term of imprisonment in this case would be counter effective by depriving society of the
  contributions of the Defendant who, the Court has found, understands the consequences of his
  criminal conduct and is doing everything in his power to forge a new life. The Defendant's
  post-offense conduct indicates neither that he will return to criminal behavior nor that the
  Defendant is a danger to society. In fact, the Defendant's post-oflense conduct was not motivated
  by a desire to please the Court or any other governmental agency, but was the pre-Indictment
  product of the Defendant's own desire to lead a better life." Id., at 125-126.

                                                                         II


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                  The Court of Appeals reversed and remanded for resentencing. Relying on its earlier opinion
              in United States v. Claiborne, 439 F.3d 479 (CA8 2006), it held that a sentence outside of the
              Guidelines range must be supported by a justification that '""is proportional to the extent of the
              difference between the advisory range and the sentence imposed.""' 446 F.3d 884, 889 (CA8
              2006) (quoting Claiborne, 439 F.3d, at 481. in tum quoting United States. v. Johnson, 427 F.3d
              423, 426-427 (CA7 2005)). Characterizing the difference between a sentence of probation and
              the bottom of Gall's advisory Guidelines range of 30 months as "extraordinary" because it
              amounted to "a 100% downward varianct:," 446 F.3d, at 889, the Court of Appeals held that such
              a variance must be-and here was not-supported by extraordinary circumstances.

                  Rather than making an attempt to quantify the value of the justifications provided by the
              District Judge, the 5=~m1 of App_c_~I~ _i~e~tifi.c1 v,,hat it r(;!_gard~d _as t}\.'.e ~cpa~ate e,rr_ors, i!! . !h~
              District Judge's reasoning:·· "(ff He gave "too much weight to Gall's withdrawal from the
         (.   conspiracy"; (2) given that Gall was 21 at the time of his offense, the District Judge erroneously
          \   gave "significant weight" to studies showing impetuous behavior by persons under the age of 18;
          )   (3) he did not "properly weigh" the seriousness of Gall's offense; (4) he failed to consider whether
       ~      a sentence of pro bat ion would result in "unwarranted" disparities; and ( 5) he placed "too much
          ,   emphasis on Gall's post-offense rehabilitation." Id., at 889-890. As we shall explain, we are not
          l   persuaded that these factors, whether viewed separately or in the aggregate, are sufficient to



       I
              support the conclusion that the District Judge abused his discretion. As a preface to our
              discussion of these particulars, howcvc:r, we shall explain why the Court of Appeals' rule requiring
  .·          "proportional" justifications for departures from the Guidelines range is not consistent with our
 .~· l        remedial opinion in United States v. Booker, 543 U.S. 220, 125 S. Ct. 738, 160 L. Ed. 2d 621
'-~ \         (2005).

                                                                                        III

                  12) In Booker we invalidated both the statutory provision, 18 U.S.C. § 3553(6)(1) (2000 ed.,
              Supp. IV), which made the Sentencing Guidelines <*pg. 455> mandatory, and § 3742(e) (2000
              ed. and Supp. IV), which directed appellate comts to apply a de nova standard of review to
              departures from the Guidelines. As a result of our decision, the Guidelines are now advisory, and
              appellate review of sentencing decisions is limited to determining whether they are "reasonable."
              Our explanation of "reasonableness" review in the Booker opinion made it pellucidly clear that the
              familiar abuse-of-discretion standard of review now applies to appellate review of sentencing
              decisions. See 543 U.S., at 260-262, 125 S. Ct. 738, 160 L. Ed. 2d 621; see also Rita, 551 U.S.,
              at_, 127 S. Ct. 2456, 168 L. Ed. 2d 203 (Stevens, J., concun-ing).

                     It is also clear that a district judge must give serious consideration to the extent of any


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   departure from the Guidelines and must explain his conclusion that an unusually lenient or an
   unusually harsh sentence is appropriate in a particular case with sufficient justifications. For even
   though the Guidelines are advisory rather than mandatory, they arc, as we pointed out in Rita, the
   product of careful study based on extensive empirical evidence derived from the review of
   thousands of individual sentencing decisions.2 Id., at_, 127 S. Ct 2456, 168 L. Ed. 2d 203.

       [3] In reviewing the reasonableness of a sentence outside the Guidelines range, appellate
   courts may therefore take the degree of variance into account and consider the extent of a
   deviation from the Guidelines. We reject, however, an appellate rnle that requires "extraordinary"
   circumstances to justify a sentence outside the Guidelines range. We also reject the use of a rigid
   mathematical formula that uses the percentage of a departure as the standard for determining the
   strength of the justifications required for a specific sentence.

       As an initial matter, the approaches we reject come too close to creating an impermissible
   presumption of unreasonableness for sentences outside the Guidelines range. See id., at 127 S.
   Ct. 2456, 168 L. Ed. 2d 203 ("The fact that we permit courts of appeals to adopt a presumption
   of reasonableness does not mean that courts may adopt a presumption of unreasonableness"))
   Even the Government has acknowledged that such a presumption would not be consistent with
   Booker. See Brief for United <*pg. 456> States in Rita v. United States, 0. T. 2006, No.
   06-5754, pp 34-35.

       The mathematical approach also suffers from infirmities of application. On one side of the
   equation, deviations from the Guidelines range will always appear more extreme-in percentage
   terms-when the range itself is low, and a sentence of probation will always be a 1oocYi1 departure
   regardless of whether the Guidelines range is 1 month or l 00 years. Moreover, quantifying the
   variance as a certain percentage of the maximum, minimum, or median prison sentence
   recommended by the Guidelines gives no weight to the "substantial restriction of freedom"
   involved in a tenn of supervised release or probation. App. 95.

      We recognize that [ 4] custodial sentences are qualitatively more severe than probationary
  sentences of equivalent terms. Offenders on probation are nonetheless subject to several standard
  conditions that substantially restrict their liberty. See United States v. Knights, 534 U.S. 112,
  119, 122 S. Ct. 587, 151 L. Ed. 2d 497 (2001) ("Inherent in the very nature of probation is that
  probationers 'do not enjoy the absolute liberty to which every citizen is entitled"' (quoting Griffin
  v. Wisconsin, 483 U.S. 868, 874, 107 S. Ct. 3164, 97 L. Ed. 2d 709 (1987))).4 Probationers
  may not leave the judicial district, move, or change jobs without notifying, and in some cases
  receiving permission from, their probation officer or the court. They must report regularly to
  their probation officer, permit unannounced visits to their homes, refrain from associating with
  any person convicted of a felony, and refrain from excessive drinking. USSG § 5B 1.3. Most


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   probationers are also subject to individual "special conditions" imposed by the court. Gall, for
   instance, may not patronize any establishment that derives more than 50% of its revenue from the
   sale of alcohol, and must submit to random drug tests as directed by his probation ofiker. App.
   109.

       On the other side of the equation, the mathematical approach assumes the existence of some
   ascertainable method of assigning percentages to various justifications. Does withdrawal from a
   conspiracy justify more or less than, say, a 30% reduction? Does it matter that the withdrawal
   occurred several years ago? Is it relevant that the withdrawal was motivated by a decision to
   discontinue the use of drugs and to lead a better life? What percentage, if any, should be assigned
   to evidence that a defendant poses no future threat to society, or to evidence that innocent third
   parties arc dependent on him? The formula is a classic example of attempting to measure an
   inventory of apples by counting oranges. 5




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   ensure that the district court committed no significant procedural error, such as failing to calculate
   ( or improperly calculating) the Guidelines range, treating the Guidelines as mandatory, failing to
                                                                                                                                                        1
   consider the <*pg. 458> § 3 553(a) factors, \;electing a sc!1!~1:1<:e. J?~se_d Of! c19~rly emrnccms ;acts,
   or tailing to adequately explain the chosen sentence:f~~luding an explanation for any de~·iati~n
   from the Guidelines range. [ JO/ Assuming that the district court's sentencing decision is
   procedurally sound, the appellate court should then consider the substantive reasonableness of the
   sentence imposed under an abuse-of-discretion standard. When condi.1ctmgthis                                               ,;~~;;,:·-th~ ·~~~;;rt
   will, of cour·s·c,· take into account th~t;taiit) -ofti1ccircumstances, including the extent of any
                                                                          1



   variance from the Guidelines range. If the sentence is within the Guidelines range, the appellate
   court may, but is not required to, apply a presumption of reasonableness. Jd., at _, 127 S. Ct.
   2456, 168 L. Ed. 2d 203. But if the sentence is outside the Guidelines range, the court may not
   apply a presumption of unreasonableness. It may consider the extent of the deviation, but must
   give due c;ieferencc to the district court's decision that the § 3553(a) factors, on a whole, justify
   the extent of the variance. The fact that the appellate court might reasonably have concluded that
   a different sentence was appropriate is insufficient to justify reversal of the district court.

       Practical considerations also underlie this legal principle. "The sentencing judge is m a
   superior position to find facts and judge their import under § 3553(a) in the individual case. The
   judge sees and hears the evidence, makes credibility determinations, has full knowledge of the
   facts and gains insights not conveyed by the record." Brief for Federal Public and Community
   Defenders et al. as Amici Curiae 16. ''The sentencing judge has access to, and greater familiarity
   with, the individual case and the individual defendant before him than the Commission or the
  appeals court." Rita, 551 U.S., at __, [27 S. Ct. 2456, 168 L. Ed. 2d 203. Moreover. "ld]istrict
   courts have an institutional advantage over appellate courts in making these sorts of
   determinations, especially as they see so many more Guitlclines sentences than appellate courts
   do." Koon v. United States, 518 U.S. 81, 98,116 S. Ct. 2035, 135 L. Ed. 2d 392 (1996).7

        ( 11 J "It has been uniform and constant in the federal judicial tradition for the sentencing judge
   to consider every convicted person as an individual and every case as a unique study in the human
   failings that sometimes mitigate, sometimes magnify, the crime and the punishment to ensue. 11 Id.,
   at 113, 116 S. Ct. 2035, 135 L. Ed. 2d 392.8 The uniqueness of the individual case, however,
   docs not change the deferential abu5c-of-discretion <*pg. 459> standard of review that applies to
   all sentencing decisions. As we shall now explain, the opinion of the Court of Appeals in this case
   does not reflect the requisite deference and does not support the conclusion that the District
   Court abused its discretion.

                                                                              IV

        As an initial matter, we note that the District Judge committed no significant procedural error.

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   He correctly calculated the applicable Guidelines range, a!lowed both parties to present arguments
   as to what they believed the appropriate sentence should be, considered all of the § 3553(a)
   factors, and thoroughly documented his reasoning. The Court of Appeals found that the District
   Judge erred in failing to give proper weight to the seriousness of the offense, as required by §
   3553(a)(2)(A), and failing to consider whether a sentence of probation would create unwarranted
   disparities, as required by§ 3553(a)(6). We disagree.

       Section 3553(a)(2)(A) requires judges to consider "the need for the sentence imposed ... to
   reflect the seriousness of the offonse, to promote respect for the law, and to provide just
   punishment for the otlensc.'' The Court of Appeals concluded that "the district court did not
   properly weigh the seriousness of Gall's oftcnse" because it "ignored the serious health risks
   ecstasy poses." 446 F.3d, at 890. Contrary to the Court of Appeals' conclusion, the District
   Judge plainly did consider the seriousness, of the offense. Sec, e.g., App. 99 ("The Court,
   however, is bound to impose a sentence that reflects the seriousness of joining a conspiracy to
   distribute MDMA or ecstasy"); id., at 122.9 It is true that the District Judge did not make
   specific reference to the (unquestionably significant) health risks posed by ecstasy, hut the
   prosecutor did not raise ecstasy's effects at the sentencing hearing. Had the prosecutor raised the
   issue, specific discussion of the point might have been in order, but it was not incumbent on the
   District Judge to raise every conceivably relevant issue on bis own initiative.

       The Government's legitimatt: concern that a lenient sentence for a serious offense threatens to
  promote disrespect for the law is at least to some extent offset by the fact that seven of the eight
  defendants in this case have been sentenced to significant prison terms. Moreover, the unique
  facts of Gall's situation provide support for the District Judge's conclusion that, in Gall's case, "a
  sentence of imprisonment may work to promote not respect, but derision, of <*pg. 460> the law
  if the law is viewed as merely a means to dispense harsh punishment without taking into account
  the real conduct and circumstances involved in sentencing." Id., at 126.

      Section 3553(a)(6) requires judges to consider "the need to avoid unwarranted sentence
  disparities among defendants with similar records who haw been found I:,TUilty of similar conduct."
  The Court of Appeals stated that ''the record does not show that the district court considered
  whether a sentence of probation would result in unwarranted disparities." 446 F.3d, at 890. As
  with the seriousness of the offense conduct, avoidance of unwarranted disparities was clearly
  considered by the Sentencing Commission when setting the Guidelines ranges. Since the District
  Judge correctly calculated and carefolly re\'iewed the Guidelines range, he necessarily gave
  ~ignificant weight and consideration to the need to avoid unwan-anted disparities.

      Moreover, as we understand the colloquy between the District Judge and the AUSA, it seems
  that the judge gave specific attcn1 ion to the issue of disparity when he inquired about the


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   sentences already imposed by a different judge on two of Gall's codefendants. The AUSA advised
   the District Judge that defendant Harbison had received a 30-month sentence and that Gooding
   had received 35 months. The following colloquy then occurred:

        "THE COURT: ... You probably know more aboul this than anybody. How long did those
   two stay in the conspiracy, and did they voluntarily withdraw?

        "MR GRIESS: They did not.
        "THE COURT: They did not?

       "MR. GIUESS: They did not voluntarily withdraw. And they were in tbc conspiracy, I think,
   for a shorter period of time, but at the very end.

        "THE COURT: Okay. Thank you.

       "MR. GRIESS: A significant difference there, Your Honor, is that they were in the conspiracy
   atkr the guidelines changed and, therefore, were sentenced at a much higher level because of
   that." App. 88.

       A little later Mr. Griess stated: "The last thing I want to talk about goes to sentencing
   disparity. . . . Obviously, the Court is cognizant of that and wants to avoid any unwarranted
   sentencing disparitics. 11 Id., at 89. H,e then discussed at some length the sentence of 36 months
   imposed on another codefendant, Jarod Yoder, whose participation in the conspiracy was roughly
   comparable to Gall's. Griess voluntarily acknowledged three differences between Yoder and Gall:
   Yoder was in the conspiracy at its end and therefore was sentenced under the more severe
   Guidelines, he had a more serious criminal history, and he did not withdraw from the conspiracy.

      From these facts, it is perfectly clear that the District Judge considered the need to avoid
  unwarranted disparities, but also considered the need to avoid unwarranted similarities among
  other co-conspirators who were not similarly situated. The District Judge regarded Gall's
  voluntary withdrawal as a reasonable basis for giving him a less severe sentence than the three
  codefendants discussed with the AUSA, who neither withdrew from the conspiracy nor
  rehabilitated themselves as Gall had done. We also note that neither the <*pg. 461> Court of
  Appeals nor the Government has culled our attention to a comparable defendant who received a
  more severe sentence.

       Since the District Court committed no procedural error, the only question for the Court of
  Appeals was whether the sentence was reasonable-i.e., whether the District Judge abused his
  discretion in determining that the § 3553(a) factors supported a sentence of probation and
  justified a substantial deviation from the Guidelines range. As we shall now explain, the sentence


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   wa~ reasonable. The Court of Appeals' decision to the contrary was incorrect and failed to
   demonstrate the requisite deference to the District Judge\ decision.

                                                                               V


         The Court of Appeals gave vinually no deference to the District Court's decision that the §
   3553(a) factors justified a significant variance in this case. Although the Court of Appeals
   correctly stated that the appropriate standard of review was abuse of discretion, it engaged in an
   analysis that more closely resembled de novo review of the facts presented and determined that, in
   its \'iew, the degree of variance was not warranted.

        The Court of Appeals thought that the District Court "gave too much weight to Gall's
   \:Vithdrawal from the conspiracy because the court failed to acknowledge the significant benefit
   Gall received from being subject to the 1999 Guidelines."10 446 F.3d, at 889. This criticism is
   flawed in that it ignores the critical relevance of Gall's voluntary withdrawal, a circumstance that
   distinguished his conduct not only from that of all his codefendants, but from the vast majority of
   defendants convicted of conspiracy in federal court. The District Court quite reasonably attached
   great weight to the fact that Gall voluntarily withdrew from the conspiracy after deciding, on his
   own initiative, to change his life. This lends strong suppo11 to the District Court's conclusion that
   Gall is not going to return to criminal behavior and is not a danger to society. See 18 U.S.C. §§
   3553(a)(2)(B), (C). Compared to a case where the offender's rehabilitation occurred after he was
   charged with a crime, the District Court here had greater justification for believing Gall's
   turnaround was genuine, as distinct from a transparent attempt to build a mitigation case.

       The Court of Appeals thought the District Judge "gave significant weight to an in1proper
   factor'' when he compared Gall's sale of ecstasy whcn he was a 21-year-old adult lo the
   "in1pctuous and ill-considered" actions of persons under the age of 18. 446 F.3d, at 890. The
   appellate court correctly observed that the studies cited by the District Judge do not explain how
   Gall's "specific behavior in the instant case was impetuous or ill-considered." Ibid.

       In that portion of his sentencing memorandum, however, the judge was discussing the
   "character of the defendant," not the nature of his oflcnse. App. 122. He noted that Gall's
   criminal history included a ticket for underage drinking when he was I 8 years old and possession
   of marijuana that was contemporaneous with his offense in this case. In summary, the District
   Judge observed that all of <*pg. 462> Gall's criminal history "including the present offense,
   occurred when he was twenty-one-years old or younger" and appeared "to stem from his
   addictions to drugs and alcohol." Id., at 123. The District Judge appended a long footnote to his
   discussion of Gall's immaturity. The footnote includes an excerpt from our opinion in Roper v.
   Simmons, 543 U.S. 551,569, 125 S. Ct. 1183, 161 L. Ed. 2d l (2005), which quotes a study


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   stating that a lack of maturity and an undeveloped sense of responsibility are qualities that "'often
   result in impetuous and ill-considered actions."' The District Judge clearly stated the relevance of
   these studies in the opening and closing sentences of the footnote:

       "Immaturity at the time of the offenst.: conduct is not an inconsequential consideration. Recent
   studies on the development of the human brain conclude that human brain development may not
   become complete until the age of twenty-five .... [T)he recent [National Institute of Health]
   reporl confirms that there is no bold line demarcating at what age a person reaches full maturity.
   While age does not excuse behavior, a sentencing court should account for age when inquiring
   into the conduct of a defendant." App. 123, n 2.

        Given the dramatic contrast hetwe:en Gall's behavior before he joined the conspiracy and his
   conduct after withdrawing, it was not unreasonable for the District Judge to view Gall's
   immaturity at the time of the offense as a mitigating factor, and his later behavior as a sign that he
   had matured and would not engage in such impetuous and ill-considered conduct in the ftlturc.
   Indeed, his consideration of that factor finds support in our cases. See, e.g., Johnson v. Texas,
   509 U.S. 350, 367, 113 S. Ct. 2658, 125 L. Ed. 2d 290 (1993) (holding that a jury was free to
   consider a 19-year-old defendant's youth when determining whether there was a probability that
   he would continue to commit violent acts in the future and stating that "'youth is more than a
   chronological fact. It is a time and condition of life when a person may be most susceptible to
   influence and to psychological damage"' (quoting Eddings v. Oklahoma, 455 U.S. 104, 115, I02
   S. Ct. 869, 71 L. Ed. 2d 1 (1982))).

       Finally, the Court of Appeals thought that, even if Gall's rehabilitation was dramatic and
   permanent, a sentence of probation for participation as a middleman in a conspiracy distributing
   10,000 pills of ecstasy "lies outside the range of choice dictated by the facts of the case." 446
   F.3d, at 890. If the Guidelines were still mandatory, and assuming the facts did not justify a
   Guidelines-based downward departure, this \Vould provide a sufficient basis for setting aside
   Gall's sentence because the Guidelines state that probation alone is not an appropriate sentence
   for comparable offenses. I I But the Guidelines are not mandatory, and thus the "range of choice
   dictated by the facts of the case" is significantly broadened. Moreover, the Guidelines are only
   one of the factors to consider when imposing sentence, and § 3553(a)(3) directs the judge to
   consider sentences other than imprisonment.

       We also note that the Government <*pg. 463> did not argue below, and has not argued here,
   that a sentence of probation could never be imposed for a crime identical to Gall's. rndeed, it
   acknowledged that probation could be pcnnissible if the record contained different-but m our
   view, no more compelling-mitigating evidence. Tr. of Oral Arg. 37-38 (stating that probation
   could be an appropriate sentence, given the exact same offense, if "there are compelling family


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 circumstances where individuals will be very badly hurt in the defondant's family if no one is
 available to take care of them").

     The District Court quite reasonably attached great weight to Gall's self-motivated
 rehabilitation, which was undertaken not at the direction ot: or under supervision by, any court,
 but on his own initiative. This also lends strong support to the conclusion that imprisonment was
 not necessary to deter Gall from engaging in future criminal conduct or to protect the public from
 his fitture criminal acts. See 18 U.S.C. §§ 3553(a)(2)(B), (C).

     The Court of Appeals clearly disagreed with the District Judge's conclusion that consideration
 of the § 3553(a) factors justified a sentence of probation; it believed that the circumstances
 presented here were insufficient to sustain such a marked deviation from the Guidelines range.
 But it is not for the Court of Appeals to decide de novo whether the justification for a variance is
 sufficient or the sentence reasonable. On abuse-of-discretion review, the Court of Appeals should
 have given due deference to the District Court's reasoned and reasonable decision that the §
 3553(a) factors, on the whole, justified the sentence. Accordingly, the judgment of the Court of
 Appeals is reversed.

       It is so ordered.

                                                         SEPARATE OPINION



 Justice Scalia, concurring.

       I join the opinion of the Court.

      In Rita v. United States, 551 U.S . .338, , 127 S. Ct. 2456, 168 L. Ed. 2d 203 (2007), I wrote
 separately to state my view that any appellate review of sentences for substantive reasonableness
 will necessarily result in a sentencing scheme constitutionally indistinguishable from the
 mandatory Guidelines struck down in United States v. Booker, 543 U.S. 220, 125 S. Ct. 738, 160
 L. Ed. 2d 621 (2005).           Whether a sentencing scheme uses mandatory Guidelines, a
 "proportionality test" for Guidelines variances, or a deferential abuse-of-discretion standard, there
 will be some sentences upheld only on the basis of additional judge-found facts.

     Although I continue to believe that substantive-reasonableness review is inherently flawed, I
 give stare decisis effect to the statutory holding of Rita. The highly deferential standard adopted
 by the Court today will result in far fewer unconstitutional sentences than the proportionality
 standard employed by the Eighth Circuit. Moreover, as J noted in Rita, the Court has not
 foreclosed as-applied constitutional challenges to sentences. The door therefore remains open for

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  a defendant to demonstrate that his sentence, whether inside or outside the advisory Guidelines
  range, would not have been upheld but for the existence of a fact found by the sentencing judge
  and not by the jury.<'~pg. 464>


 Justice Souter, concurring.

     I join the Court's opinion here, as I do in today's companion case of Kimbrough v. United
 States, post, p _, 128 S. Ct. 558, 169 L. Ed. 2d 481, which follow United States v. Booker, 543
 U.S. 220, 125 S. Ct. 738, 160 L. Ed. 2d 621 (2005), and Rita v. United States, 551 U.S. 338, 127
 S. Ct. 2456, 168 L. Ed. 2d 203 (2007). My disagreements with holdings in those earlin cases arc
 not the stuff of formally perpetual dissent, but I see their objectionable points hexing our
 judgments today, see id., at _, 127 S. Ct. 2456, 168 L. Ed. 2d 203 (Souter, J., dissenting), and
 Booker, supra, at 272, 125 S. Ct. 738, 160 L. Ed. 2d 621 (Stevens, J., dissenting in part). Aller
 Booker's remedial holding, I continue to think that the best resolution of the tension between
 substantial consistency throughout the system and the right of jury trial would be a new Act of
 Congress: reestablishing a statutory system of mandatory sentencing guidelines (though not
 identical to the original in all points of detail), but providing for jury findings of all facts necessary
 to set the upper range of sentencing discretion. See Rita, supra, at_, 127 S. Ct. 2456, 168 L. Ed.
 2d 203.


 Justice Thomas, dissenting.

    Consistent with my dissenting opinion in Kimbrough v. United States, post, p _, 128 S. Ct.
 558, 169 L. Ed. 2d 481, I would affirm the judgment of the Court of Appeals because the District
 Court committed statutory error when it departed below the applicable Guidelines range.


 Justice Alito, dissenting.

     The fundamental question in this case is whether, under the remedial decision in United States
 v. Booker, 543 U.S. 220, 125 S. Ct. 738, 160 L. Ed. 2d 621 (2005), a district court must give the
 policy decisions that are emhodied in the Sentencing Guidelines at least some significant weight in
 making a sentencing decision. I would answer that question in the affirmative and would
 therefore affirm the decision of the Court of Appeals.
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     In Booker, a bare majority held that the Sentencing Reform Act of 1984 (Sentencing Reform
 Act), as amended, 18 U.S.C. § 3551 et seq., 28 U.S.C. § 99 l et seq., violated the Sixth
 Amendment insofar as it required district judges to follow the United States Sentencing
 Guidelines, but another bare majority held that this defect could be remedied by excising the two
 statutory provisions, 18 U.S.C. §§ 3553(b)(l) and 3742(c) (2000 ed. and Supp. IV), that made
 compliance with the Guidelines mandatory. As a result of these two holdings, the lower federal
 courts were instmctcd that the Guidelines must be regarded as ''effectively advisory," Booker,
 543 U.S., at 245, 125 S. Ct. 738, 160 L. Ed, 2d 621, and that individual sentencing decisions are
 subJect to appellate review for "'reasonableness,"' Id., at 262, 125 S. Ct. 738, 160 L. Ed. 2d 621.
 The Booker remedial opinion did nor explain exactly what it meant by a system of "advisory"
 guidelines or by "reasonableness" rcvic:w, and the opinion is open to difkrent interpretations.

     It is possible to read the opinion to mean that district judges, after giving the Guidelines a
 polite nod, may then proceed essentially as if the Sentencing RefoTITJ Act had never been enacted.
 <*pg. 465> This is how two of the dissents interpreted the Court's opinion. Justice Stevens
 wrote that sentencing judges had "regain[ cd] the unconstrained discretion Congress eliminated in
 1984" when it enacted the Sentencing Reform Act. Id., at 297, 125 S. Ct. 738, 160 L. Ed. 2d
 621. Justice Scalia stated that "logic compels the conclusion that the sentencing judge ... has full
 discretion, as full as what he possessed before the Act was passed, to sentence anywhere within
 the statutory range." Id., at 305, 125 S. Ct. 738, 160 L. Ed. 2d 621.

     While this is a possible understanding of the remedial opinion, a better reading is that
 sentencing judges must still give the Guidelines' policy decisions some significant weight and that
 the courts of appeals must still police compliance. In a key passage, the remedial opinion stated:

      "The district courts, while not hound to apply the Guidelines, must consult those Guidelines
 and take them into account when sentencing . See 18 U.S.C.A. §§ 3553(a)(4), (5) (Supp. 2004).
 But compare post, at 305 [125 S. Ct. 738, 160 L. Ed. 2d 621] (Scalia, J., dissenting in part)
 (claiming that the sentencing judge has the same discretion 'he possessed before the Act was
 passed'). The courts of appeals review sentencing decisions for umeasonableness. These features
 of the remaining system, while not the system Congress enacted, nonetheless continue to move
 sentencing in Congress' preferred direction, helping to avoid excessive sentencing disparities while
 maintaining flexibility sufficient to individualize sentences where necessary." Id., at 264-265, 125
 S. Ct. 738, 160 L. Ed. 2d 621 ( emphasis added).

     The implication of this passage is that district courts are still required to give some deference
 to the policy decisions embodied in the Guidelines and that appellate review must monitor
 compliance. District courts must not only "consult" the Guidelines, they must "take them into
 account." Id., at 264, 125 S. Ct. 738, 160 L. Ed. 2d 62 l. In addition, the passage distances the

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 remedial majority from Justice Scalia's position that, under an advisory Guidelines scheme, a
 district judge would have "discretion to sentence anywhere within the ranges ·authorized by
 statute" so long as the judge "state[ d] that 'this court does not believe that the punishment set
 forth in the Guidelines is appropriate for this sort of offense."' Id., at 305, 125 S. Ct. 738, 160 L.
 Ed. 2d 621 (opinion dissenting in part).

      Moreover, in the passage quoted above and at other points in the remedial opinion, the Court
 expressed confidence that appellate review for reasonableness would help to avoid '"excessive
 sentencing disparities"' and "would tend to iron out sentencing differences." Id., at 263, 125 S.
 Ct. 738, 160 L. Ed. 2d 621. Indeed, a major theme of the remedial opinion, as well as our
 decision last Term in Rita v. United States, 551 U.S. 338, 127 S. Ct. 2456, 168 L. Ed. 2d 203
 (2007), was that the post-Booker sentencing regime would still promote the Sentencing Reform
 Act's goal ofreducing sentencing disparities. Sec, e.g., 551 U.S., at_,_, __ , 127 S. Ct. 2456, 168
 I.. Ed. 2d 203; Booker, supra, at 259-260, 263-264, 125 S. Ct. 738, 160 L. Ed. 2d 621.

      It is unrealistic to think this goal can be achieved over the long term if sentencing judges need
 only give lip service to the Guidelines. The other sentencing factors set out in § 3553(a)<*pg.
 466> arc so broad that they impose few real restraints on sentencing judges. See id., at 305, 125
 S. Ct. 738, 160 L. Ed. 2d 621 (Scalia, J., dissenting in part). Thus, if judges are obligated to do
 no more than consult the Guidelines before deciding upon the sentence that is, in their
 independent judgment, sufficient to serve the other § 3553(a) facturs, federal sentencing will not
 "move ... in Congress' prefened direction." Id., at 264, 125 S. Ct. 738, 160 L. Ed. 2d 621
 (opinion of the Court). On the contrary, sentencing disparities will gradually increase. Appellate
 decisions affirming sentences that diverge from the Guidelines (such as the Court's decision today)
 will be in11uential, and the sentencing habits developed during the pre-Booker era will fade.

     finally, in reading the Booker remedial opinion, we should not forget the decision's
 constitutional underpinnings. Booker and its antecedents are based on the Sixth Amendment right
 to trial by jury. The Court has held that (at least under a mandatory guidelines system) a
 defendant has the tight to have a jury, not a judge, find facts that increase the defendant's
 authorized sentence. Sec id., at 230-232, 125 S. Ct. 738, 160 L. Ed. 2d 621; Blakely v.
 Washington, 542 U.S. 296, 303-304, 124 S. Ct. 2531, 159 L. Ed. 2d 403 (2004 ). It is telling that
 the rules set out in the Court's opinion in the present case have nothing to do with juries or
 factfinding and, indeed, that not one of the facts that bears on petitioner's sentence is disputed.
 What is at issue, instead, is the allocation of the authority to decide issues of substantive
 sentencing policy, an issue on which the Sixth Amendment says absolutely nothing. The yawning
 gap between the Sixth Amendment and the Court's opinion should be enough to show that the
 Blakely-Booker line of cases has gone astray.



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      In Blakely, the Court drew a distinction-between judicial fact finding under a guidelines system
  and judicial factfinding under a discretionary sentencing system, see 542 U.S., at 309-310, 124 S.
  Ct. 2531, 159 L. Ed. 2d 403-that, in my judgment, cannot be defended as a matter of principle. It
  would be a coherent principle to hold that any fact that increases a defendant's sentence beyond
  the minimum required by the jury's verdict of guilt must be found by a jury. Such a holding,
  however, would clash with accepted sentencing practice at the time of the adoption of the Sixth
  Amendment. By that time, many States had enacted criminal statutes that gave trial judges the
  discretion to select a sentence from within a prescribed range, 1 and the First Congress enacted
  federal criminal statutes that were cast in this <*pg. 467> mold. See An Act for the Punishment
  of certain Crimes against the United States, l Stat. 112.2

      Under a sentencing system of thi8 type, trial judges inevitably make findings of fact (albeit
 informally) that increase sentences beyond the minimum requin:<l by the jury's verdict. For
 example, under a statute providing that the punishment for burglary is, say, imprisonment for up
 to x years, the sentencing court might increase the sentence that it would have othe1wise imposed
 by some amount based on evidence introduced at trial that the defendant was armed or that,
 before committing the crime, the defendant had told a confederate that he would kill the
 occupants if they awakened during the burglary. The only dificrcnce between this sort of
 factfinding and the type that occurs under a guidelines system is that factfinding under a guidelines
 system is explicit and the effect of c::ach critical finding is quantified. But in both instances, facts
 that cause a defendant to spend more i:imc in prison are found by judges, not juries, and therefore
 no distinction can be drawn as a matter of Sixth Amendment principle.

     The Court's acceptance of this distinction also produced strange collateral consequences. A
 sentencing system that gives trial judges the discretion to sentence within a specified range not
 only permits judicial factfinding that may increase a senknce, such a system also gives individual
 judges discretion to implement their own sentencing policies. This latter feature, whether wise or
 umvise, has nothing to do with the concerns of the Sixth Amendment, and a principal objective of
 the Sentencing Reform Act was to take this power out of the hands of individual district judges.

     The Booker remedy, however, undid this congressional choice. In curing the Sentencing
 Rcfonn Act's perceived defect regarding judicial factfinding, Booker restored to the district courts
 at least a measure of the policymaking authority that the Sentencing Refom1 Act had taken away.
 (How much of this authority was given back is, of course, the issue here.)

     I recognize that the Court is committed to the Blakely-Booker line of cases, but we are not
 required to continue along a path that will take us further and further off course. Because <t'pg.
 468> the Booker remedial opinion may be read to require sentencing judges to give weight to the
 Guidelines, I \vould adopt that interpretation and thus minimize the gap between what the Sixth

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  Amendment requires and what our cases have held.
                                                                               [I


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      Read fairly, the opinion of the Court of Appeals holds that the District Court did not properly
 exercise its sentencing discretion because it did not give sufficient weight to the policy decisions
 reflected in tbe Guidelines. Petitioner was convicted of a serious crime, conspiracy to distribute
 ''ecstasy." He distributed thousands of pills and made between $30,000 and $40,000 in profit.
 Although he eventually left the conspiracy, he did so because he was \Vorricd about apprehension.
 The Sentencing Guidelines called for a term of imprisonment of 30 to 37 months, but the District
 Court imposed a term of probation.

     Compelled to interpret the Booker remedial opinion, the District Court, it appears, essentially
 chose the interpretation outlined in Justice Stevens' and Justice Scalia's dissents. The District
 Court considered the sentence called for by the Guidelines, but I see no evidence that the District
 Court deferred to the Guidelines to any significant degree. Rather, the court determined what it
 thought was appropriate under the circumstances and sentenced petitioner accordingly.

     If the question before us was whether a reasonable jurist could conclude that a sentence of
 probation was sufficient in this case to serve the purposes of punishment set out in 18 U.S.C. §
 3553(a)(2), the District Court's decision could not be disturbed. But because I believe that
 sentencing judges must still give some significant weight to the Guidelines sentencing range, the
 Commission's policy statements, and the need to avoid unwarranted sentencing disparities, §
 3553(a)(3), (4), and (5) (2000 ed. and Supp. V), I agree with the Eighth Circuit that the District
 Court did not properly exercise its discretion.

     Appellate review for abuse of discretion is not an empty formality. A decision calling for the
 exercise of judicial discretion "hardly means that it is unfettered by meaningful standards or
 shielded from thorough appellate review." Albemarle Paper Co. v. Moody, 422 U.S. 405,416, 95
 S. Ct. 2362, 45 L Ed. 2d 280 (1975). Accord, United States v. Taylor, 487 U.S. 326, 336, 108
 S. Ct. 2413, 101 L. Ed. 2d 297 (1988); Franks v. Bowman Transp. Co., 424 U.S. 747, 783, 96 S.
 Ct. 1251, 47 L. Ed. 2d 444 (1976) (Powell, J., concurring in part and dissenting in part). And
 when a trial court is required by statute to take specified factors into account in making a
 discretionary decision, the trial court must be reversed if it "ignored or slighted a factor that
 Congress has deemed pertinent." Taylor, supra, at 337, 108 S. Ct. 2413, IOI L. Ed. 2d 297. See
 Hensley v. Eckerhart, 46 I U.S. 424, 438-440, 103 S. Ct. 1933, 76 L. Ed. 2d 40 (1983) (finding
 an abuse of discretion where the District Court "did not properly consider" l of 12 factors

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  Congress found relevant to the amount of attorney's fees when passing the Civil Rights Attorney's
  Fees Awards Act of 1976, 42 U.S.C. § 1988). See also United States v. Oakland Cannabis
  Buyers' Cooperative, 532 U.S. 483, 497-498, 12 l S. Ct. 171 l, 149 L. Ed. 2d 722 (200 l)
  (A<*pg. 469> court exercising its discretion "cannot 'ignore the judgment of Congress,
  deliberately expressed in legislation.' Virginian R. Co. v. Railway Employees, 300 U.S. 515, 551
  [57 S. Ct. 592, 81 L, Ed. 789] (1937)"); American Paper Institute, Inc. v. American Elec. Power
  Service Corp., 461 U.S. 402, 413, l 03 S. Ct. 1921, 76 I.. Ed. 2d 22 (1983) ("To decide whether
  [Federal Energy Regulatory Commission's] action was ... an abuse of discretion, we must
  determine whether the agency adequately considered the factors relevant" under the statute
  (internal quotation marks omitted)); Southern S.S. Co. v. NLRB, 316 U.S. 31, 46, 47, 62 S. Ct.
  886, 86 L. Ed. 1246 (1942) (finding an abuse of discretion where the National Labor Relations
  Board sought to fulfill one congressional objective but "wholly ignore[ d] other and equally
  important Congressional objectives").

      Here, the District Court "slighted" the factors set out in 18 U.S.C. §§ 3553(a)(3), (4), and (5)
 (2000 ed. and Supp. V)-namely, the Guidelines sentencing range, the Commission's policy
 statements, and the need to avoid unwarranted sentencing disparities. Although the Guidelines
 called for a prison term of at least 30 months, the District Court did not require any
 imprisonment-not one day. The opinion of the Court makes much of the restrictions and burdens
 of probation, see ante, at_ - _, 169 L. Ed. 2d, at 456-457, but in the real world there is a huge
 difference between imprisonment and probation. If the District Court had given any appreciable
 weight to the Guidelines, the District Court could not have sentenced petitioner to probation
 without very strong countervailing considerations.

     The court listed five consi<lcratiom as justification for a sentence of probation: ( l) petitioner's
 "voluntary and explicit withdrawal from the conspiracy," (2) his "exemplary behavior while on
 bond," (3) "the support manifested by family and friends," (4) "the lack of criminal history,
 especially a complete lack of any violent criminal history," (5) and his age at the time of the
 offense, 21. App. 97.

      Two of the considerations that the District Court cited-"the support manifested by family and
 friends" and his age, ibid.-amounted to a direct rejection of the Sentencing Commission's authority
 to decide the most basic issues of sentencing policy. In the Sentencing Reform Act, Congress
 required the Sentencing Commission to consider and decide whether certain specified
 factors-including "age," "education,'' "previous employment record," "physical condition," "family
 ties and responsibilities," and ''community ties"-"have any relevance to the nature [and] extent ...
 of an appropriate sentence." 28 U.S.C. § 994(d). These factors come up with great frequency,
 and judges in the pre-Sentencing Refonn Act era disagreed regarding their relevance. Indeed,
 some of these factors were viewed by some judges as reasons for increasing a sentence and by


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  others as reasons for decreasing a sentence. For example, if a defendant had a job, a supportive
  family, and friends, those factors were sometimes viewed as justifying a harsher sentence on 1he
  ground that the defendant had squandered the opportunity to lead a law-abiding life.
  Alternatively, those same factors we:re sometimes viewed as justifications for a more lenient
  sentence on the ground that a defendant with a job and a network of support would be less likely
  to return to crime. If each judge is free to implement <*pg. 470> his or her personal views on
  such matters, sentencing disparities are inevitable.

       rn response  to Congress' direction to establish uniform national sentencing policies regarding
 these common sentencing factors, the Sentencing Commission issued policy statements
 concluding that "age," "family tics," and "community ties'' arc relevant to sentencing only in
 unusual cases. See United States Sentencing Commission, Guidelines Manual §§ 5Hl.1 (age),
 5Hl.6 (family and community tics) (Nov. 2006). The District Court in this case did not claim that
 there was anything particularly unusual about petitioner's family or community ties or his age, but
 the court cited these factors as justifications for a sentence of probation. Although the District
 Court was obligated to take into account the Commission's policy statements and the need to
 avoid sentencing disparities, the District Court rejected Commission policy statements that a.re
 critical to the effort to reduce such disparities.

     The District Court relied on petitioner's lack of criminal history, but criminal history (or the
 lack thereof) is a central factor in the calculation of the Guidelines range. Petitioner was given
 credit for his lack of criminal history in the calculation of his Guidelines sentence. Consequently,
 giving petitioner additional credit for this factor was nothing more than an expression of
 disagreement with the policy determination reflected in the Guidelines range.

     The District Court mentioned petitioner's "exemplary behavior while on bond," App. 97, but
 this surely cannot be regarded as a weighty factor.

     Finally, the District Court was plainly impressed by petitioner's "voluntary and explicit
 withdrawal from the conspiracy." Ibid. As the Government argues, the legitimate strength of this
 factor is diminished by petitioner's motivation in withdrawing. He did not leave the conspiracy for
 reasons of conscience, and he made no effort to stop the others in the ring. He withdrew because
 he had become afraid of apprehension. 446 F.3d 884, 886 (CA8 2006). While the District Court
 was within its rights in regarding this factor and petitioner's "sclf'.-rehabilitat[ion]," App. 75, as
 positive considerations, they arc not enough, in light of the Guidelines' call for a 30- to 37-rnonth
 prison term, to warrant a sentence of probation.

                                                                            B


      In reaching the opposite conclusion, the Court attacks straw men. The Court unjustifiably

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  faults the Eighth Circuit for using what it characterizes ns a "rigid mathematical formula." Ante,
  at_, 169 L. Ed. 2d, at 455. The Eighth Circuit (following a Seventh Circuit opinion) stated that a
  trial judge's justifications for a sentence outside the Guiddincs range must be "proportional to the
  extent of the difference between the advisory range and the sentence imposed." 446 F.3d, at 889
  ( quoting United States v. Claiborne, 439 F.3d 479, 481 (CA8 2006), in tum quoting United
  States v. Johnson, 427 F.3d 423, 426-427 (CA7 2005); internal quotation marks omitted).
  Taking this language literally as requiring a mathematical computation, the Court has an easy time
  showing that mathematical precision is not possible:

      ''[T]he mathematical approach assumes the existence nf some ascertainable method of
 assigning percentages to various justifications. Does withdrawal from a conspiracy <*pg. 471>
 justify more or less than, say, a 30% reduction? . . . \Vhat percentage, if any, should be assigned
 to evidence that a defendant poses no future threat to society, or to evidence that innocent third
 parties are dependent on him?" Ante, at _, 169 L. Ed. 2d, at 456.

     This criticism is quite unfair. It is apparent that the Seventh and Eighth Circuits did not mean
 to suggest that proportionality review could be reduced to a mathematical equation. and certainly
 the Eighth Circuit in this case did not assign numbers to the various justifications offered by the
 District Court. All that the Seventh and Eighth Circuits meant, I am convinced, is what this
 Court's opinion states, i.e., that "the extent of the difference between a particular sentence and the
 recommended Guidelines range" is a relevant consideration in determining whether the District
 Court properly exercised its sentencing discretion. Ante, at _, 169 L. Ed. 2d, at 451.

     This Court's opinion is also wrong in suggesting that the Eighth Circuit's approach was
 inconsistent with the abuse-of-discretion standard of appellate review. Ante, at _, 169 L. Ed. 2d,
 at 456. The Eighth Circuit stated unequivocally that it was conducting abuse-of-discretion
 review, 446 F.3d, at 888-889; abuse-of.discretion review is not toothless; and it is entirely proper
 for a reviewing court to find an abuse of discretion when important factors-in this case, the
 Guidelines, policy statements, and the need to avoid sentencing disparities-are "slighted." Taylor,
 487 U.S., at 337, 108 S. Ct. 2413, l 01 L. Ed. 2d 297. The mere fact that the Eighth Circuit
 reversed is hardly proof that the Eighth Circuit did not apply the correct standard of review.

     Because I believe that the Eighth Circuit correctly interpreted and applied the standards set
 out in the Booker remedial opinion, r must respectfully dissent.3

                                                                   FOOTNOTES


    1    Ecstasy   is  sometimes    called    "MOMA"                                          because          its      scientific         name           is
 "methylenedioxymethamphetamine." App. 24, 118.



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      2 Notably, not all of the Guidelines are tied to this empirical evidence. For example, the Sentencing
 Commission departed from the empirical approach when setting the Guidelines range for drug offenses,
 and chose instead to key the Guidelines to the statutory mandatory minimum sentences that Congress
 established for such crimes. See United States Sentencing Commission, Guidelines Manual § 1AU
 (Nov. 2006) (USSG). This decision, and its effect on a district judge's authority to deviate from the
 Guidelines range in a particular drug case, is addressed in Kimbrough v. United States, pos\, p _, 128 S.
 Ct. 558, 169 L. Ed. 2d 481.

     3 Several Courts of Appeals had rejected such a presumption of unreasonableness even prior to our
 decision in Rita. See, e.g., United States v. Howard, 454 F.3d 700, 703 (CA? 2006) ("Although a
 sentence outside the range does not enjoy the presumption of reasonableness that one within the range
 does, it does not warrant a presumption of unreasonableness"); United States v. Matheny, 450 F.3d 633,
 642 {CA6 2006) ("[T]his court's holding that sentences within the advisory guideline range are
 presumptively reasonable does not mean that sentences outside of that range are presumptively
 unreasonable"); United States v. Myers, 439 F.3d 415, 417 (CAB 2006) ("We have detemiined that a
 sentence imposed within the guidelines range is presumptively reasonable. While it does not follow that
 a sentence outside the guidelines range is unreasonable, we review a district court's decision to depart
 from the appropriate guidelines range for abuse of discretion" (citation omitted)).

     4 See also Advisory Council of Judges of National Council on Crime and Delinquency, Guides for
 Sentencing 13-14 (1957) ("Probation is not granted out of a spirit of leniency .... As the Wickersham
 Commission said, probation is not merely 'letting an offender off easily"'); 1 N. Cohen, The Law of
 Probation and Parole§ 7:9 (2d ed. 1999) ("[T]he probation or parole conditions imposed on a:1 individual
 can have a significant impact on both that person and society. .                  Often these conditions
 comprehensively regulate significant facets of their day-to-day lives . . . . They may become subject to
 frequent searches by government officials, as well as to mandatory counseling sessions with a
 caseworker or psychotherapist").

      5 Notably, when the Court of Appeals explained its disagreement with the District Judge's decision in
 this case, it made no attempt to quantify the strength of any of the mitigating circumstances.

       6

      [7] Section 3553(a) lists seven factors that a sentencing court must consider. The first factor is a
 broad command to consider "the nature and circumstances of the offense and the history and
 characteristics of the defendant." 18 U.S.C. § 3553(a)(1). The second factor requires the consideration
 of the general purposes of sentencing, including:

       "the need for the sentence imposed-

     "(A) to reflect the seriousness of the offense, to promote respect for the law, and to provide just
 punishment for the offense;

       "(B) to afford adequate deterrence to criminal conduct:

       "(C) to protect the public from further Grimes of the defendant; and

       "(D} to provide the defendant with needed educational or vocational training medical care, or other

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 correctional treatment in the most effective manner." § 3553(a)(2).

     [8] The third factor pertains to "the kinds of sentences available," § 3553(a)(3); the fourth to the
 Sentencing Guidelines; the fifth to any rE!levant policy statement issued by the Sentencing Commission;
 the sixth to "the need to avoid unwarranted sentence disparities," § 3553(a)(6); and the seventh to "the
 need to provide restitution to any victim," § 3553(a)(7). Preceding this list is a general directive to
 "impose a sentence sufficient, but not greater than necessary, to comply with the purposes" of
 sentencing described in the second factor. § 3553(a) (2000 ed., Supp. V). The fact that § 3553(a)
 explicitly directs sentencing courts to consider the Guidelines supports the premise that district courts
 must begin their analysis with the Guidelines and remain cognizant of them throughout the sentencing
 process.

     7 District judges sentence, on average, 117 defendants every year. Administrative Office of United
 States Courts, 2006 Federal Court Management Statistics 167. The District Judge in this case, Judge
 Pratt, has sentenced over 990 offenders over tt1e course of his career. United States v. Likens, 464 F.3d
 823, 827, n 1 (CA8 2006) {Bright, J., dissenting). Only a relatively small fraction of these defendants
 appeal their sentence on reasonableness grounds. See Koon, 518 U.S., at 98, 116 S. Ct. 2035, 135 L.
 Ed. 2d 392 ("In 1994, for example, 93 9% of Guidelines cases were not appealed"); Likens, 464 F.3d, at
 827, n 1 (Bright, J., dissenting) (noting that the District Judge had sentenced hundreds of defendants and
 that "[w]e have reviewed only a miniscule number of those cases''); cf. United States Sentencing
 Commission, 2006 Sourcebook of Federal Sentencing Statistics 135-152.

      8 It is particularly revealing that when we adopted an abuse-of-discretion standard in Koon, we
 explicitly rejected the Government's argument that "de nova review of departure decisions is necessary
 'to protect against unwarranted disparities arising from the differing sentencing approaches of individual
 district judges."' 518 U.S., at 97, 116 S. Ct. 2035, 135 L. Ed. 2d 392 (quoting Brief for United States in
 0. T. 1995, No. 94-1664, p 12). Even then we were satisfied that a more deferential abuse-of-discretion
 standard could successfully balance t'le need to "reduce unjustified disparities" across the Nation and
 "consider every convicted person as an individual." 518 U.S., at 113, 116 S. Ct. 2035, 135 L. Ed. 2d
 392.

    9 The District Judge also gave specific consideration to the fact-not directly taken into account by the
 Guidelines-that Gall netted $30,000 from his participation in the conspiracy. He noted, however:

      "[T)his fact can be viewed from different perspectives. On the one hand, [Gall] should be punished
 for profiting from a criminal scheme. . . . On the other hand, (Gall], who is from a working-class family
 and has few financial resources, decided to turn his back on what, for him, was a highly profitable
 venture. . . . The Court can not consider, for the purposes of sentencing, one side of the financial aspect
 of the offense conduct without considering the other." App. 123-124, n 3.

     10 The Court of Appeals explained that under the current Guidelines, which treat ecstasy more
 harshly, Gall's base offense level would have been 32, eight levels higher than the base offense level
 imposed under the 1999 Guidelines.

     11 Specifically, probation is not recommended under the Guidelines when the applicable Guidelines
 range is outside Zone A of the sentencing table as it is here. USSG § 581 .1.

      1 To take some examples, Connecticut, as of 1784, punished burglary and robbery without violence

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 with imprisonment of up to 10 years "at the Discretion of the Superior Court before whom the Conviction
 is had." See Acts and Laws of the State of Connecticut 18 ( 1784 ). A 1749 Delaware law punished
 assault of a parent with imprisonment of up to 18 months. Laws of the State of Delaware 306 ( 1797). A
 1793 Maryland law gave courts the ability to "in their discretion, adjudge" criminal defendants "to serve
 and labour for any time, in their discretion, not exceeding" specified terms of years. Digest of the Laws
 of Maryland 196 (T. Herty 1799). By 1785, Massachusetts allowed judges to sentence criminals
 convicted of a variety of offenses, including assault and manslaughter, "according to the aggravation of
 the offense," or "at the discretion of the Court." The Perpetual Laws, of the Commonwealth of
 Massachusetts, from the Establishment of its Constitution to the First Session of the General Court A. D.
 1788 (1788), reprinted in The First Laws of The Commonwealth of Massachusetts, pp 244-252 (J.
 Cushing comp. 1981 ).        In 1791, New Hampshire passed a law punishing certain assaults with
 imprisonment of up to two years, and forgery with imprisonment of up to three years, at the court's
 discretion. See Laws of the State of New Hampshire (1792). New Jersey, New York, North Carolina,
 Pennsylvania, Rhode Island, and South Carolina likewise enacted criminal statutes providing for
 indeterminate sentences of imprisonment at the discretion of the court either before, or in the immediate
 wake of, the ratification of the Sixth Amendment. See, e.g., Laws of the State of New Jersey 210-218
 (1800) (detailing laws passed in 1796); 2 Laws of the State of New York 45-48, 211, 242-248, 390 (1789):
 Laws of the State of North Carolina 288, 389 (J. Iredell 1791 ); An Abridgment of the Laws of
 Pennsylvania, Penal Laws 1-47 (1801) (detailing laws passed 1790-1794); Public Laws of the State of
 Rhode Island and Providence Plantations 584-600 (1798); Public Laws of the State of South Carolina 55,
 61,257,497 (J. Grimke 1790).

      2 We have often looked to laws passed by the First Congress to aide interpretation of the Bill of
 Rights, which that Congress proposed. See, e.g., Harmelin v. Mic.higan, 501 U.S. 957, 980, 111 S. Ct.
 2680, 115 L. Ed. 2d 836 (1991) (opinion of Scalia, J.) (noting, while interpreting the Eighth Amendment,
 that "[t]he actions of the First Congress ... are of course persuasive evidence of what the Constitution
 means"); Marsh v. Chambers, 463 U.S. 783, 788-790, 103 S. Ct. 3330, 77 L. Ed. 2d 1019 {1983) (looking
 to the actions of the First Congress ir interpreting the First Amendment); Carroll v. United States, 267
 U.S. 132, 150-152, 45 S. Ct. 280, 69 L. Ed. 543 (1925) (looking to the actions of the First Congress in
 interpreting the Fourth Amendment).

      3 While I believe that the Court's analysis of the sentence imposed in this case does not give
 sufficient weight to the Guidelines, it is noteworthy that the Court's opinion does not reject the proposition
 that the policy decisions embodied in the Guidelines are entitled to at least some weight. The Court's
 opinion in this case conspicuously refra;ns from directly addressing that question, and the opinion in
 Kimbrough v. United States, post, p _, 128 S. Ct. 558, 169 L. Ed. 2d 481, is explicitly equivocal, stating
 that "while the Guidelines are no longer binding, closer review may be in order when the sentencing
 judge varies from the Guidelines based solely on the judge's view that the Guidelines range 'fails
 properly to reflect§ 3553(a) considerations' even in a mine-run case." Post, at_, 128 S. Ct. 558, 169 L.
 Ed. 2d 481 (quoting Rita v. United States, 551 U.S. 338, _, 127 S. Ct. 2456, 168 L. Ed. 2d 203 (2007)).




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                          30 LEO2D 592,404 US 443 UNITED STATES v TUCKER

                                                    UNITED ST ATES, Petitioner,
                                                                           vs.
                                                         FORREST S. TUCKER

                                      404 US 443, 30 L Ed 2d 592, 92 S Ct 589

                                                                   [_No. 70-86]

                                                      Argued November t 1, 1971.

                                                       Decided January 11, 1972.

                                                                  SCMMARY




     At a sentencing proceeding after the accused was convicted of armed bank robbery, the
 United States District Court for the Northern District of California gave explicit attention to the
 accused's three previous felony convictions, and imposed the maximum term authorized by the
 applicable federal statute. Several years later it was conclusively determined that two of the
 previous convictions were constitutionally invalid because the accused was denied his right to
 counsel. He moved to set aside the sentence. The same District Court denied the motion (299 F
 Supp 1376), but the United States Court of Appeals for the Ninth Circuit remanded the cause for
 rcscntencing without consideration of the invalid prior convictions (431 F.2d 1292).

     On certiorari, the United States Supreme Court affirmed. In an opinion by Stewart, J.,
 expressing the views of five members of the court, it was held that to pennit a conviction obtained
 in violation of the accused's constitutional right to counsel to be used against him to enhance his
 punishment is to erode the constitutional right to counsel.

    Blackmun, J., joined by Burger, Ch. J., dissented on the ground that the trial judge would
 have imposed the maximum sentence anyway.

       Powell and Rehnquist, JJ., did not participate.



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    United States Supreme Court's views as to retroactive effect of its own decisions announcing
 new rules. 22 L Ed 2d 821.

     Retroactive or merely prospective operation of new rule adopted by court in overruling
 precedent. 14 L Ed 2d 992.

        Due process requirements of presentence procedure following conviction. 3 L Ed 2d 1808.

      Prospective or retroactive operation of overruling decision. 10 ALR3d 13 71.

    Court's right, in imposing sentence, to hear evidence of, or to consider, other offenses
 committed by defendant. 96 ALR2d 768.

     Constitutionally protected right of indigent accused to appointment of counsel in state court
 prosecution. 93 ALR2d 747.<*pg. 593>

                                                                     HEAD NOTES

                                   Classified to U.S. Supreme Court Digest, Lawyers' Edition

 Criminal Law § 69 - sentence - discretion



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      1. A trial judge in the federal judicial system generally has wide discretion in determining what
  sentence to impose.

  Criminal Law § 69 - sentence - inquiry
     2. Before determining what sentence to impose, a trial judge in the federal judicial system may
 appropriately conduct an inquiry broad in scope and largely unlimited either as to the kind of
 information he may consider or the source from which it may come.

  Appeal and Error§ 1379 - sentence - review

     3. A sentence imposed by a Fcd~ral District Judge, if within statutory limits, is generally not
 subject to review.

 Criminal Law § 46.5 - right to counsel - retroactivity

      4. The rule of Gideon v Wainwright (1963) 372 US 335, 9 L Ed 2d 799, 63 S Ct 792, 93
 ALR2d 733, that the Sixth Amendment right to counsel in criminal prosecutions is obligatory on
 the states by the Fourteenth Amendment, is fully retroactive.

 Criminal Law § 70 - sentence - consideration of invalid convictions

     5. A convicted criminal defendant 1s entitled to be rescntcnced where the trial judge, in
 determining what sentence to impose on hiln, gave explicit <*pg. 594> attention to two previous
 felony convictions which were constitutionally invalid because he then was unrepresented by
 counsel, was not advised of his right to counst:l, and did not intelligently waive his right to
 counsel.

 Criminal Law § 46.3 - right to counsel

     6. It is unconstitutional to try a person for a felony in a state court unless he has a lawyer or
 has validly waived one.

                                                                 SYLLABUS

     In imposing sentence upon a defendant convicted of bank robbery, a federal district judge
 gave explicit consideration to the defendants' record of previous convictions. It was later
 conclusively determined that two of the previous convictions were constitutionally inavalid,
 having been obtained in violation of Gideon v Wainwright, 372 US 335, 9 L Ed 2d 799, 83 S Ct
 792, 93 ALR2d 733.
 Held:

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  Under these circumstances the Court of Appeals was correct in remanding the case to the District
  Court for reconsideration of the sentence imposed upon the defendant.

        431 F.2d 1292, affirmed.

     Stewart, J., delivered the opnuon of the Court, in which Douglas, Brennan, White, and
 Marshall, JJ., joined. Blackmun, J., filed a dissenting opinion in which Burger, C. J., joined, post,
 449, 30 L Ed 2d 597. Powell and Rehnquist, JI., took no part in the consideration or decision of
 the case.

                                 APPEARANCES OF COUNSEL ARGUING CASE

 Allan A. Tuttle argued the cause for petitioner.

  William A. Reppy, Jr., argued the cause for respondent.


        Briefs of Counsel, p.905, infra.

                                                                   OPINION



 Mr. Justice Stewart delivered the opinion of the Court.

     ln 1953 the respondent, Forrest S. Tucker, was brought to trial in a federal district court in
 California upon a charge of anncd bank robbery. He pleaded not guilty. Four female employees
 of the bank were called as witnesses
                                         (404 us 444]
      for the prosecution, and they identified the respondent as the robber. He testified in his own
 behalf: denying participation in the robbery and offering an alibi defense. To impeach the
 credibility of his testimony, the prosecution was permitted on cross- examination to ask him
 whether he had previously been convicted of any felonies. He acknowledged three previous
 felony convictions, one in Florida in I 938, another in Louisiana in 1946, and a third in Florida in
 1950. At the conclusion of the trial the jury returned a verdict of guilty. In the ensuing
 sentencing proceeding the District Judge conducted an inquiry into the respondent's background,
 and, the record shows, gave explicit attention to the three previous felony convictions the
 respondent had acknowledged.I The judge then sentenced him to serve 25 years in prison-the
 maximum <*pg. 595> term authorized by the applicable federal statute, 18 USC§ 2113(d).


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      Several years later it was conclusively determined that the respondent's 1938 conviction in
  Florida and his 1946
                                            1404 us 445]
      conviction in Louisiana were constitutionally invalid. This determination was made by the
 Superior Court of Alameda County, California, upon that court's finding in a collateral proceeding
 Lhat those convictions had resulted from proceedings in which the respondent had been
 unrepresented by counsel, and that he had been "neither advised of his right to legal assistance nor
 did he intelligently and understandingly waive this right to the assistance of counsel. 11 2

     Thereafter the respondent initiated the present litigation. Proceeding under 28 CSC § 2255,
 he filed a motion in the Federal District Court in which he had been convicted in 1953, claiming
 that introduction at the 1953 trial of evidence of his prior invalid convictions had fatally tainted
 the jury's verdict of guilt. Upon consideration of the motion, the District .Judge agreed that "the
 use of the constitutionally invalid prior convictions on cross-examination for impeachment
 purposes was error," but found that the error was harmless beyond a reasonable doubt, in view of
 the overwhelming trial evidence that the respondent had been guilty of the bank robbery. Tucker
 v United States, 299 F Supp 13 76. St:e Chapman v California, 386 US 18, 17 L Ed 2d 705, 87 S
 Ct 824, 24 ALR3d 1065; Harrington v California, 395 US 250, 23 L Ed 2d 284, 89 S Ct 1726.

     On appeal, the Court of Appeals for the Ninth Circuit agreed that it had been "firmly proved
 that the evidence of prior convictions did not contribute to the verdict obtained and that, with
 respect to the verdict of guilty, the error in receiving such evidence was therefore harmless
 beyond a reasonable doubt." Jt went on, however, to find that there was "a reasonable probability
 that the detective prior convictions may have
                                                                 [404   us 446)
      kd the trial court to impose a heavier prison sentence than it otherwise would have imposed."
 Accordingly, the appellate court aftinned the refusal to vacate the conviction, but remanded the
 case to the District Court for resentencing 1\vithout consideration of any prior convictions which
 are invalid under Gideon v Wainwright, 372 US 335, 9 L Ed 2d 799, 83 S Ct 792, 93 ALR2d
 733." 431 F.2d 1292, 1293, 1294. The Government came here ,vith a petition for a writ of
 certiorari, which we granted. 402 US 94 2, 29 L Ed 2d 110, 91 S Ct i 616.

     The government asks us to reverse the judgment of the Court of Appeals insofar as it
 remanded this case to the District Court for resentencing. It argues that a federal district judge
 has wide and largely unreviewablc discretion in imposing sentence, and that in exercising that
 discretion his relevant inquiry is not whether the defendant has been formally convicted of past
 crimes, but whether and to what extent the defendant has in <*pg. 596> fact engaged in criminal


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  or antisocial conduct. Further, the Government argues, in view of other detrimental information
  about the respondent possessed at the timt: of sentencing by the trial judge, it is highly unlikely
  that a different sentence would have been imposed even if the judge had known that two of the
  respondent's previous convictions were constitutionally invalid. Accordingly, the Government
  concludes that to now remand this case for resentencing would impose an "artificial" and
  ''unrealistic" burden upon the District Court.

     111 fll [3] It is surely true, as the Government asserts, that a trial judge in the federal judicial
 system generally has wide discretion in determining what sentence to impose. It is also true that
 before making that determination, a judge may appropriately conduct an inquiry broad in scope,
 largely unlimited either as to the kind of infonnation he may consider, or the source from which it
 may come. United States v Trigg, 392 F.2d 860, 864; Davis v United States, 376 F.2d 535, 538;
 Cross v United
                                              [404 us 4471

     States, 354 F.2d 512,514; United States v Doyle, 348 F.2d 715, 721; United States v
 ~agliano, 336 F.2d 817, 822; Fed Rule Crim Proc 32(a) (2). See Williams v New York, 337 US
 241, 93 L Ed 1337, 69 S Ct 1079; North Carolina v Pearce, 395 US 711, 723, 23 L Ed 2d 656,
 668, 89 S Ct 2072. The Government is also on solid ground in asserting that a sentence imposed
 by a federal district judge, if within statutory limits, is generally not subject to review. Gore v
 United States, 357 US 386,393, 2 I. Ed 2d 1405, 1410, 78 S Ct 1280. Cf Yates v United States,
 356 US 363, 2 L Ed 2d 837, 78 S Ct 766.
     [4) But these general propositions do not decide the case before us. For we deal here, not
 with a sentence imposed in the informe:d discretion of a trial judge, but witl1 a sentence fot1!1~ed at
 least in part upon misinformation of constitutional magnitude. As in Townsend v Burke, 334 US
 736, 92 L Ed 1690, 68 S Ct 1252., "this p1isoner was sentenced on the basis of assumptions
 concerning his criminal record which were materially untrue." Id., at 741, 92 L Ed at 1693. The
 record in the present case makes evidt:nt that the sentencing judge gave specific consideration to
 the respondent's previous convictions before imposing sentence upon him.3 Y ct it is now clear
 that two of those convictions were wholly unconstitutional under Gideon v Wainwright, 372 CS
 335, 9 L Ed 2d 799, 83 S Ct 792, 93 ALR 2d 733.4

     We need not speculate about whether the outcome of the respondent's 1938 and 1946
 prosecutions would necessarily have been different if he had had the help of a lawyer. 5 Such
 speculation is not <*pg. 597> only fruitless, but
                                            [404 us 448)

     quite beside the point. For the real question here is not whether the results of the Florida and
 Louisiana proceedings might have hcen different if the respondent had bad counsel, but whether

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 the sentence in the 1953 federal case might have been different if the sentencing judge had known
 that at least two of the respondent's previous convictions had been unconstitutionally obtained. 6

     (5] We agree with the Court of Appeals that the answer to this question must be "yes." For if
 the trial judge in 1953 had been aware of the constitutional infirmity of two of the previous
 convictions, the factual circumstances of the respondent's background would have appeared in a
 dramatically different light at the sentencing proceeding. Instead of confronting a defendant who
 had been legally convicted of three previous felonies, the judge would then have been dealing with
 a man who, beginning at age 17, had been unconstitutionally imprisoned for more than ten years,
 including five and one-half years on a chain gang.7 We cannot agree with the Government that a
 re-evaluation of the respondent's
                                              (404 us 449]

        sentence by the District Court even at this late date will be either "artificial" or "unrealistic. 11 8

      16] The Gideon case established an unequivocal rule "ma.king it unconstitutional to try a
 person for a felony in a state court unless he had a lawyer or had validly waived one." Burgett v
 Texas, 389 US 109., 114, 19 L Ed 2d 319,324, 88 S Ct 258. In Burgett we said that ''[t]o permit
 a conviction obtained in violation of Gideon v Wainwright to be used against a person either to
 support guilt or enhance punishment for another offense ... is to erode the principle of that case."
 Td., at 115, 19 L Ed 2d at 324. Erosion of the Gideon principle can be prevented here only by
 affirming the judgment of the Court of Appeals remanding this case to the trial court for
 reconsideration of the respondent's sentence.

      The judgment is affirmed.

      Mr. Justice Powell and Mr. Justice Rehnquist took no part in the consideration or decision of
 this case. <'~pg. 598>
                                                        SEPARATE OPINION



 Mr. .Justice Blackmun, with whom The Chief Justice joins, dissenting.

     The Court's opinion, of course, is a fine and acceptable exposition of abstract law. If I felt
 that it fit Tucker's
                                           (404 us 450}

      case, I would join it. The Court, however, fails to mention and to give effect to certain facts
 that for me, arc controlling:

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     1. At his armed bank robbery trial in May 1953 Tucker was no juvenil~. He was 32 years of
 age and was represented by counsel. A reading of his trial testimony discloses that he was very
 knowledgeable indeed. Tucker testified on cross-examination at that trial not only as to the fact
 of three prior state felony convictions, but, as well, as to his engaging in the proscribed conduct
 underlying two of those convictions. He stated flatly (a) that in l 938 he broke into a garage and
 took a man's automobile, and (b) that in 1946 he broke into a jewelry store at night.l He also
 acknowledged that, while waiting for transportation to prison in Florida after the third conviction,
                                            [404      4511                    us
     he escaped and went to California using an assumed name.2 Thus, wholly apart from formal
 convictions, Tucker conceded criminal conduct on his part on three separate prior occasions.

      2. The judge who presided at Tucker's pre-Gideon trial for armed bank robbery in 1953 was
 the Honorable George B. Han-is of the United States District Court for the Northern District of
 California. After Tucker's conviction by a jury Judge Han-is imposed the 25-year maximum
 sentence prescribed by 18 USC §§ 2 l l 3(a) and 2 I I 3(d). Despite the interim passage of 16 years,
 Tucker's present petition, filed pursuant to 28 USC § 2255, also came before the very same Judge
 Harris, then Chief Judge of the Northern District. The judge denied relief on the ground that the
 error in the use, for impeachment purposes, of two constitutionally invalid prior convictions<*pg.
 599> was harmless beyond a reasonable doubt (a) because the issue of guilt or innocence was not
 at all close, (b) because Tucker's testimony "had been successfully impeached by prior inconsistent
 statements made to the Federal Bureau of [nvestigation agents, and by rebuttal testimony which
 demonstrated that portions of [his] testimony [were l improhable and untrue," and
                                             [404    452]                     us
     (c) because his "testimony was successfully impeached, and in fact, demolished by additional
 items." 299 F Supp 1376, 1378 (ND Cal 1969). As to all this, on the issue of guilt, the Court of
 Appeals agreed, 431 F.2d 1292, 1293 (CA9 1970), and this Court today docs not rule othenvise.

     Chief Judge Harris' § 2255 ruling translates for me into something completely inescapable,
 namely, that in 1953, wholly apart from the 1938 and 1946 convictions, ht~ would have imposed
 the 25-year maximum sentence anyway. Surely Judge Harris, of all people, is the best source of
 knowledge as to the effect, if any, of those two convictions in his determination of the sentence to
 be imposed. Yet the Court speculates that, despite his identity and despite his obvious disclaimer,
 Judge Harris might have been influenced in his sentencing by the fact of the two prior convictions,
 rather than by the three criminal acts that Tucker himself acknowledged.

     On remand the case presumably will go once again to Judge Harris, and undoubtedly the same
 sentence once again will be imposed. Perhaps this is all worthwhile and, if so, I must be content


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 with the Court's disposition of the case on general principles. I entertain more than a mild
 suspicion, however, that this is an exercise in futility, that the Court is merely marching up the hill
 only to march right down again, and that it is time we become just a little realistic in the face of a
 record such as this one.

        r would
              reverse the judgment of the Court of Appeals insofar as it remands the case to the
 District Court for resentencing.

                                                                FOOT~OTES

     1 An FBI agent was present at the sentencing proceeding. The District Judge began the proceeding
 by stating, "I would like to have the Agent's testimony with respect to the prior convictions."

     The agent testified, in relevant part, as follows: "As the defendant said, when he was a juvenile, I
 believe it was in 1938, he received a ten- year sentence in Florida.



     "... He said there was five years and four months on the chain gang. . .. and he said he actually
 served two years beyond that. ...



     "In 1950 Mr. Tucker was sentenced to a five year term in the State of Florida, for, I believe it was
 burglary, and on January the 5, 1951, while in custody in the hospital, he escaped.



      "In 1946 he was convicted in the State of Louisiana on a felony charge and given a term of 4 years.



            I believe it was a burglary."

     2 The decision of the Superior Cou,1 of Alameda County is unreported, but the accuracy of that
 court's determination is not questioned. See In re Tucker, 64 Cal 2d 15, 409 P2d 921; Tucker v Craven,
 421 F.2d 139.

      3 See n 1, supra.

      4

     [4] The respondent's convictions occurred years before the Gideon case was decided, but the
 impact of that decision was fully retroactive. Pickelsimer v Wainwright, 375 US 2, 11 L Ed 2d 41, 84 S
 Ct 80.

    5 It is worth pointing out, however, that to make the contrary assumption, i. e., that the prosecutions
 would have turned out exactly the same even if the respondent had had the assistance of counsel. would

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 be to reject the reasoning upon which the Gideon decision was based:

     "[R]eason and reflection require us to recognize that in our adversary system of criminal justice. any
 person haled into court, who is too poor to hire a lawyer, cannot be assured a fair trial unless counsel is
 provided for him. . .. That government r1ires lawyers to prosecute and defendants who have the money
 hire lawyers to defend are the strongest indications of the widespread belief that lawyers in criminal
 courts are necessities, not luxuries." 372 US, at 344, 9 L Ed 2d at 805, 93 ALR2d 733.

     6 The constitutional validity of the respondent's third conviction-in Florida in 1950-has not been
 determined. The Government states in its brief that it has been informed by the clerk of the Criminal
 Court of Records of Dade County, Florida, that the respondent had counsel at that trial. The
 respondent's brief states that the respondent has advised his present counsel that at the 1950 Florida
 proceeding he specifically asked the judge to appoint counsel for him because of his indigence and that
 the request was denied.

        7 See n 1, supra.

      8 As noted above, at 445, 30 L Ed 2d at 595, and emphasized in the dissenting opinion, the trial
 judge, in ruling upon the respondent's present § 2255 motion, held that the wrongful use of the invalid
 previous convictions to impeach the respondent's testimony at the 1953 trial was harmless error, in view
 of the overwhelming evidence that he was guilty of the bank robbery. But the respondent's guilt of that
 offense hardly "translates" into a "inescapable" assumption that the trial judge would have imposed a
 maximum 25-year prison sentence if he had known that the respondent had already been
 unconstitutionally imprisoned for more than 10 years. It would be equally callous to assume, now that
 the constitutional invalidity of the respondent's previous convictions is clear, that the trial judge will upon
 reconsideration "undoubtedly" impose the same sentence he imposed in 1953.

        1 "Q ..... You were convicted in Florida, were you not?

       "A. Yes, I was.

       "Q. For what?

      "A. Automobile theft, breaking and entering.

       "Q. What do you mean 'automobile theft, breaking and entering'?

      "A. It boils down to this, I was 17 years old. broke into a man's garage, took his automobile, went joy
 riding in it, received a ten year sentence for it.

       "Q. At the age of 17 you received                 a ten year sentence?
      "A. Yes.

      "Q. When was that?

      "A. 1938.

      "Q. You broke into a place and stole a car?



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        "A. Yes.

        "Q. What kind of car did you steal?

        "A. '36 Ford.

        "Q Tell us about your other convictions.

        "A 1946 I broke into a jewelry store.


        "Q. Where?

        "A. New Orleans.

        "Q. Night or day?

        "A. Night." Trial Transcript 161-162.

        2 "Q. Why did you use the name of Rick Bellew, if you did?

        "A Because I was a fugitive from Florida.

        "Q. You were a what?

        "A. A fugitive.
        "Q. A fugitive from what?

     "A. I had been sentenced to a term in Florida for the third conviction that you just brought up, and
 while waiting transportation to prison I was given a chance to-nobody was watching me, and I walked off
 down there and came out to California.

      "Q. Where did you walk away from?

      "A. I was having my appendix removed in the hospital .... " Trial Transcript 166.

             [H]e found me guilty and subsequently I escaped and came out here .... " Sentencing Transcript
 230.




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     UNITED STATES OF AMERICA, Plaintiff-Appellee v. ROBERT A. MACKAY, also known as Fat
           Boy, also known as Bob Mackay, also known as Fatman, Defendant-Appellant
                  UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT
                            757 F.3d 195; 2014 U.S. App. LEXIS 12049
                                           No. 13-10521
                                       June 26, 2014, Filed


 Editorial Information: Prior History


 Appeal from the United States District Court for the Northern District of Texas.United States v. Mackay,
 339 Fed. Appx. 367, 2009 U.S. App. LEXIS 15251 {5th Cir. Tex., 2009)

 Counsel                        For United States of America, Plaintiff - Appellee: Leigha Amy
           Simonton, Assistant U.S. Attorney, James Wesley Hendrix, Assistant U.S. Attorney U.S.
           Attorney's Office, Northerr D,strict of Texas, Dallas, TX.
                                        Robert A Mackay, also known as: Fat Boy, also known as: Bob
           Mackay, also known as: Fatman, Defendant - Appellant. Prose. Fort Worth, TX.
 Judges: Before SMITH, WIENER, and PRADO, Circuit Judges.

                                                                         Opinion

 Opinion by:                         EDWARD C. PRADO

                                                                         Opinion



       {757 F.3d 196} EDWARD C. PRADO, Circuit Judge:

       I. INTRODUCTION AND BACKGROUND
       Defendant-Appellant Robert A. Mackay {"Mackay") pied guilty to conspiracy to distribute and to
       possession with intent to distribute marijuana-not cocaine. But the cover sheet of his presentence
       report ("PSR") erroneously listed his offense as conspiracy to possess with intent to distribute, and
       distribution of, cocaine, and so did his judgment. The clerical error had no effect on Mackay's
       conviction or sentence. Mackay's counsel neglected to object to the misstatement on the PSR under
       Federal Rule of Criminal Procedure 32(f) or to file a postjudgment motion to correct the
       misstatement in the judgment. Thirteen years after the entry of judgment, Mackay filed a prose
       motion with the district court under Federal Rule of Criminal Procedure {"Rule") 36 to correct these
       errors. Rule 36 provides that the district court may "at any time correct a clerical error in a judgment,
       order, or other part of the record." The district court corrected the judgment, but refused to correct
       the misstatement on the PSR because it concluded the "PSR is not a court order that can be
       corrected under Rule 36," citing United States v. Llanos, 59 F. App'x 412, 414 (2d Cir. 2003).

       Mackay, proceeding prose, timely appealed, and this Court granted him leave to proceed in form a
       pauperis. Mackay argues the PSR is "part of the record," and that this error is not harmless because
       the Bureau of Prisons ("BOP") uses his PSR for classification and designations. The government
       concedes in its brief that Mackay's PSR contains a clerical error and that "the BOP records do reflect


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       a conviction for cocaine rather than marijuana," but argues the PSR is not a "part of the record"
       within the meaning of Rule 36, and tr,at the error is harmless. We reverse.
       II. DISCUSSION
       The district court had jurisdiction under 18 U.S.C. § 3231, and this Court has jurisdiction {757 F.3d
       197} under 28 U.S.C. § 1291 to review the district court's final decision, denying Mackay's Rule 36
       motion.
       A. Standard of Review
       The parties dispute the applicable standard of review. Mackay contends the district court's decision
       should be reviewed for abuse of discretion, relying on our unpublished decision in United States v.
       Harrill, 91 F. App'x 356, 357 (5th Cir. 2004) (concluding "the district court did not abuse its discretion
       in denying Harrill's Rule 36 motion"). The government suggests the district court's decision turned on
       its interpretation of the phrase "other part of the record" as used in Rule 36, and its decision should
       therefore be reviewed de novo. The ~Iovernment also argues "harmless-error analysis applies," citing
       Rule 52(a) ("Any error, defect, irregularity, or variance that does not affect substantial rights must be
       disregarded.").
       We review the district court's final orcler denying Mackay's Rule 36 motion de novo because the facts
       are undisputed, leaving only questions of law. United States v. Clayton, 613 F.3d 592, 595 (5th Cir.
       2010); see also United States v. Brown, 303 F.3d 582, 589 (5th Cir. 2002) ("We review the district
       court's interpretation of [Federal] Rule [of Criminal Procedure] 16(a)(1) de nova.").

       B. The PSR as a "Judgment, Order, or Other Part of the Record"
      Mackay·s appeal raises a question of interpretation of Rule 36 that, the parties agree, presents an
      issue of first impression. Mackay contends that, as a matter of common sense, the district court
      should have corrected the clerical error in the PSR under Rule 36 because the PSR is a "part of the
      record." The government counters that two canons of construction govern this appeal: (1) ejusdem
      generis and (2) generalia specialibus nonderogant. Under ejusdem genens (Latin for "of the same
      kind"), the government contends "other part of the record" must be interpreted in reference to the
      preceding terms "judgment" and "order"; thus, the general language "other part of the record" is
      limited to court-created documents that are similar to orders and judgments. Because the PSR is
      "created by probation officers, not the court, and [is] submitted to the court and the parties under
      seal, rather than entered by the court like judgments and orders," the government argues the PSR is
      "more like documents filed by the parties than judgments or orders." Under generalia specia/ibus
      nonderogant (Latin for "the specific governs the general"}, the government points to Rule 32, which
      specifically governs PSRs and requires the parties to file written objections to the PSR within
      fourteen days. The government argues this specific rule trumps the general terms contained in Rule
      36. Thus, the government contends, "Mackay's lack of objection to the PSR's error within the time
      limit Rule 32 provides is fatal to his claim." Mackay did not address these arguments in his reply.
      Courts "typically use ejusdem generis to ensure that a general word will not render specific words
      meaningless." CSX Transp., Inc. v. Ala. Dep't of Revenue, 131 S. Ct. 1101, 1113, 179 L. Ed. 2d 37
      (2011 ). "This rule is based on the theory that, if the Legislature had intended the general words to be
      used in their unrestricted sense, it would have made no mention of the particular classes." In re Bush
      Terminal Co., 93 F.2d 659, 660 (2d Cir. 1938). "The words 'other' or 'any other' following an
      enumeration of particular classes ought to be read as 'other such like' and to include only those of
      like kind or character." Id. (citing United States v. Stever, 222 U.S. 167, 32 S. Ct. 51, 56 L. Ed. {757
      F.3d 198} 145 (1911 ), among other sources). "'But this is only a rule of construction to aid us in


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       arriving at the real legislative intent. It is not a cast-iron rule. It does not override all other rules of
       construction, and it is never applied to defeat the real purpose of the statute." United States v.
       Mescal/, 215 U.S. 26, 27, 30 S. Ct. 19, 54 L. Ed. 77, Treas. Dec. 30131 (1909).
         With this principle in mind, we turn tc the specific words "judgment" and "order" to interpret the
         general words "other part of the record." Black's Law Dictionary defines "judgment" as "[a] court's
         final determination of the rights and obligations of the parties in a case." Black's Law Dictionary 918
     . (9th ed 2009). Black's Law Dictionary defines "order" as "1. A command, direction, or instruction," or
     \ "2. A written direction or command delivered by a court or judge. The word generally embraces final
      ; decrees as well as interlocutory directions or commands." Id. at 1206. We conclude that a PSR is "of
      1
     • like kind or character." See Bush Terminal, 93 F.2d at 660. Like a judgment, the PSR determines the
   i\ rights and obligations of the defendant going forward. As the Eighth Circuit observed, the PSR "not
      i only affects the length of the sentence, but might also determine the defendant's place of
       ) incarceration, chances for parole, an<l relationships with social service and correctional agencies
       i after release from prison." United States v. Brown, 715 F .2d 387, 389 n.2 (8th Cir. 1983).1 Further,
         like an order, the PSR contarns';alrectfoiis                 or
                                                         iristi-uction" about the defendant's.sentence·. Because
    ./ the PSR affects the rights and obligations of the defendant, we conclude it is of like kind or character
    I as a "judgment" or "order" and that it is embraced by the terms "other part of the record" as used in
    \ Rule 36.
       We reject the government's argument to the contrary because the government's focus on the PS R's
     · creator contradicts our precedent interpreting identical langt.i'age in the civil version of R·uIe 36. The
       government corifends PS Rs are not ''part of the record" because they "are created by probation
       officers, not thecourt.'' The govei-nmerit does not cite authority in support of this interpretation. and
       we are aware of none. Further, the government's argument runs contrary to our interpretation of Rule
       36's civil twin, Federal Rule of Civil Procedure 60(a) ("The court may correct I;! clerical mistake or a
       mistake arising from oversight or omission whenever one is found in a judgment, order, or other part
       of the record." (emphasis added}).2 {757 F.3d 199} Under Federal Rule of Civil Procedure 60(a), we
       remanded for correction of a clerical error contained in a settlement agreement drafted by the
       parties. Matter of W. Tex. Mktg. Corp., 12 F.3d 497,498 (5th Cir. 1994). There, under the terms of a
       settlement agreement, the IRS overpaid Kellogg by over $500,000 due to a clerical error. Id. at
       499-500. We explained that: "A mistake correctable under Rule 60(a) need not be committed by the
       clerk or the court and Rule 60(a) is even available to correct mistakes by the parties." Id. at 503-04.
       We held "the relevant test for the applicability of Rule 60(a) is whether the change affects
       substantive rights of the parties ... or is instead a clerical error, a copying or computational mistake,
       which is correctable under the Rule." ld. at 504. "As long as the intentions of the parties are clearly
       defined and all the court need do is employ the judicial eraser to obliterate a mechanical or
       mathematical mistake, the modification will be allowed." Id. at 504-05. Here, it is undisputed the
       mistake is a clerical error, and therefore, remand for correction of the PSR is warranted.
       The government's argument based on Rule 32 is also unavailing. Rule 32(f)(1) provides: "Within 14
       days after receiving the presentence report, the parties must state in writing any objections, including
       objections to material information, sentencing guideline ranges, and policy statements contained in
       or omitted from the report." But, as the Supreme Court observed, "the ancient interpretive principle
       that the specific governs the general (generalia specia/ibus non derogant) applies only to conflict
       between laws of equivalent dignity." Nitro-Lift Techs., L.L.C. v. Howard, 133 S. Ct. 500, 504, 184 L.
       Ed. 2d 328 (2012) (emphasis added}. Here, there is no conflict. The focus of Rule 32 is on
       substantive "material information" such as "sentencing guideline ranges" and "policy statements."
       Thus, there is no conflict between Rule 32's time limit to raise substantive objections to material
       information and Rule 36's provision that clerical errors may be raised "at any time." The relationship


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       between Rules 32 and 36 of the criminal rules is similar in this regard to that between Federal Rules
       of Civil Procedure 59(e) or 60(b), which impose time limits, and Federal Rule of Civil Procedure
       60(a), which allows a motion at any time. See 11 Charles A Wright & Arthur R. Miller et al., Federal
       Practice and Procedure § 2854 (3d ed. 2013) ("Errors of a more substantial nature are to be
       corrected by a motion under [Federal] Rules [of Civil Procedure] 59(e) or 60(b)"; whereas, "[Federal
       Rule of Civil Procedure 60](a) deals solely with the correction of errors that properly may be
       described as clerical or as arising from oversight or omission."). Because Rule 32 and Rule 36
       address two separate categories of errors, they do not conflict. Thus, Rule 32 does not bear on our
       interpretation of Rule 36.
       We note that our conclusion is consistent with persuasive authority. In United States v. Knockum,
       881 F.2d 730 (9th Cir. 1989), the Ninth Circuit directed the district court "to forward a transcript of the
       sentencing hearing to the Bureau of Prisons to be attached to the presentence report on Knockum"
       under Rule 36. Id. at 733. The court explained:
             There is ... a ready remedy for failure of the district court ... to attach the transcript of the
             sentencing hearing to the presentence report. That remedy is provided by Fed. R. Crim. P. 36,
             which {757 F.3d 200} provides that clerical mistakes in judgments, orders or other parts of the
             record "may be corrected by the court at any time."/d. at 732. Our conclusion is also consistent
             with the view of a leading treatise,3 which states that, although Rule 36's civil twin, Federal Rule
             of Civil Procedure 60(a), "does not define what constitutes the 'record' for purposes of the
             application of the rule," "[t}he interests of judicial administration call for a broad interpretation of
             the term 'record,' and a few courts have given such a broad interpretation of the term." 12 James
             Wm. Moore et al., Moore's Federal Practice§ 60.10 (3d ed. 2014) (collecting sources).
       Further, the case relied on by the district court, United States v. Llanos, 59 F. App'x 412 (2d Cir.
       2003), is not to the contrary, as the government itself concedes in its brief. There, the defendant
       argued his PSR erroneously stated he was an "alien" even though he is a United States national. Id.
       at 413. The Second Circuit rejected his appeal because Rule 36 was "not a proper vehicle for his
       motion." Id. at 414. The court explained that the defendant's citizenship status was disputed and was
       based on a citizenship application that had been denied. Thus, the court concluded the defendant's
       "claim involves more than the 'mechanical' correction of a clerical error." Id. at 414. Thus, Llanos is
       irrelevant because it concerned a material error, whereas all parties agree that the error here is
       clerical.
       Finally, we note the limits of our holding. As under Federal Rule of Civil Procedure 60(a), "[l}et it be
       clearly understood that Rule [36] is not a perpetual right to apply different legal rules or different
       factual analyses to a case. It is only mindless and mechanistic mistakes ... and no new additional
       legal perambulations which are reachable through" Rule 36. See W. Tex. Mktg., 12 F.3d at 505.
       Therefore, we conclude the PSR is a "part of the record" within the meaning of Rule 36. Further, we
       conclude this error is not harmless because it affects Mackay's substantial rights.4
       Ill. CONCLUSION

       For the foregoing reasons, we REVEf~SE t~,e district court and REMAND with instructions to the
       district court to correct the clerical error in the PSR.

                                                                       Footnotes




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       /       The Eighth Circuit relied on an empirical law review article that the authors wrote under a contract
   I           with the Federal Judicial Center. The authors concluded that, if the defendant is incarcerated, the
       \       PSR
                   is used in determining both the proper institution and the defendant's classification wnhin the
                   institution. The [PSRJ also plays a crucial role in parole decisions and in aiding parole
                   supervision when the defendant returns to the community. Finally, the [PSR] serves as a source
                   of information beyond its use in the treatment and supervision of the offender: it is requested
                   frequently by correctional, social service, and law enforcement agencies, by researchers, and by
                   others who come into contact witt1 the offender.
       I
               Stephen A. Fennell & William N. Hall, Due Process at Sentencing: An Empirical and Legal Analysis
               of the Disclosure of Presentence Reports in Federal Courts, 93 Harv. L. Rev. 1615, 1628 (1980)
               (footnotes omitted). Further, here, the government concedes in its brief that "some of Mackay's BOP
               records do reflect a conviction for cocaine rather than marijuana." The government goes on to argue
           1
               Mackay has not exhausted his administrative remedies, but the availability of administrative
       /
               remedies is not in the record on appeal and is therefore not properly before this Court.
               2
               Rule 36 and Federal Rule of Civil Procedure 60(a} codified the same existing common law rule. Rule
               36, advisory committee notes ("This rule continues existing law. The rule is similar to rule 60(a) of
               the Federal Rules of Civil Procedure." (citations omitted)).
               3
               The advisory committee notes to Federal Rule of Civil Procedure 60(a) state: "The amendment
               incorporates the view expressed in ... Moore's Federal Practice."
               4
               See supra note 1 and accompanying text.




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                               92 LED 1690, 334 US 736 TOWNSEND v. BURKE

                                                FRANK TOWNSEND, Petitioner,
                                                                          vs.
                                  C. J. BURKE, Warden, Eastern State Penitentiary

                                            [92 L Ed 16901 (334 US 736-741.)

                                                                    [No. 542.]

                                     Argued April 27, 1948. Decided June 14, 1948.


                                                                 SUMMARY




     One held virtually incommunicado for a period of forty hours after his arrest, during which he
 was several times interrogated but not beaten, misused, threatened or intimidated, was convicted
 in a state court on his plea of guilty. He was not offered or advised of his right to assistance of
 counsel. In imposing sentence the court, either through misinformation or misreading of the
 record, acted on certain assumptions concerning his criminal record which were materially untrue.

     Six members of the Supreme Court, in an opinion by Jackson, J., held (1) that in the absence
 of any allegation that it induced the plea of guilty, any illegality in holding him incommunicado
 was immaterial; (2) that the disadvantage from the absence of counsel who might have corrected
 the court's mistaken assumptions regarding his criminal record amounted to a failure to accord
 due process.
       Vinson, Ch. J., and Reed and Burton, JJ., dissented without opinion.
                                            HEADNOTES

                           Classified to U.S. Supreme Court Digest, Lawyers' Edition

 Constitutional Law, § 831 - due process - conviction on plea of guilty by one held
 incommunicado.
     I. The holding of one charged in the state courts with crime virtually incommunicado for a
 period of 40 hours between his arrest and plea of guilty, during which he was subjected to

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  questioning from time to time, does not, though illegal, violate. his constitutional rights, where i1
  docs not appear that it induced the plea (distinguishing McNabb v. United States, 318 US 332, 87
  Led 819, 93 S Ct 608, and Haley v. Ohio, 332 US 596, ante, 224, 68 S Ct 302).

  Criminal Law, § 46 1/2 - due process - failure to offer assistance of counsel.

      2. Although failure to ofter, to om: charged in a state court with a non-capital offense,
  assignment of counsel, or to advise him of his right to counsel before accepting a plea of guilty,
  may not render his conviction invalid for lack of due process, the requirement of due process is
  violated where while disadvantaged by lack of counsel he was sentenced under the basi.<, of
  assumptions concerning his criminal record which were materially untrue.<''pg. 1691>

  Constitutional Law, § 831 - due process•· erroneous judgment.

 )'    3. An erroneous judgment of a court in a criminal case, based on a scrupulous and severe
'
(_ search ~or the trnth, ma~y~t ~e-~?~ pr_ocess oflaw.
                                                                  .




      ON WRIT of Certiorari to the Supreme Court of the Commonwealth of Pennsylvania to
  review the denial of a writ of habeas corpus sought by one alleging that his conviction of crirne
  was in violation of const1tut1onal rights.

  Held:

  Reversed.

                                APPEARANCES OF COUNSEL ARGUING CASE
      Archibald Cox, of Boston, Massachus,etts, argued the cause and filed a brief for petitioner:

  Petitioner '-Vas mnigned and sentenced without due process of law.

 ln reviewing a conviction alleged to result from the denial of the fundamental right of an
 opportunity to meet the accusation against the accused, this court will not confine itself to the
 judicial proceeding but will scrutiniz,e the prior conduct of the state authorities in dealing with the
 petitioner to ascertain whether it vitiated a proceeding which was formally correct. Frank v.
 Mangum, 237 US 309, 327, 59 Led 969, 980, 35 S Ct 582; Smith v. O'Grady, 312 US 329, 85 L
 ed 859, 61 S Ct 572; Mooneyv. Holohan, 294 US 103, 79 Led 79 l, 55 S Ct 340, 98 ALR 406;
 Carter v. Illinois, 329 US 173, 175, 91 Led 172, 174, 67 S Ct 216. Cf. Von Moltke v. Gillies,
 332 US 708, ante, 309, 68 S Ct 316; Brown v. Mississippi, 297 US 278, 80 L cd 682, 56 S Ct

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  461; Malinski v. New York, 324 US 401, 89 Led 1029, 65 S Ct 781. See also Moore v.
  Dempsey, 261 US 86, 67 Led 543, 43 S Ct 265.

  The fundamental unfairness which vitiates the sentence under which petitioner is held resulted
  from the concurrence of three factors: (a) the complexity of the accusations; (b) the misconduct
  of the police; and (c) the indifference of the trial court towards petitioner's rights. Sec Williams v.
  Kaiser, 323 US 471, 89 Led 398, 65 S Ct 363.

 The misconduct of the state authorities increased petitioner's need for the assistance of counsel.
 See McNabb v. United States, 318 US 332., 342, 343, 87 Led 819, 825, 826, 63 S Ct 608; Haley
 v. Ohio, 332 US 596, ante, 224, 68 S Ct 302.


 The trial court omitted any measures which might have protected petitioner against unfairntss.
     Franklin E. Barr, of Philadelphia, Pennsylvania, argued the cause, and, with John H. Maurer, also of
 Philadelphia, Pennsylvania, filed a brief for respondent

 In crimes other than murder, accused has a right to be heard by counsel, but it has never been the
 law that he must be supplied with counsel. Com. ex rel. McGlinn v. Smith, 344 Pa 41, 24 A2d 1.

 When a defendant pleads guilty tl1t: courl. i.s not bound to appoint counsel to represent him. Com.
 ex rel. Curtis v. Ashe, 139 Pa Super 417, 12 A2d 500; Com. ex rel. Cook v. Ashe, 144 Pa Super
 I, 19 A2d 532; Com. ex rel. Billing~ v. Ashe, 144 Pa Super 209, 2 l l, 19 A2d 749; Com. ex rel.
 Shaw v. Smith, 147 Pa Super 423, 24 A2d 724; Com. ex rel. Uveges v. Ashe, 161 Pa Super 58,
 61, 62, 53 A2d 894.

                                                                    OPINION


 Mr. Justice Jackson delivered the opinion of the Court.

      The Commonwealth of Pennsylvania holds petitioner prisoner under two indetenninate
 sentences, not exceeding IO to 20 years, upon a plea of guilty to burglary and robbery. On review
 here of the State Supreme Court's denial of habeas corpus,I the prisoner demands a discharge by
 this Court on federal constitutional grounds. <*pg. 1692>

    Petitioner, while a fugitive, was indicted on June 1, 1945, for burglary and armed robbery.
 four of his alleged accomplices had been arrested on May l 8, 1945, and signed a joint confession,

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  whi1e a fifth had been arrested on May 21, 1945, and had also confessed. Petitioner was arrested
  on June 3, 1945, and confessed on June 4. On June 5, after pleading guilty to two charges of
  robbery and two charges of burglary and not guilty to other charges, he was sentenced.

     [l]Petitioner now alleges violation of his constitutional rights in that, except for a ten-minute
  conversation with his wife, he was held incommunicado for a period of 40

       (334    us 738]
       hours between his arrest and his plea of guilty. He does not allege that he was beaten,
  misused, threatened or intimidated, but only that he was held for that period and was several times
  interrogated. He docs not allege that the questioning was continuous or that it had any coercive
  dkct.

     The plea for relief because he was detained, as he claims, unlawfully is based on McNabb v.
 United States, 318 US 332, 87 Led 819, 63 S Ct 608. But the rule there applied was one against
 use of confessions obtained during illegal detention and it was limited to foderal courts, to which
 it was applied by virtue of our supervisory power. In this present case no confession was used
 because the plea of guilty in open court dispensed with proof of the crime. Hence, lawfi1lness of
 the detention is not a factor in determining admissibility of any confession and if he were
 temporarily detained illegally, it would have no bea1i11g 011 lbe valillity of bis present confinement
 based on his plea of guilty, particularly since he makes no allegation that it induced the plea.

     Petitioner also relies on Haley v. Ohio, 332 US 596, ante, 224, 68 S Ct 302, in which this
 Court reversed a state court murder conviction because it was believed to have been based on a
 confession wrung from an uncounsded 15-year-old boy held incommunicado during questioning
 by relays of police for several hours late at night. Even aside from the differing facts, that case
 provides no precedent for relief to this prisoner since, as has been said, no confession was used
 against him, and he does not allege that his picas of guilty resulted from his allegedly illegal
 detention.

     12JPetitioner also says that when he was brought into court to plead, he was not represented
 by counsel, offered assignment of counsel, advised of his right to counsel or instructed with
 pmticularity as to the nature of the crimes with which he was charged. This, he says, under the
 circumstances deprived his conviction and sentence

      [334    us 739]
       of constitutional validity by reason of the due process clause of the Fourteenth Amendment.2

   , ~)nly recen~ .a majority of this Court reaffirmed that the due process clause of the Fourteenth


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  Amendment docs not prohibit a State from accepting a plea of guilty in a non-capital case from an
  uncounselcd defendant. Bute v. Illinois, 333_ US 640, ante, 986, 68 S Ct 763. In that, and in
  earlier cases, we have indicated, however, that the disadvantage from absence of counsel, when
  aggravated by circumstances showing that it resulted in the prisoner actually being taken
  advantage of, or <*pg. 1693> prejudiced, does make out a case of violation of due process.

      The proceedings as to this petitioner, following his plea of guilty, consisted of a recital by an
  officer of details of the crimes to which petitioner and others had pleaded guilty and of the
  following action by the court: [Italics supplied].

       ''By the Court (addressing Townsend):
       "Q. Townsend, how old are you?

       "A. 29.

       "Q. You have been here before, haven't you?

       "A. Yes, sir.

     "Q. 1933, larceny of automobile. 1934, larceny of produce. 1930, larceny of bicycle. 1931,
 entering to steal and larceny. 1938, entering to steal and larceny in Doylestown. Were you tried
 up there? No, no, A..tTested in Doylestown. That was up on Gemiantown

      [334    us 740}
       Avenue, wasn't it? You robbed a paint store.

      "A. No. That was my brother.

       "Q. You were tried for             it, weren't you?

      '' A. Yes, but I was not guilty.
     "Q. And 1945, this. 1936, entering to steal and larceny, 1350 Ridge Avenue.                                                rs   that your
 brother too?

      "A. No.

    "Q. 1937, receiving stolen goods, a saxophone. What did you want with a saxophone? Didn't
 hope to play in the prison band then, did you?

      "The Court: Ten to twenty in the Penitentiary."

      The trial court's facetiousness casts a somewhat somber reflection on the fairness of the

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    proceeding when we learn from the record that actually the charge of receiving the stolen
    saxophone had been dismissed and the prisoner discharged by the magistrate. But it savors of
    foul play or of carelessness when we find from the record that., on two others of the charges
    which the court recited against the defendant, he had also been found not guilty. Both the 1933
    charge of larceny of an automobile, and the 1938 charge of entry to steal and larceny, resulted in
    his discharge after he was adjudged not guilty. We are not at liberty to assume that items given
    such emphasis by the sentencing court, did not influence the sentence which the prisoner is now
    servmg.

               We believe that on the record before us, it is evident that this uncounseled defendant was
    either overreached by the prosecution's submission of misinformation to the court or was
    prejudiced by the court's own misreading of the record. Counsel, had aiiy been present, would
    have been under a duty to prevent the cc~urt from Qt<?~eeding on such false assumptions and
    perhaps            under a duty to seek remedy
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                                                                                         ('.onsequently, on this record "i:Ve
    conclude that, while disadvantaged by

              [334         us 741]
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       !ack of counsel, this prisoner was senten~e,d on the basis of a~~~mptions con~~minf his
    criminal reco'.<f"\v~i~li~wet~·iiJ¥fedaliy·untrue. s·uch ~t result; ·;_vhether caused by carelessness or

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    design, is inconsistent with due process        oflaw,
                                          .. ...,........      _  and such a conviction cannot stand
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          We would make clear that we are not reaching this result because of petitioner's allegation
    that his sentence was unduly severe. The sentence being within the limits set by the statute, its
    severity would not be grounds for relief here even on direct review of the conviction, much lc:ss
    on review of the state court's denial of habeas corpus. It is not the duration or severity of this
    sentence that renders it constitutionally invalid; it is the careless or designed pro,119u_ncem~nt of
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    opportunity to conect by t~e ~eryic~~- which counsel would provide, that renders the P.~~.ce~ct41gs
    lacking_ in due pi-ocess. -                 .        . . -··· . . .                  ....
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         [3]Nor do we mean that mere error in resolving a question of fact on a plea of guilty by an
    uncounseled defendant in a non-capital case would necessarily indicate a want of due process of
     law. Fair prosecutors and conscientious judges sometimes <*pg. 1694> are misinformed or draw
     inferences from conflicting evidence with which we would not agree. ( But even an errq_QJ~Q\lS
    ju~g_ment 1 ~a~e~-~-r1-~_scE:1Pulous and diligent search i(?r truth, may be due pr~'._c!.S.~-~_(l~~w)
        In this case, counsel might not have changed tht:. sentence, but he could have taken steps to
    see that the conviction and sentence were not __Qredicated .on misinformati9n_o_r _misr~ading__ot:
    court rec?r~s,. a__r~9u!:1:.~~~~_t .~! fait pl~y which absence of counsel withheld from this prison~r.


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                                     136




        Reversed.

  The Chief Justice, Mr. Justice Reed, and Mr. Justice Burton, dissent.

                                                                  FOOTNOTES

    1 Respondent raised no procedural or jurisdictional issues in this Court or in the State Supreme
 Court. Since petitioner has throughout based his claim for relief solely on alleged deprivation of federal
 constitutional rights, we assume that those questions were considered by the Supreme Court of
 Pennsylvania and are therefore open here. Herndon v. Lowry. 301 US 242, 247, 81 Led 1066, 1069, 57
 S Ct 732.

     2 The Supreme Court of Pennsylvania has frequently held that the state constitutional provision
 according defendants the right to be heard by counsel does not require appointment of counsel in
 non-capital cases. See, for example, Com. ex rel. McGlinn v. Smith, 344 Pa 41, 24 A2d 1; Com. ex rel.
 Withers v. Ashe, 350 Pa 493, 39 A2d 610. See also Betts v. Brady, 316 US 455, 465, 86 Led 1595,
 1603, 62 S Ct 1252. The Pennsylvania statutes require only that destitute defendants accused of murder
 shall be assigned counsel. Act of March :22, 1907, 19 Pa Stat Anno§ 784.




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                     CASE NO.   06-20758-CR-ALTONAGA(s) (s)

   UNITED STATES OF AMERICA

        v.

   ROY M. BELFAST, JR.
   _____________ !

      UNITED STATES' RESPONSE IN OPPOSITION TO DEFENDANT BELFAST'S
           MOTION FOR REVIEW AND OR THE AMENDMENT OF THE PSR

        The   United   States       of    America    respectfully    submits      that

   defendant Roy M. Belfast's Motion For Review And Or The Amendment Of

   The PSR, DE 665, should be dismissed for lack of jurisdiction. Insofar

   as the defendant attempts to attack a conviction whi r:h her:i:l.me final

   years ago, he cannot establish jurisdiction over claims which are

   otherwise untimely and which result, not for the first time,                   from

   profoundly erroneous legal and factual misconceptions.                Insofar as

   the defendant takes issue with his failure to obtain administrative

   remedies   from   the   Bureau    of    Prisons   (BOP),   he   has   raised   his

   objections in the wrong venue, relied on authorities abrogated by

   later regulations, and has not presented a valid basis for any relief.

   For the reasons explained below,             the Court lacks jurisdiction to

   consider the motion, which is also meritless.

                                     INTRODUCTION

        A second superseding indictment charged the defendant with


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   conspiring to commit acts of torture,                    in violation of 18 U.S.C.

   §234 OA ( c);    conspiring to use         and     carry a     firearm during and in

   relation to a crime of violence,                   pursuant to 18 U.S.C.         §924(0);

   committing acts of torture in violation of 18 U.S. C. §234 OA; and using

   and carrying a firearm during and in relation to a crime of violence,

   pursuant        to   18   U.S.C.   §924(c).       DE   257.     While    the   indictment

   addressed the defendant's role in conspiracies to violate torture

   and firearms statutes, only the defendant was charged.

         The statute criminalizing torture provides that:

                   Whoever outside the United States commits or
                   attempts to commit torture shull be fined under
                   this title or imprisoned not more than 20 years


   18   U.S.C.      §2340A(a)     (emphasis      added).         Congress   has   also   made

   conspiring to commit torture an offense.                      18 U.S.C. §2340A(c).

         In a paragraph separate from both of the statutory provisions

   establishing          the    substantive          offense      of   torture     and    the

   corresponding conspiracy offense, Section 2340A provides grounds for

   jurisdiction where:

         ( 1) the alleged offender is                 a   national     of the United
         States; or

         (2) the alleged offender is present in the United States,
         irrespective of the nationality of the victim or the
         alleged offender.

   18 U.S.C. §2340A(b).

         Count 1 of the second superseding indictment, which alleged that


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   the   defendant    conspired    to   commit     torture,       included   a   section

   describing acts in furtherance of the conspiracy.                 DE 257: 4-11.     In

   accordance with Department of Justice policy, neither the victims

   referenced   in this       section nor       unindicted    co-conspirators        were

   identified by name.         Certain specific unindicted co-conspirators

   were referred to with the letters B,                C, or D.    In a letter dated

   September 10,      2007,   the United States provided the defendant's

   counsel with the names of the unindicted co-conspirators referenced

   in the indictment as co-conspirator B, C, and D.

         Before his trial, the defendant moved to dismiss the charges

   against him on various constitutional grounds and under the Foreign

   Sovereign Immunities Act        (FSIA), 28 U.S.C. §1604 et seq.               DE 38.

   This Court rejected his arguments, including those based on the FSIA.

   DE 148.   The order denying the motion to dismiss cited United States

   v. Noriega, 117 F.3d 1206, 1212 (11 th Cir. 1997) in connection with

   the observation that the FSIA did not apply in criminal cases. DE

   148:24.

         The defendant's jury trial went forward in September,                    2008.

   During the trial, the United States presented evidence of the Court's

   jurisdiction establishing that the defendant was                   a natural-born

  United States citizen and that he was present in the United States.

   DE 587:66 (the defendant was born in the United States); GX CE 5

   (defendant's      birth    certificate);       DE    591:36,     38   (defendant's


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   statement to defense attache that he was American); GX CE 10 (message

   from defendant stating he is American); GX CE 11                               (electronic mail

   message       from    defendant         stating         "I   am    an   American   first");       DE

   595:113-16, 155-158, 170 (defendant's arrest at Miami International

   Airport and statement that he was born in Boston, Massachusetts);

   GX CE 1 (defendant's United States passport); GX CE 16 (defendant's

   arrest warrant executed in the Southern District of Florida).

          Evidence that the defendant committed and conspired to commit

   the charged torture and firearms offenses is not, for the most part,

   relevant to his pending claims,                         but has been summarized in the

   Eleventj Circuit's opinion affirming his conviction. United States

   v. Bcl.fa:::;L, 611 F.3d 783 (11 th Cir. 2010), cert. denied, 131 S.Ct.

   1511 (2011). During presentation of its case-in-chief, however, the

   United       States       elicited      evidence        that      co-conspirator    "D,"    David

   Compari, was Gambian, and that co-conspirator C, Charles Taylor, was

   born   ir.    Africa.         DE   586:34;         DE    587:132;       DE   590:174;    595:176.

   Nothing      in record        from the defendant's                 trial     suggests    that   any

   conspirator, referenced in the indictment or not, was a United States

   citizen or present in the United States.

             The jury found the defendant guilty on all                             counts of the

   indictment.          DE    581.      Prior    to    sentencing,          the   defendant    filed

   objections to the PSR.               DE 614.        In those objectionf>, the defendant

   disputed       the    choice       of   the    guideline           offense     section   used     to


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   determine his sentencing range, and objected to the PSR' s application

   of rules for grouping multiple counts of conviction. He also sought

   to reduce his exposure under the guidelines by seeking a variance

   based on factors enumerated in 18 U.S.C. § 3553(a).                   Nothing in his

   objections addressed the PSR's description of the offense conduct,

   and no objection claimed that any facts were omitted from that

   description. None of the objections the defendant makes now were

   raised before sentencing pursuant to Fed.R.Crim.P. 32 or otherwise.

   This Court imposed a sentence of incarceration for 1164 months.                      DE

   618.

              The dcfcndQnt QppcQlcd hie conviction Qnd • cntcncc. His direct

   appeal,       in summary,         challenged congressional authority to enact

   Sections 2340 and 2340A;                argued that the conspiracy provision of

   Section        2340A(c)          violated   international    law;     disputed     the

   extraterritorial application of Section 924(c); protested numerous

   purported evidentiary, discovery and instructional errors; objected

   that the court unfairly deprived the defense of an interpreter's

   services; and claimed that the court misapplied the United States

   Sentencing Guidelines.

              The court of appeals affirmed the defendant's conviction and

   sentence.          Belfast, 611 F.3d 783 (11 th Cir. 2010), cert. denied, 131

   S . Ct .    1511    ( 2011 ) .    The   Supreme Court denied    his    petition    for

   certiorari on February 22, 2011.                  131 S.Ct. 1511.


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         After his conviction was affirmed, the defendant collaterally

   attacked his conviction and sentence pursuant to 28 U.S.C. §2255. 1

   CIVDE 1.       He contended that his trial and appellate counsel were

   ineffective for failing to challenge a jury instruction defining

   action under color of law on the ground that it resulted i~ a fatal

   variance from the indictment, appearing to claim as well that the

   United States presented insufficient evidence to prove such action

   and   thus   to    con vi ct.    The    defendant     also    claimed       ineffective

   assistance of appellate counsel because counsel did not pursue relief

   for the absence of a jury instruction addressing the object of the

   conspiracy to         torture.    The    defendant     objected      that     his   trial

   coun0el's suµµo::,eu lctck. of liect.Lscty uuj eclluns to the October 0, 2000

   testimony of witness Wesley Sieh constituted ineffective assistance.

   In a supplemental filing, CIVDE 6, the defendant attempted to raise

   additional      claims    that   appellate      counsel      was    ineffective       for

   challenging certain "hearsay" statements in a cursory fashion, and

   for not challenging the Section 924 (c) conviction because the United

   States   did    not    offer proof      that   the   charged       firearms    affected

   interstate or foreign commerce.            He also expanded his color-of-law

   claim, applying it to trial as well as appellate counsel as grounds

   for   finding     ineffective    assistance.         All   of his     arguments were

   rejected, first in a magistrate judge's report n.nd recommendation,


       The    collateral  attack   was    docketed   as   Case   No.
   12-20754-CIV-ALTONAGA, and filings from that case are referred to
   herein with the prefix "CIVDE.n

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   CIVDE 13, and then in an order from this Court. CIVDE 21.                That order

   denied a certificate of appealability.                The court of appeals denied

   his application for reconsideration of that order. CIVDE 29.

          After the conclusion of his collateral attack, the defendant

   moved for judicial notice of arguments rejected before the verdict,

   during his direct appeal, and in connection with his Section 2255

   petition, along with arguments he raises now in the motion at bar.

   DE 657.        This Court denied the defendant's application on the basis

   that "There are no proceedings pending in this closed case for which

   the Court needs to take judicial notice."                 DE 658.

          The defendant next submitted a cover letter and letter to the

   Court, DE 659, 660, lll.slsting that his letter not be construed as

   a motion, DE 660:1, and outlining contentions similar to those in

                                           2
   the motion at issue here, DE 665.               The defendant later sent the Court

   a   copy of what       appears to be        a demand    letter addressed to the

   prosecution,       DE 663,   followed by another letter addressed to the

   Court, DE 664, where the defendant objected to purported errors in

   his PreSentence Investigation Report (PSR).

          The defendant has now submitted the above-captioned motion, DE

   665, and this Court has ordered the United States to respond.                      DE

   666.      In    the   motion,   the   defendant      attempts   to   challenge   the

   sufficiency of the evidence supporting his convict inn, c=inrl risk:=: this



  2 A party seeking relief from a United States District Court, however,
   "must do so by motion."          Fed.R.Crim.P. 47(a).

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   Court to vacate his conviction.       He does so in the context of seeking

   to correct supposed errors in his PSR.

        Mere specifically,        the defendant protests that at trial the

   United States failed to prove,        and the PSR does not show,             facts

   supporting his conviction for conspiracy to torture because no facts

   were alleged or proved that: 1) the offense conduct occurred in the

   United States; 2) victims of the offense were United States citizens

   or residents; 3) co-conspirators had minimum contacts with the United

   States or were persons as defined in the fourteenth amendment; 4)

   the conspiracy was formed or had effects in the United States; and

   5) the case was subject to an exemption under the FSIA.

        The defendant also objects that his trial counsel erred by

   seeking to apply the FSIA to the defendant himself rather than his

   unindicted    co-conspirators.            He    raises       various    claims     of

   prosecutorial   misconduct,      arguing       that   the    prosecution   somehow

   committed fraud because the defendant's conspirators were not United

   States   citizens   and because    federal       funds were      used to   further

  prosecution of his      case.      He accuses      a United States        Probation

  Officer of fraud, apparently for no more than his disagreement with

  the defendant's assertions regarding the validity of his conviction.

  He also accuses BOP officials of fraud based on their response to

  the   defendant's    pursuit    of administrative            remedies   premised on

   challenges to his conviction similar to those he makes here.




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         It appears that the defendant is attempting to fashion all of

   his claims under the auspices of the Privacy Act of 1974, 5 U.S.C.

   § 552a et seq., and related authorities.              Thus, he asks the Court

   to amend purported inaccuracies in his PSR,               and also demands an

   unspecified writ; vacation of his conviction; and investigation of

   prosecutors,    a   Probation Officer,          and the BOP conducted by the

   Federal Bureau of Investigation, the same agency he has elsewhere

   accused of misconduct. DE 664:6; 670:2.

         Regardless     of   how the defendant         characterizes   his   claims,

   insofar as they challenge the validity of his conviction, they amount

   to an untimely and unauthorized successive application under 28

   U.S.C. § 2255 which the Court lacks jurisdiction to adjudicate, in

   addition to     having    no   legal or       factual merit.   Insofar    as   the

  defendant challenges the conditions of his confinement or the denial

   of administrative remedies under the Privacy Act or otherwise, he

   seeks relief in an inappropriate venue under authority that is no

   longer valid.       Accordingly, as explained below, his motion should

   be dismissed for lack of jurisdiction and otherwise denied.

                                      LEGAL ANALYSIS

         I.   This Court Lacks Jurisdiction Over The Defendant's Motion

         Courts routinely construe prisoner petitions without regard for

   labeling to determine what if any relief the petitioner is entitled

   to.   E.g., United States v. Harris, 546 Fed.Appx. 898, 900 (11 th Cir.

   2013); Chambers v. United States, 106 F.3d 472, 474 (2d Cir. 1997).

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   Although the defendant captions his pending motion as one seeking

    to amend his PSR, in the body of his motion, he challenges the validity

   of    his    conviction        and    sentence,        claiming       they    are    based      on

   "misinformation of a            constitutional magnitude [,]" DE 665: 1.                        He

   asserts that the Court lacked jurisdiction over his case, challenges

   the sufficiency of the evidence supporting his conviction, invokes

   the due process clause of the "fourth" (presumably meaning the fifth)

   and   fourteenth      amendments,        claims        trial   counsel       made   the wrong

   i'lnJ11mPnt when seeking di,smi.ssal of the indictment,                    and objects that

   the Court relied on erroneous information at sentencing.                                He asks

   the Court to vac3tc hie conviction.

          Such post-conviction challenges to the legality of a conviction

   should be brought in a motion to vacate under 28 U.S. C.                                 §2255.

   Gonzalez      v.     Crosby,     545     U.S.        524,    530-32     ( 2005) ( an     action

   collaterally attacking the validity of the conviction or imposition

   of the sentence should be filed as a motion to vacate under Section

   2255);      United    States     v.    Jordan,        915   F.2d    622,     629    (11 th   Cir.

   1990) (same); United States v. Spellissy, 346 Fed.Appx. 446, 450-51

    (11 th Cir. 2009) (a petitioner making a collateral challenge to his

   conviction     on     any   ground      other        than   newly   discovered         evidence

   demonstrating actual innocence may do so only through a§ 2255 motion).

   In Spellissy, the Eleventh Circuit explained that once a conviction

   has been affirmed on direct appeal, any argument challenging that

   conviction,         including         arguments        dealing      with      prosecutorial


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   misconduct,      ineffective assistance of counsel, and sufficiency of

   the evidence, can only be raised in the context of a proper§ 2255

   motion.      Because these are precisely the kind of claims the defendant

   makes, his motion is properly construed as an application under that

   , statute.    A motion to amend a PSR may be construed as a § 22 55 petition

   or a§ 2241 petition directed at an agency's use of supposedly false

   information.      United States v. Peloso, 824 F.2d 914, 915 (11 th Cir.

   1987) .

          The Anti terrorism      and Effective          Death   Penalty Act   of   19 96

   (AEDPA), however, requires that:

          Before a second or successive application permitted by
          this section is filed in the district court, the applicant
          shall move in the appropric:ttc court of o.ppco.ls for o.n order
          authorizing    the   district    court    to    consider     the
          application.

   28 U.S.C. § 2244 (b) (3) (A).

          A three-judge panel of the court of appeals may authorize a

   second or successive application only if it presents a claim not

   previously raised       (a)   that    relies       on a   new retroactive   rule of

   constitutional law that was previously unavailable, or (b) for which

   the    factual   predicate could not have been previously discovered

   through the use of due diligence and the facts underlying the claim

   would establish by clear and convincing evidence that no reasonable

   fact    finder would have      found    the petitioner guilty but           for the

   constitutional      error.    28     U.S.C.    §    2244(b)(2)(A),    (B)(I)-(ii);

   2244 (b) (3) (B); see 28 U.S.C. § 2255(h). If a petitioner files a second


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   or successive habeas petition without first seeking permission from

   the     appellate      court,      however,        the       District   Court      is    "without

   jurisdiction to entertain it." Burton v. Stewart, 54 9 U.S. 14 7, 153

    ( 2007).

           The defendant has already sought relief under§ 2255.                                 That

   petition was denied.             The claims in the instant motion attacking his

   conviction could have been raised in the earlier§ 2255 motion, but

   were not.        Indeed,    the defendant's claims could have been raised

   during his       trial     uL    :::;e11Lencing,        but were not.        Critically,      thP.

   defendant has not sought, let alone obtained, permission from the

   appellate     court to          submit tho.:-ie         cldllll.s.   Thus,   he    hoc   filed   a

   successive       and   unauthorized §          2255 petition,            leaving the       Court

   without jurisdiction over his ill-conceived motion.                               United States

    v. McCray, 567 Fed.Appx. 859, 860 (11 th Cir. 2014) (district court

    lacked jurisdiction over post-conviction motion to amend PSR filed

   after collateral attack); United States v. Greenwood, 322 Fed.Appx.

    693,   694-95    (11 th Cir.) (same),        cert. denied,           558 U.S.     929    (2009).

   Accordingly, the motion should be dismissed.

           II.   The Defendant May Not Seek Relief Under 28 U.S.C. § 2241

           The defendant seeks an unspecified writ. DE 665: 15.                        He may not,

    however, avoid the restrictions and jurisdictional bars to Section

    2255 claims by seeking a writ of habeas corpus under§ 2241, assuming

    that is the writ he demands.                  To seek relief under§ 2241,                    the

    defendant must establish that the remedy provided under Section 2255

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   is "inadequate or ineffective to test the legality of his detention."

   28 U.S.C. § 2255(e). The petitioner bears the burden of presenting

   evidence     that   affirmatively    shows       the   Section          2255   remedy     is

   inadequate or ineffective.          Brown   v.    Warden,        No.    15-11335 at *4

   ---F.3d --- (11th Cir. Apr. 1, 2016) (available at 2016 WL 1273019).

   Restrictions on Section 2255 motions, standing alone, do not render

   Section 2255 "inadequate or ineffective" within the meaning of the

   savings clause. See Darby v. Hawk-Sawyer, 405 F.3d 942,                          945 (11th

   Cir.2005).

          To challenge his sentence, the defendant must establish that

   he meets each of five ,specjfie rP<]ilirPmPnts         i-l   SP.cl.Ion .?.?41 prc:l.Lllu11e1-

   must satisfy to proceed under Section 2255(e), that:                     (1) throughout

   the   petitioner's     sentencing,     direct      appeal         and    first     §   2255

   proceeding,    this Court's µreceder1L l1ctd specifically and squarely

   foreclosed the claim raised in the§ 2241 petition;                        (2) after the

   petitioner's first§ 2255 proceeding, the Supreme Court overturned

   that binding precedent;      ( 3)   that Supreme Court decision applies

   retroactively on collateral review;          (4) as a result of that Supreme

   Court decision applying      retroactively,            the petitioner's            cur rent

   sentence exceeds the statutory maximum; and (5) the savings clause

   of§ 2255 (e) reaches his claim. Bryant v. Warden, FCC Coleman-Medium,

   738 F.3d 1253, 1274     (11th Cir.2013).

         The defendant makes no showing that the so-called savings clause

   applies, permitting him to seek relief under Section 2241.                         He does

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   not argue that precedent foreclosed his current claims, or that such

   precedent    was   overturned   and   made   retroactively   applicable   on

   collateral review, or that his sentence exceeds a statutory maximum.

   He cannot show any basis for this Court to adjudicate his claims.

         III.   The Defendant's Claims Are Time-Barred

         The AEDPA imposes a one-year statute of limitations on§ 2255

   motions:

         A 1-year period of limitation shall apply to a motion under
         this section. The limitation period shall run from the
         latest of -

         (1) the date on which the judgment of conviction becomes
         final;

         (2) the date on which the impediment to making a motion
         created by governmental action in violation of the
         Ccn • titution or laws of the United States is removed, if
         the movant was prevented from making a motion by such
         governmental action;

         (3) the date on which the right asserted was initially
         recognized by the Supreme Court, if that right has been
         newly   recognized  by  the  Supreme   Court  and  made
         retroactively applicable to cases on collateral review;
         or

         (4) the date on which the facts supporting the claim or
         claims presented could have been discovered through the
         exercise of due diligence.

   28 U.S.C. § 2255(f). A federal conviction becomes final under AEDPA

   when the Supreme Court either denies a certiorari petition or issues

   a decision on the merits. Washington v. United States, 243 F.3d 1299,

   1300 (11th Cir. 2001).




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         More than one year has passed since the Supreme Court's February

   22, 2011 denial of the defendant's petition for certiorari and the

   April 4, 2016 filing of the instant motion.               The defendant does not

   proffer newly discovered facts in support of his claim, or any other

   basis for extending the AEDPA's one-year limitations period.                      His

   claims are accordingly time-barred and should be rejected by this

   Court.

         IV.    The Defendant Has Defaulted On His Claims

         A defendant who fails to object at the trial court level to error

   he believes the court has committed or who fails                      to raise such

   ob7 ection on     appeal   io     proccdurc1ll y burred    from presenting his

   objection in a motion subsequently filed under Section 2255 absent

   a show~ng of cause and prejudice or a fundamental miscarriage of

   justice.     Sec United States v. Frady 1 156 U.S. 152,               166-68 (1982);

   Jvfills v.   United States 1    36 F.3d 1052, 1055 (11th Cir.1994).              The

   defendant acknowledges that the issues raised in his pending motion

   have "never been raised in pre-trial motions, direct appeal, and or

   2255 motion".       DE 665:3.        He makes no attempt to show cause or

   prejudice.

         To show a fundamental miscarriage of justice excusing default,

   the defendant must show he is factually innocent of the offenses of

   conviction,     as opposed to "mere legal insufficiency."                  JvfcKay v.

   United   States,    657    F.3d    1190,    1197-98   (11 th   Cir.    2011).    The

   defendant's objections to his conviction concern supposed bars to

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   prosecution rather than factual innocence.                         Because he has not

   shown cause and prejudice or the requisite miscarriage of justice,

   the defendant has not preserved his claims and is therefore not

   entitled to relief.

           IV.     The Defendant's Arguments Fail On The Merits

           Most of     the defendant's          objections      address     the   absence of

   evidence that any aspect of his offenses occurred in the United

   States.        Yet this is exactly what the United States was required to

   show.         18 U.S.C.    §   2340A(a) (criminalizing          torture "outside           the

   United States").          The defendant's complaints are foreclosed by the

   Elevel!Ll1 Circuit's ruling affirminq his conviction ond otu.tinq thu.t

   "It has long been established that Congress has the power ·to regulate

   the   extraterritorial          acts    of U.S.      citizens."     611     F.3d    at   810.

   Moreover, Section 2340A(u.) "evinces an unmistakable congressional

   intent to apply the statute extraterritorially."                         Id. at 811.       The

   court of appeals determined that all of the defendant's "substantive

   convictions. under the Torture Act are fully consonant with the United

   States         Constitution."          Id.     It      further      determined           that

   "extraterritorial          jurisdiction over           a    conspiracy     charge    exists

   whenever         the      underlying         substantive         crime      applies         to

   extraterritorial          conduct"     and   thus,     "it     follows    that     there    is

   extraterritorial          jurisdiction       to     prohibit    conspiracy to        commit

                                                          11
   violations of the Torture Act as well.                       Id. at 813.




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            Tr.e         defendant           either        misapprehends          or    ignores          the

   extraterritorial                  nature     of   his    offenses.          Proof   of     an   offense

   outside the United States in conformity with statutory requirements

   does not show any evidentiary deficiency or establish the defendant's

   factual           innocence.          Similarly, the nature of such proof does not

   support claims of fraud or other forms of misconduct by prosecutors,

   probation officers,                   or BOP personnel.          The defendant's claim is

   frivolous.

            His FSIA objections fare no better.                         This Court has already

   decided that the FSIA does not apply in the context of the criminal

   rir·oi-,PCl.11.   l ()[I o I   I.II~ cleftollUdl!l.     DE 148;24.      Tl18 defendant did not

   appeal that determination, which remains the law of this case.                                   Under

   the law of the case doctrine, an issue decided at one stage of a case

   is binding at later stages of the same case.                                     Uni tcd    Sta tcs    v.

   Escobar-Urrego,                110 F.3d 1556, 1560 (11 th Cir. 1997).                    The doctrine

   exists "to maintain consistency and avoid reconsideration of matters

   decided during the course of a single continuing lawsuit."                                            Id.

   The prior determination that the FSIA does not apply in this case

   should preclude further consideration of arguments that it does.

            Here, the defendant argues that his unindicted co-conspirators

   are immune from prosecution under the FSIA.                                 He has no standing to

   assert such a claim.                    See Aquamara S. A.      v.   f)P.   7 Mnn t:P. Pn=:sh Produce

   N.A., Inc., 179 F.3d 1279, 1290 (11 th Cir. 1999) (parties other than

   a foreign sovereign ordinarily lack standing to raise the defense

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   of sovereign immunity); Republic of Philippines v. Marcos, 806 F.2d

   344, 360 (2d Cir.1986) (holding that parties in the case did not have

   standing to raise sovereign immunity on behalf of another party);

   Rubin v. Islamic Republic of Iran, 408 F.Supp.2d 549, 562 (N.D. Ill.

   2005) (university could not invoke Iran's sovereign immunity by proxy

   in action to execute judgment against Iranian antiquities loaned to

   university) (citing Powers v. Ohio, 499 U.S. 400, 410-11 (1991)); see

   also    Farnsworth    v.    Zerbst,     98   F.2d      541,     544-45     (5 th   Cir.

   1938) (diplomatic immunity of foreign nationals who conspired with

   defendant, a U.S. citizen, did not excuse that defendant's conduct;

   c:111 cu11spLLciluu:: ulu llul l1ciVe Lu Ge l,Jlusecutecl or prosecutable, and

   defendant had no right to liberty because of the status of his named

   co-conspirators).

          Whatever the status of this defendant's conspirotoro, they were

   not charged; thus, even if they possessed immunity pursuant to the

   FSIA, it is a moot point.     Immunity, if any, for a conspirator confers

   no benefit or protection from prosecution upon the defendant.                        See

   Farnsworth,   98 F.2d at 544-45. His FSIA objections have no merit.

          In an analogous fashion, the defendant confuses elements of the

   crime of torture with facts establishing the Court's jurisdiction.

   The two categories are not synonymous. E.g., United States v. Tinoco,

   304 F.3d 1088, 1108 (ll th C:ir. ?00?) (ciistinguishingbetween facts that

   are elements of an offense        from those        that      address    the court's

   jurisdiction), cert. denied,          538 U.S.   909   (2003);    see also United

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   States v. Yermian, 468 U.S. 64, 68 (1984) ("Jurisdictional language

   need not contain the same culpability requirement as other elements

   of the offense"); United States v. Bryant, 766 F.3d 370, 375 (8th

   Cir. 1985) (requirement of interstate nexus in criminal and civil

   statutes is most often solely for purpose of conferring federal

   jurisdiction rather than of defining substantive elements of an

   offense), cert. denied,      474 U.S. 1054 (1986).

         The   alternative citizenship and present-in requirements of

   Section 2J4UA(b) are Jurisdictional requirements, not elements oI

   the c.ci.minal offenses of torture or conspiracy to torture.                   The

   defendant is simply wrong when he argues his conspiracy conviction

   was deficient    because his        conspirators were beyond the Court's

   jurisdiction.      The    statute      only   requires   proof   regarding     the

   citizenship or presence of "the offender," not each, or even any,

   unindicted coconspirator.          The United States presented overwhelming

   evidence that the offender, namely the defendant, was both a U.S.

   citizen and present in this country.            There was no requirement to

   show that conspirators who were not even charged came within the

   jurisdiction of the Court.         The defendant's content ion is meri tless.

         V.    No Prosecutorial Or Other Misconduct Occurred In This Case

         The defendant      fails   to    support any claim of prosecutorial

   misconduct.     His   case   for      misconduct depends    on   his   erroneous

   theories concerning non-existent evidentiary requirements, as set

   forth above.     Because the United States did not offer proof of

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    unnecessary or irrelevant facts,             the defendant baselessly asserts

    that     agents,    prosecutors,    and others     have   misrepresented      those

    facts.

           His assertions are contradicted by the record from his trial,

    where prosecutors, during direct ex~minations in the government's

    case-in-chief,        elicited      testimony      that    certain     unindicted

    conspirators were foreign nationals.             The Lr.i.dl .r:.-ecord is devoid of

    any statement that any conspirators were citizens of or present in

    the United States.         The defendant, if he did not know the information

    already, received disclosure of the identity of his conspirators well

   in advance of trial, yet raised no objection, meritorious or not,

   based on the status of his conspirators.              The record from his trial

   refutes      any    claim    of    government    misrepresentation       or   other

   misconduct.         Similarly,    the defendant offers no documentation or

   factual support for speculation that any misrepresentation occurred

   before the grand jury.            Moreover, a conviction at trial cures any

   defect in the indictment process.               United States v. Mechanik, 475

   U.S. 66, 73 (1986); United States v. Flanders, 752 F.3d 1317, 1333

    (11 th Cir. 2014) (even if allegations of deception before the qrand

   jury were true, petit jury's verdict rendered it harmless).                      The

   United States rejects any assertion of misconduct before the grand




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    jury   or    this   Court.         The    defendant      has   failed   to      show   such

   misconduct, or any basis for relief. 3

           Since the defendant's conviction was legally valid and not the

   result    of misconduct before              the   grand    jury or   this     Court,      his

   accusations      against      a    Probation Officer and          BOP personnel         must

   similarly fail on the merits as well as for lack of jurisdiction.

           VI.   There Is No Basis For Amending The PSR

           As noted above, this Court no longer has jurisdiction to amend

   the defendant's PSR.              McCray, 567 Fed.Appx. at 860.               Even if the

   pending motion is viewed as an outgrowth of the defendant's efforts

   to obtain administrative remecitPs from trw ROP, Lhe relleI lie c.Jernd11c.J:::

   is unavailable.

           Although his claims are difficult to interpret, the defendant

   appears to seek relief purc:;;ua.ol Lo St::lle1s v. Bureau of Prisons, 959

   F.2d 307      (D.C. Cir. 1992), or to complain about BOP's response to

   his attempts to obtain administrative remedies pursuant to that case.

   In Sellers, an inmate sought relief under the Privacy Act, 5 U.S.C.

   §§   552a(e) (5) and (g) (1) (C), claiming that BOP and the United States

   Parole Commission did not                 comply with     requirements      to    maintain

   accurate      records    or       amend     erroneous      information,        because      a



   3The defendant also asserts that the undersigned has engaged in a
   "pattern of misconduct in International Cases" based on no more than
   a motion filed in United States v. Israel Lazaro Abel, Case No.
   91-413-CR-WPD (S.D. Fla.) (DE 1128).  The defendant overlooks or
   chooses to ignore the response to that motion, id. at DE 1314, and
   the district court's order denying the motion, id. at DE 1328.

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   presentence report stated that Sellers had been convicted of a prior

   bank robbery charge that in fact had been dismissed.                            959 F.2d at

   308-09.      The     D.C.   Circuit        ruled    that    since         the    challenged

   information    was      capable       of being verified,          the     BOP   and   Parole

   Commission were obligated to do more than merely note the inmate's

   dispute with the contested material.

         A complaint that a PSR does not contain accurate information

   is not a challenge to the validity of a conviction or sentence.

   Instead,   such    an    objection       concerns   at     most    the     conditions     of

   confinement or the execution of the defendant's sentence, and may

   only be brouqht, if o.t o.11, under Section 2241.                  :Je0   Di shop v. R.eno,

   210 F.3d 1295, 1304 n. 14 (11th Cir.2000).                   Actions under Section

   2241, however, must be filed in the district where the prisoner is

   incarcerated.      Fernandez v. United States, 911 F.2d 1188, 1195 (11 th

   Cir. 1991); United States v. Kinsey, 393 Fed.Appx. 663, 664 (11 th Cir.

   2010); see also 5 U.S.C.          §   552a(g) (5) (venue under Privacy Act lies

   in district where complainant resides,                or has principal place of

   business, or in which agency records are situated, or in the District

   of Columbia).      Insofar as the defendant seeks merely to amend his

   PSR pursuant to Sellers or otherwise, he has filed his motion in an

   incorrect forum. 4



   4 As a practical matter, if the defendant filed the instant motion
   in his district of incarceration, it would likely be construed as
   exactly what it is: an untimely, unauthorized, procedurally barred
   § 2255 motion to be dismissed or denied on the same grounds as the

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             Even if this Court somehow had venue over the defendant's

   claim, relief would not be available.                 The Sellers decision has been

   abrogated by later regulations where the BOP has exempted material,

   including PSR' s, maintained in central inmate files from the Privacy

   Act    obligations       the    defendant     invokes.            Rush    v.     Samuels,     82

   F.Supp.3d    470,    483-84       (D.D.C.    2015) (and       cases      cited    therein) (a

   remedy under the         Privacy Act is no            longer available to correct

   information in       a   PSR or Central            Inmate    File);      see 28     C.F.R.      §


   §16.97ia)(l),       16.97(j),       16.97(k)(2).            The    defendant        does     not

   actually identify inaccuracies in his PSR.                   Instead, he disputes the

   rSR'c    reporting of hie         oonviotion bccJucc of micconccivcd lcgJl

   arguments    that    the       conviction     is    not     valid.       Regardless,         any

   purported    factual      inaccuracies        in his      PSR or other BOP           records

   provide no basis for relief under the Privacy Act or changes to his

   PSR.    There is no merit to his claims.

                                               CONCLUSION

           Finality is essential to the operation of the criminal justice

   system.     Spencer v.         United States, 773 t'.3d 1132, 1144                 (11 th Cir.

   2014) (citing Teague v. Lane, 489 U.S. 288, 309, (1989), cert. denied,

   1315 S.Ct. 2836 (2015)).            The defendant provides this Court with no

   reason to disregard principles upholding the finality of criminal

   convictions.     His motion depends on legal and factual misconceptions

   which, apart from their lack of merit, were not raised or preserved


   motion now before this Court.

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   before this Court or on appeal.           In everything but its name, the

   defendant's application constitutes an unauthorized and untimely

   successive Section 2255 petition beyond the jurisdiction of this

   Court that relies on invalid or inapplicable legal authorities.            His

   motion    should   be   dismissed     for     lack   of   jurisdiction,      or

   alternatively, for failure to state a claim.

                                               Respectfully submitted,

                                               WIFREDO A. FERRER
                                               UNITCD CTATCS ATTORNCY

                                       By:     .s/
                                               -  -------------
                                               KAREN E. ROCHLIN
                                               ASSISTANT U.S. ATTORNEY
                                               ~~ N.E. 1th Street
                                               Miami, Florida 33132
                                               (305) 961-9234
                                               karen.rochlin@usdoj.gov
                                               Court I.D. No. A5500050

                                               CHRISTOPHER GRAVELINE
                                               ASSISTANT U.S. ATTORNEY
                                               211 Fort Street, Suite 2001
                                               Detroit, Michigan 48226
                                               (313) 226-9155

                                               JOHN-ALEX ROMANO
                                               Criminal Division
                                               U.S. Department of Justice
                                               950 Pennsylvania Avenue, NW
                                               Room 1264
                                               Washington, D.C. 20530
                                                (202) 353-0249




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                            CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing

   was served by CM/ECF and by mail this          21st       day of April , 2016,

   on Roy Belfast, Jr., No. 76556-004, Lewisburg USP, 2400 Robert F.

   Miller Drive, Lewisburg,      PA 17837.




                                             s/
                                             KARF,N F,.   ROC:HT,TN




                                        25

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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                            CASE NO. 06-20758-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  V.


  ROY M. BELFAST, JR.,

        Defendant.
  -------------
                                      I

                                           ORDER

        THIS CAUSE came before the Court on Defendant, Roy Belfast's Motion for the

  Review, an<l or Arneu<lrneut of the PSR ... ("Motion") [ECP No. 665], the Government's

  Response in Opposition ... [ECF No. 673], and the Defendant's Motion in Response to United

  States Response in Opposition ... [ECF No. 676]. For the reasons carefully explained in the

  Government's Response [ECF No. 673], it is

         ORDERED AND ADJUDGED that the Motion [ECF No. 665] is DENIED.

        DONE AND ORDERED in Chambers at Miami, Florida this 3rd day of May, 2016.




                                                        t(At~/i. ~
                                                      CECILIA M. ALTONA~
                                                      UNITED STATES DISTRICT JUDGE

  cc:   counsel of record
        Defendant, pro se




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-   -- -···   -- --- ----------------------- ----·-------- -----------·------- --- -·-- ---- ---------------------·----
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From: Roy M. Belfast, Jr.
Inmate: 76556-004
Address: U.S.P. LEE COUNTY
P.O. Box 305
Jonesville, VA, 24263-0305
Criminal Case No.: 1:06-cr-20758-0!A
To: Office of Information Policy (OIP), Director
Address: United States Department of Justice, Suite
11050, 1425 New York Avenue, N.W., Washington, D.C., 20530
Date: June 18th, 2017                                                                  ~
sent via certified ·      no.: 7016 1370 0001 7627 6226    7016 1370 0001 7627 6226 0,r.
sent via return receipt no:                             ---------------

O.I.P.
       Petitioner dispatched a FOIA request to the E.O.U.S.A./Freedom of
Information & Privacy Staff, who dispatched a letter dated on April 20th, 2016
(see Exhibit "A"). The initial request to the E.o.u.s.A. was the Department of
Justice, provide the petitioner the evidence relied upon to prove a violation of
18 U.S.C. § 2340A(c) before the grand jury and at trial which is count one in
second superseding indictment.
       Petitioner received a letter dated May 17th, 2017 (Ex. "Al") with the
release of a 168 pages. The contents released are after indictment date
11/08/2007, see Criminal case no: 1:06-cr-20758-G1A, Document 257 on Docket
Sheet, and trial verdict Oct 30th 2008.
       Statute 18 U.S.C. § 2340A(b)(1)(2) states: (b) Jurisdiction. There is
jurisdiction over the activity prohibited in subsection (a) if - -
(1) the alleged offender is a national of the United States; or
(2) the alleged offender is pr.esent in the United States, irrespective of the
nationality of the victim or alleged offender. (see Exhibit B).
       The recent declaration dated in the May 17, 2017 letter "No other
responsive records were located" and the release of 168 pages of documents
produced after indictment and trial, suggest a substantive "due process"
violation.
       In addition prosecutor recently declared in docket entry: 673 dated
04/21/2016 of petitioner's criminal docket sheet, page 20 of 25 "The trial record
is devoid of any statement that any co-conspirators were citizens of or present
in the United States" (see Exhibit "C"), proves a violation of 18 U.s .c. §
4001(a) and 28 C.F.R. 2635.101 et seq. as well as misconduct
Appeal: The records released are non responsive to request by petitioner
(originally), as the records released by the E.O.U.S.A. are post grand jury and
trial, which means the records presented cannot have been evidence used in prior
proceedings. The FOIA request FOIA-2016-02166 is directly connected to a
substantive due process violation and misconduct by prosecution including but not_
limited to 18 u.s.c. § 1001.
                                       1.
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       Petitioner seeks a release of FOIA information & expedited request based
upon original request found in FOIA-2016-02166, and notification to an
investigatory body that handles misconduct by prosecutors, as well as
notification to the A.G. 's office on the violation of 18 u.s.c. § 4001(a).

      Thank you for your time and attention in this matter.

      Sincerely,


      Roy Belfast, Jr.




                                      2.
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                                                        U.S. Department of Justice
                                                        Office of Information Policy
                                                        Suite 11050
                                                        N25 New YorkAvenue, .Nlfi
                                                        Washingwn, DC 20530-0001


   Telephone. (202) 514-3642




   Mr. Roy M. Belfast, Jr.
  Register No. 76556-004
  United States Penitentiary                            Re:    Appeal No. DOJ-A.P-2017-005286
  Post Office Box 305                                          Request No. FOL\-2016-02166
  Jonesville, VA 24263-0305                                    MVlH:iillF

  \'1A.: U.S. Mail

  Dear l\1r_ Belfast:

          You appealed from the action of the Executive Office for United States Attorneys
  (EOUSA) on your Freedom of Information Act request for access to records located in the
  United States Attorney's Office for the Southern District of Florida concerning co-conspirators in
  your criminal case and evidence relied on to prove violations of 18 U.S.C. Section 2340(c).

          After carefully considering your appeal, I am affirming EOUSA's action on your request.
  By letter dated May 19, 2017, EOUSA released to you one hundred sTh.·ty-eight pages of
  responsive records in full. I have determined that EOUSA's response was correct and that it
  conducted an adequate, reasonable search for responsive records subject to the FOIA.

           Regarding your request for "notification to an investigatory body that handles misconduct
  by prosecutors, as well as notification to the A.G.'s office on the violation of 18 U.S.C. Section
  400 l (a)," please note that the principal administrative function of the Office of Information
  Policy is the adjudication of appeals from the denial of access to information pursuant to the
  FOIA and the Privacy Act of 1974 by components of the Department of Justice. This Office
  does not have the authority to review or assist in your criminal case. I regret that I cannot be of
  any further assistance to you in this matter.

          Please be advised that this Office's decision ·was made only after a full review of this
  matter. Your appeal ·was assigned to an attorney with this Office who thoroughly reviewed and
  analyzed your appeal, your underlying request, and the action ofEOUSA in response to your
  request. If you have any questions regarding the action this Office has taken on your appeal, you
  may contact this Office's FOL\ Public Liaison for your appeal. Specifically, you may speak with
  the undersigned agency official by calling (202) 514-3642.

         If you are dissatisfied with my action on your appeal, the FOL\ permits you to file a
  lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4)(B).
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           For your information, the Office of Government Information Sen1ices (OGIS) offers
  mediation sen1 ices to resolve disputes between FOIA requesters and Federal agencies as a non-
  exclusive alternative to litigation. Using OGIS services does not affect your right to pursue
  litigation. The contact information for OGIS is as follovi s: Office of Government Information
                                                           1


  Services, National A..rchives and Records Administration, Room 2510, 8601 Adelphi Road,
  College Park, Maryland 20740-6001; email at ogis@nara.gov; telephone at 202-741-5770; toll
  free at 1-877-684-6448; or facsimile at 202-741-5769.

                                                      Sincerely,
                                                                                               10/12/2017




                                                       11/\atthew Hurd, Associate Chief, for
                                                       Sean O'Neill, Chief, Administrative Appeals Staff
                                                       Signed by: 11/\ATTHEW HURD
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Roy Belfast Jr.. a/k/a Chuckie Taylor. Sentenced on To11ure Cha ...                       http://www.reuters.com/articlePrinflarticleld=US219763 %2B09 ...




          Pri~t j Close this window


          Roy Belfast Jr., a/k/a Chuckie Taylor,
          Sentenced on Torture Charges
          Fri Jan 9, 2009 3:42pm EST

          WASHINGTON, Jan. 9 /PRNewswire-USNewswire/ -- Roy M. Belfast Jr._Nas sentenced
          by U.S. District Court Judge Cecilia M. Altonaga today to 97 years in prison
          for crimes related to the torture of people in Liberia"tetween April 1999 and
          July 2003, annoanced Ac~ing Assistant Attorney General Matthew Friedrich of
          the criminal Division and U.S. Attorney R. Alexander Acosta for the Southern
          District of Florida.

          Belfast, a/k/a Chuckie Taylor, Charles Taylor Jr., Charles Taylor II and
          Charles McArther Emmanuel, was convicted on October 30, 2008, by a federal
          j'.l=Y aft.er a six-,,.;ee~ t.r.:..al cf five counts of tor~':i.:i:°e, one count of conspiracy
          to torture, one count of using a firearm during the commission of a violent
          crime and one count of conspiracy to use a firearm during the commission of a
          violent crime.

          "The lengthy prison term handed down today justly reflects the horror and
          torture that Taylor Jr. visited upon his victims. This case was made in no
          small part by the courage of individual victims who had the mettle to come
          forward and speak the truth about what had been done to them," Acting
          Assistant Attorney General Matthew Friedrich of the Criminal Division said.
          "Our nessage to human rights violators, no matter where they are, remains the
          same: We will use the full reach of U.S. law, and every lawful resource at the
          disposal of our investigators and prosecutors, to hold you fully accountable
          for your crirnes.            11




          Ac8ordinq to trial testimony, Belfast, who was born in the United States and
          is tht: so::1    o:[   Lii.e i:cr:~Icr Libc=i2.:: C.ict2.-t.o::- C~:?.rles T2ylo~,   e:ow.raanded a
          paramilitary organization known as the Anti-Terrorist Unit, which was directed
          to provide protection for the Liberian president and additional dignitaries of
          the Liberian government. Between 1999 and 2003, in his role as commander of
          that unit, Belfast and his associates committed numerous and varied forms of
          torture, including burning victims with molten plastic, lit cigarettes,
          scalding water, candle wax and an iron; severely beating victims with
          firearms; cutting and stabbing victims; and shocking victims with an electric
          device.

          "There is justice today for the many victims of Chuckie Taylor," said John P.
          Torres, Department of Homeland Security Acting Assistant Secretary for
          Immigration and Cu::·to:ns Enforcement. '' This se!!tence ens1.2res that he pays fo~
          his barbaric acts. I want to thank the more than one hundred ICE agents,
          attorneys, victim advocates and other federal partners whose meticulous
          investigative work and coordination led to this landmark conviction."

          "This sentence sends a resounding message that torture will not be tolerated
          here at home or by U.S. nationals abroad," said Executive Assistant Director
          Arthur M. Cunur.ings, :tr, of che FBI National Security Division. "The FBI and
          our law enforcement partners will continue to investigate such acts wherever
          they occur."

          On March 30, 2006, Belfast attempted to enter the United States with a
          passport obtained through false statements submitted on his passport
          application, and was arrested. Belfast pleaded guilty on Sept. 15, 2006, to
          passport fraud and was sentenced on Dec. 7, 2007, to 11 months in prison on
          that charge.

          Belfast's prosecution on the torture charges was the first ever under a
          statute that criminalizes torture and provides U.S. courts jurisdiction to
          hear cases involving acts of torture col!L~itted outside the United States if




  f2                                                                                                                                     11/3/09 9:43 A'.vl
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1y   Belfast Jr., a/k/a Chuckie Taylor, Sentenced on Torture Cha ...                                                                               http://www.reuters.com/articlePrint?a1ticleid==US2 l 9763 %2B09 ...


          the offender is a U.S. national or is present in the United States, regardless
          of nationality.

          The case was jointly investigated by ICE and the FBI. The case was prosecuted
          by Assistant U.S. Attorneys Karen Rochlin and Caroline Beck Miller of the U.S.
          Attorney's Office for the Southern District of Florida and Trial Attorney
          ~hris Graveline of the Criminal Division's Domestic Security Section. National
          Security Division Trial Attorney Brenda Sue Thornton and Criminal Division
          Attorneys John Cox, John-Alex Romano, Michael Surgalla, and Pragna Soni also
          provided assistance.




          SOURCE             U.S. Department of Justice

          U.S. Department of Justice Office of Public Affairs, +1-202-514-2007, TDD,
          +1-202-514-1888

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                     (l) at the time of conviction, ettlecl IRW of this circuit 01, 1he
                     Suprei11e Court est~blishecl '.hrJ leg?Jity of the. conviction;. (2)                                                                                 I,
                     subsequent to !he rmsoner's d1reft appeal and first§ 2255 motion,
                     the substantive lnw clwngecl s1/t::1i tlrnl the conduct of which the
                     prisoner was ·convicted is cleerndc! not to be criminnl; and (3) the
                     prisoner crnrnot sfllisfy the gateke 1ping prnvisions of§ 22?5 becm1se
                                                         I
                     the new rule is not one of consti llio11al JRw.        ,    :      ;

  1d.   at 333.
                                                                                                                 1,             '                    '
                                             •                        I                                          J,             l    j               I              1,



                                                                                       .
            In this case, Petitioner does not allege th it any of lhe prongs o f,the Jones test are met. He                                  '                           'i'
                                                                  I                    I•

   drn!knges the legality of underlying convictiol b11t (!oes not allege an intervening change of law
                                                                                                         .                  .        .       '                '
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   ilrnt deeriminnlizecl his uncler]ying conviction.\ hile the Petition could be liberal! react to assert
                                                                                                             I              i '              '                ,I

  that information recently obtRinecl ihrQJ Ii a, P01A request allege'dl}~10\}JS evidence that

  .Pe lit imm was wro ngfnjJy con v ictffi (Comp L,               r       Cl'· No. I        at   24 ), ~ tion is not propedy

  brought in a. § ? 24 l.p#iti     on. R' lher, a claim o f<Ji!Wtl,i;in ocen co bfl;ed o,ya II ,g~a 1'~,ew facts mus]
  be brought 1ll..Q_§..22.i5_pet1tl0.JL2.8_lLS.E~_§ 22r(h)._ In orclerfor a claim to be properly brought

  p11rs11an t to § 224 _1.   Jones req 11 i; es a s11bstm1liv,1 d1;~ge in lhe ]a\~: sue]; i,hanire to,ic'.11cl of wh icl,
  the prisoner was conv,ctecl 1s,cleemeci not lo brcrnrnnal. Jn re Jones,.226 F.3cl at 3'33. Because

  Petitioner c'.oes no.t ~liege -a change of lnw           cl1; rim'.'.rnli~ing
                                                               his:,1111c'.e;·l~1 ing c~11duct, he cannot
                                                                                     1
  challenge his conv1ct1011 under§ 2241 pursuant lo the snvmgs clause m § 225~(e). ·
                             ,                                    il
                                                                  I               ,                                                                                 .
           Petitioner is incarcera!ed at USP Lee tod tee! in !his district. This district, however, is not
                                                                                                                                                 I             ·,



 the district of Petilioner's conviction, ancl
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                                               !here' ,re 1(1is
                                                           i
                                                                Court
                                                                  .•
                                                                      lws subje~t matter}1riscliction only              I




 over issues properly pleci under § 224 l. 28 U .C. · § 22tl l (a). Petitioner crnrnot proceed under

 § 22,1 I to attack his underlying conviction bej 1se iie does not n1eet t)1e Jones test fo'r invoking
            ,                                    -            I                   I·                 '                  I
                                                                                                                            1
                                                                                                                                         f               'I


 the savings clnuse in § 2255(e). As such, this t1se is pmperly construed as ) et another motion                                                 1




 11<'. der § 225 5' and the Court I~ ck s SIi bj eci' ma I   Tl j11risd ict ion to h~a r th'at                                      § 22/ 5 petition bee; use

 1t 1s not in the clistnct of conv1cl1on. 28 U.S.C., 225:(a).

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Case 7:18-cv-00453-JLl(-JCH                  Document 1                   Filecl 11/26/18                             Page 6 of 8 Pa.geid#: 722
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